 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 1 of 141 Page ID #:390



1    MKRTCHYAN LAW
2    Narine Mkrtchyan, Esq. (SBN 243269)
     1010 N. Central Ave, Suite 240
3
     Glendale, CA 91202
4    Telephone No. (818) 388-7022
     Web: www.narinelaw.com
5
     Email: narine57@gmail.com
6

7
     Attorney for Plaintiff M.L.H.
8

9
                         UNITED STATES DISTRICT COURT
10

11
                       CENTRAL DISTRICT OF CALIFORNIA
12

13
     M.L.H. by and through her guardian ad       Case No. 20-cv-04477-SB-(KSx)
14   litem CLAUDIA SUGEY CHAVEZ as
     successor in interest to decedent
15   DANIEL HERNANDEZ, et al.
                        Plaintiff,               JOINT DISCOVERY
16
                                                 STIPULATION PURSUANT TO
17               vs.                             LOCAL RULE 37-2.2
18

19                                               DATE: 05/14/2021
20                                               TIME: 10:00 AM
     CITY OF LOS ANGELES; LOS                    CTRM: 580
21   ANGELES POLICE DEPARTMENT                   DCO: 6/22/2021
     TONI MCBRIDE; and DOES 1-10.
22                                               TRIAL DATE:10/26/2021
                        Defendants.
23

24

25

26

27

28                                           1
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 2 of 141 Page ID #:391



1          The parties hereby stipulate that the following discovery dispute issues
2
     remain to be decided by the Court following the personal conference and meetings
3

4    between the attorneys for the parties as required by Local Rule 37-2.2.
5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                            2
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 3 of 141 Page ID #:392



1                                  TABLE OF CONTENTS
2
                                                                                        Page
3

4    Plaintiff’s Introductory Statement………………………………………………...14
5
     Defendants’ Introductory Statement ……………………………..…………….....20
6

7
     Plaintiff’s M.L.H Requests for Production and Responses by City........................21

8          Request For Production No. 1:……………………………………………. 21
9          Request For Production No. 2:……………………………………………..23
           Request For Production No. 6:……………………………………….…….24
10
           Request For Production No. 7:……………………………………….…….25
11         Request For Production No. 18:…………………………..…..……………26
           Request For Production No. 20:……………………………………………27
12
           Request For Production No. 21:……………………………………………28
13         Request For Production No. 22:……………………………………………29
14
           Request For Production No. 23:……………………………………………30
           Request For Production No. 27:……………………………………………31
15         Request For Production No. 28:……………………………………………32
16         Request For Production No. 29:……………………………………………33
           Request For Production No. 30:…………………………………….……...34
17
           Request For Production No. 31:……………………………………………36
18         Request For Production No. 32:……………………………………………37
           Request For Production No. 33:……………………………………………38
19
           Request For Production No. 34:……………………………………………39
20         Request For Production No. 35:……………………………………………40
21
           Request For Production No. 36:……………………………………………41
           Request For Production No. 37:……………………………………………42
22         Request For Production No. 43:……………………………………………44
23
     Plaintiff’s Contentions With Respect To Requests for Production of Documents to
24
     City….…………………………………………………………………….............45
25
           Objections Are Procedurally Waived, Are Substantively Meritless, Not
26

27
           Supported By A Valid Custodian’s Declaration and Privilege Log..............49

28                                               3
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 4 of 141 Page ID #:393



1                Federal Official Information Privilege..…………………..................51
2                Self Critical Analysis..…………………….………..………..…...…58
                 Federal Deliberative Process Privilege..............................................59
3
                 Officer’s Federal Right of Privacy and Third-Party Privacy Rights...61
4                California Peace Officer Personnel Records Privilege......................64
                 California Evidence Code section 1040 “Official Information
5
                 Privilege”………………………………………………………...67
6                Subsequent Remedial Measures.........................................................68
7
                 Objections: Overbroad, Vague and Ambiguous, May Not Be In
                 Possession Of Defendants, Oppressive And Burdensome, Not
8                Reasonably Likely To Lead To Admissible Evidence…..................68
9

10
     Defendant’s City’s Contentions With Respect to Plaintiff’s Requests For
11
     Production of Documents…………………………………………………........…88
12

13         Procedural History…………………………………………………………88
14
           Plaintiff’s RFPs 1, 2, 6, 7, 20, 21, 22, 27, and 28………………….............90
           Plaintiff’s RFPs 18, 29, 30, 32, 35, 36, and 37………………………….…91
15         Plaintiff’s RFPs 31 and 34……………………………………....................92
16                California Law……………………………………............................93
                  Official/Government Information Privilege…………………………94
17
                  Self-Critical Analysis Privilege………………………………....…100
18                Right to Privacy………………………………………….……...…102
           Plaintiff’s RFPs 33 and 34………………………......................................105
19
           Plaintiff’s Request For Monetary Sanctions Should be Denied…………..106
20

21
     Plaintiff’s Requests for Production Of Documents To Defendant McBride and
22

23   Responses…………………………………………………………......................106
24
           Request For Production No. 18:………………………………….….…....106
25         Request For Production No. 20:..……………………………….…...........107
           Request For Production No. 21:…..………………………………............107
26
           Request For Production No. 22:…..………………………………............107
27         Request For Production No. 24:…………………………………………..108
28                                                  4
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 5 of 141 Page ID #:394



1           Request For Production No. 25:………………………………………......108
2           Request For Production No. 26:………………………………………......109
            Request For Production No. 27:…………………………………….....….110
3
            Request For Production No. 28:………………………………………......111
4           Request For Production No. 29:……………………………………..........111
            Request For Production No. 30:……………………………………....…..112
5

6    Plaintiff’s Contentions With Respect To Requests For Production Of Documents
7
     To McBride……………………………………………......………......................113
8

9    Plaintiff’s Interrogatories To Defendant McBride................................................119
10
            Interrogatory No. 7……………………………………………..................119
11          Interrogatory No. 9……………………………………………..................121
            Interrogatory No. 11……………………………………………................122
12
            Interrogatory No. 12………………………………………………............123
13          Interrogatory No. 13……………………………………………………....124
14
            Interrogatory No. 15……………………………………………………....125

15

16   Plaintiff’s Contentions With Respect To Interrogatories To McBride….……….125
17
     Plaintiffs’ Contentions Regarding Monetary Sanctions .......................................130
18
     Defendant McBride’s Contentions With Respect To Plaintiff’s Requests For
19

20   Production Of Documents, Answers To Interrogatories, And Demand For
21
     Sanctions……………………………………………………………………........133
22

23          Procedural History………………………………………………………...133
            Plaintiff’s Remaining Requests are Irrelevant, Overbroad, Not Reasonably
24
            Calculated to Lead to the Discovery of Admissible Evidence, Barred by
25          Privilege or Privacy Laws…………………………………………...……135
            Plaintiff’s Demand For Sanctions is Unwarranted…………..……………138
26

27

28                                                    5
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 6 of 141 Page ID #:395



1                                     TABLE OF AUTHORITIES
2

3                                            FEDERAL CASES
4
     Akiona v. United States,938 F.2d 158 (1991). .........................................................92
5
     Bank Melli Iran v. Pahlavi, 58 F.3d 1406 (1995) .................................................46
6

7    Bass ex rel. Bass v. Miss Porter's Sch., 2009 WL 3724968 ( 2009)......................89
8
     Beck v. City of Pittsburgh, 89.F.3d 966 (1996) .....................................................102
9

10   Blankenship v. Hearst Corp., 519 F.2d 418, 429 (1975) .......................................50
11
     Bordanardo v. McLeod, 871 F.2d 1151 (1989) .....................................................102
12
     Bosley v. Valasco, 2016 WL 1704159 (2016) .........................................................45
13

14   Brown v. State of Oregon, Dept. Corr., 173 F.R.D. 262 (1997) ...................... 72, 73
15
     Bryant v. Maffucci, 923 F.2d 979 (1991) .................................................................79
16

17   Burka v. New York City Transit Authority, 110 F.R.D. 660 (1986)................ 53, 79
18
     Burke v. New York City Police Department, 115 F.R.D. 220 (1987) ......................56
19
     Carl Zeiss Stiftung v. V.E.B. Carl Zeiss, Jena, 40 F.R.D. 318 (1966) .....................54
20

21   Ceramic Corp. of America v. Inka Maritime Corp., 163 F.R.D. 584 (1995) ..........68
22
     Chinaryan v. City of Los Angeles, 2020 U.S. Dist. LEXIS 14785, (2020) .............63
23

24   Chism v. County of San Bernardino, 159 F.R.D. 531 (1994) ............... 43, 45, 49, 50
25
     Conan v. City of Fontana, 2017 WL 2874623 (2017) .............................................51
26
     Crowe v. Bolduc 334 F.3d 124 (2003) ...................................................................101
27

28                                                       6
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 7 of 141 Page ID #:396



1    Davis v. Fendler, 650 F.2d. 1154 (1981) ................................................................62
2
     Dobronski v. Fed. Communications Comm’n, 17 F.3d 275, 279 (1994) ................56
3

4    Dominguez v. City of Los Angeles, 2018 WL 6333661 (2018) ...............................63
5
     Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (1992)..........................52
6

7
     F.T.C. v. Warner Communications, Inc., 742 F.2d 1156 (1984)................ 50, 54, 55

8    Fagan v. District of Columbia, 136 F.R.D 5 (1991) ..............................................73
9
     Farley v. Callais & Sons LLC, 2015 U.S. Dist. LEXIS 104533 (2015) ..................89
10

11   Fletcher v. O’Donnell, 867 F.2d 791(1989) ..........................................................102
12
     Foley v. City of Lowell, 948 F.2d 10 (1991) ..........................................................102
13

14
     Frankenhauser v. Rizzo, 59 F.R.D. 339 (1973) .......................................................68

15   Friedman v. Bache Halsey Stuart Shields, Inc., 738 F.2d 1336 (1984) ..................51
16
     Garrett v. City and County of San Francisco, 818 F.2d 1515 (1987) ........ 58, 68, 71
17

18   Gill v. Manuel, 488 F.2d 799 (1973) .......................................................................62
19
     Glover v. Bic Corp., 6 F.3d 1318 (1993) .................................................................92
20

21
     Grandstaff v. City of Borger, 767 F.2d 161 (1985) ...............................................102

22   Hampton v. Chicago, 484 F.2d 602 (1973). ............................................................60
23
     Holter v. Wells Fargo & Co., 281 F.R.D. 340 (2011) .............................................89
24

25   Horizon of Hope Ministry v. Clark Cnty., Ohio, 115 F.R.D. 1 (1986) .......... 50, 58
26
     In re Franklin National Bank Securities Litigation, 478 F.Supp. 577 (1979) .......54
27

28                                                        7
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 8 of 141 Page ID #:397



1    Jackson v. County of Sacramento, 175 F.R.D. 653 (1997) .....................................58
2
     John v. Cty. of Lake, 2020 WL 3630391 (2020) .....................................................91
3

4    Kelly v. City of San Jose, 114 F.R.D. 653 (1987)........................... 45, 51, 53, 58, 68
5
     Kerr v. United States Dist. Court. for N.D. Cal., 426 U.S. 394 (1976) .. 50, 55, 59,
6

7
       71

8    King v. Conde, 121 F.R.D. 180 (1988) ....................................................... 68, 69, 70
9
     Kozlowski v. Sears, Roebuck & Co., 73 F.R.D. 73, 76, (1976) ...............................73
10

11   Lallemand v. County of Los Angeles, 2018 WL6136814, (2018) ...........................64
12
     Larez v. City of Los Angeles, 946 F.2d 630 (1991) ...............................................102
13

14
     Laub v. Horbaczewski, 331 F.R.D. 516 (2019) .......................................................43

15   Lee v. City of San Diego, 2019 WL 117775 (2019) ................................................63
16
     Lesar v. United States Dep’t of Justice, 204 U.S. App. D.C. 200, 636 F.2s 472
17

18     (1980) ....................................................................................................................55
19
     Lewis v. Hyland, 554 F.2d 93 (1977) .....................................................................102
20

21
     Lissner v. U.S. Customs, 241 F.3d 1220 (2001) .....................................................55

22   Lyda v. United States, 321 F.2d 788 (1963) ..........................................................102
23
     Marbet v. City of Portland, 2004 WL 173773 (2004) .............................................72
24

25   Martinez v Stockton, 132 F.R.D. 677 (1990) ...........................................................68
26
     Martinez v. State of California, 444 U.S. 277 (1980)..............................................60
27

28                                                                 8
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 9 of 141 Page ID #:398



1    Mercado Cordova v. Walmart Puerto Rico, Inc., 2019 WL 3226893 (2019) .........91
2
     Mercy v. Suffolk Cnty., 93 F.R.D. 520 (1982) .........................................................47
3

4    Miller v. Pancucci, 141 F.R.D. 292 (1992) ........................ 40, 45, 49, 50, 58, 59, 71
5
     Mueller v. Walker, 124 F.R.D. 654 (1989) ..............................................................71
6

7
     Nehad v. Browder, 2016 WL 2745411 (2016) ........................................................51

8    Newport Pac., Inc. v. County of San Diego, 200 F.R.D. 628 (2001)........................54
9
     Nix v. United States, 572 F.2d 998, 1006 (1978) .....................................................55
10

11   North Pacifica, LLC v. City of Pacifica, 274 F.Supp.2d 1118 (2003) ............. 50, 55
12
     Nutrition Distribution LLC v. PEP Research, LLC, 2018 WL 6323082 (2018) .....92
13

14
     Oporto v. City of El Paso, 2010 WL 350345 (2010) ...............................................79

15   Osborne v. United States, 542 F.2d 1015 (1976) ...................................................101
16
     Parrish v. Luckie, 963 F.2d 201 (1992) .................................................................102
17

18   Price v. County of San Diego, 165 F.R.D. 614 (1996) ..............................................53
19
     Ramirez v. County of Los Angeles, 231 F.R.D.407 (2005) ....................... 43, 62, 68
20

21
     Reid v. Ingerman Smith LLP, 2012 WL 6720752 (2012) ......................................89

22   Richmark Corp. v. Timber Falling Consultants, 959 F.2d 1468 (1992) .................43
23
     Rodriguez v. Avita, 871 F.2d 552 (1989) .................................................................79
24

25   Sanchez v. City of Santa Ana, 936 F.2d 1027 (1990) ................................ 49, 50, 55
26
     Sanchez v. Johnson, 2001 WL1870308 (2001) .......................................................54
27

28                                                       9
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 10 of 141 Page ID #:399



1    Scouler v. Craig, 116 F.R.D. 494 (1987) .................................................................69
2
     Skibo v. City of New York, 109 F.R.D. 58 (1985)...................................... 53, 68, 79
3

4    Soto v. City of Concord, 162 F.R.D. 603, 612 (N.D. Cal. 1995) ..................... 50, 68
5
     Spell v. McDaniel, 591 F.Supp. 1090, 1119 (E.D.N.C. 1984) ...............................50
6

7
     Steinmark v. Parratt 427 F.Supp. 931 (1977) .......................................................101

8    Tallacus v. Sebelius, 2010 U.S. Dist. LEXIS 37649 (2010) ..................................76
9
     Taylor v. Los Angeles Police Department, 1999 WL 33101661 (1999) .................68
10

11   Testa v. Wal-Mart Stores, Inc., 144 F.3d 173 (1998) ..............................................91
12
     Thompson v. City of Los Angeles, 885 F.2d 1439 (1989) ........................................79
13

14
     Torres v. Goddard, 2010 WL 3023272 (2010)........................................................51

15   U.S. ex rel Burroughs v. DeNardi Corp., 167 F.R.D. 680 (1996) ...........................51
16
     U.S. v. Bararic, 706 F.2d 42(1983) .......................................................................102
17

18   U.S. v. Reid, 634 F.2d 469 (1980)................................................................. 101, 102
19
     Union Pacific R. Co. v. Mower, 219 F.3d 1069 (2000) .........................................52
20

21
     United States v. American Telephone and Telegraph Co., 524 F.Supp. 1381

22     (1981) ....................................................................................................................54
23
     United States v. Cortez, 935 F.2d 135 (1991).........................................................78
24

25   United States v. Gay, 967 F.2d 322 (1992).............................................................76
26
     United States v. Geston, 299 F.3d 1130 (2002) ......................................................75
27

28                                                                10
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 11 of 141 Page ID #:400



1    United States v. Hankey, 203 F.3d 1160 (2000) ............................................ 75, 101
2
     United States v. Jackson, 588 F.2d 1046 (1979)........................................... 75, 101
3

4    United States v. Leggett & Platt, Inc., 542 F.2d 655 (1976).....................................53
5
     United States v. McMurray, 20 F.3d 831 (1994) ..................................................78
6

7
     United States v. Reynolds, 345 U.S. 1 (1953)...........................................................50

8    United States v. Turning Bear, 357 F.3d 730 (2004) .............................................78
9
     United States v. Winner, 641 F.2d 825, (1981)........................................................51
10

11   Webster v. City of Houston, 735 F.2d 838 (1984) .................................................102
12
     Welsh v. City of San Francisco, 887 F. Supp. 1293 (1995).....................................68
13

14
     Williams v. City of Albany, 738 F.Supp. 499 (1900) ...............................................79

15   Youngblood v. Gates, 112 F.R.D. 342 (1985)..........................................................71
16
     Zuniga v. Western Apartments, 2014 WL 2599919 (2014) .....................................43
17

18
                                                 CALIFORNIA CASES
19
     Alarcon v. Murphy, 201 Cal.App.3d 1 (1988) ...................................................... 81
20

21   Cf. Cloud v. Superior Court (Litton), 50 Cal.App.4th 1552 (1996) ..................... 75
22
     County of Alameda v. Superior Court, 194 Cal.App.3d 254 (1987). ..................... 81
23

24   Davee v. Southern Pacific Company, 58 Cal.2d 572 (1962) ................................... 86
25
     El Dorado Savings & Loan Association v. Superior Court, 190 Cal.App.3d, 342
26
       (1987) .................................................................................................................... 81
27

28                                                                 11
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 12 of 141 Page ID #:401



1    Johnson v. Superior Court, 80 Cal.App.4 1050 (2000) ......................................... 83
2
     Lewis v. Superior Court of Los Angeles Cnty., 118 Cal. App. 2d 770 (1953) ..... 67
3

4    Morse v. Southern Pacific Transportation Co., 63 Cal.App.3d 128 (1976) ........... 86
5
     Moskowitz v. Superior Court, 137 Cal.App.3d 313 (1982). ................................... 81
6

7
     San Gabriel Tribune v. Superior Court, 143 Cal.App.3d 762 (1983) .................... 87

8
                                               FEDERAL STATUTES
9

10   42 U.S.C. § 1983 ................................................................................................67, 84
11
     Fed R. Civ P 37(e) ................................................................................................. 120
12
     Fed R. Civ. P. 2 .................................................................................................70, 87
13

14   Federal Rule of Evidence 404................................................................................. 72
15
     Federal Rule of Evidence 608 .........................................................................72, 102
16

17   Federal Rule of Evidence 405................................................................................. 72
18
     Federal Rule of Evidence 407 ................................................................................. 87
19

20                                          CALIFORNIA STATUTES
21
     California Evidence Code § 1040 ......................................................................85, 87
22
     California Government 6254 ................................................................................... 85
23

24   California Government Code § 6250 ....................................................................... 85
25
     California Penal Code §832.5 .......................................................................102, 103
26

27                                                        OTHER
28                                                             12
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 13 of 141 Page ID #:402



1    City of Portland v. Rice, 308 Or. 118 (1989) ........................................................... 97
2
     Howe v. Detroit Free Press, 440 Mich. 203 (1992) ................................................ 92
3

4    Jones v. Jennings, 788 P.2d 732 (1990) ................................................................... 82
5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                        13
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 14 of 141 Page ID #:403



1    PLAINTIFF’S INTRODUCTORY STATEMENT
2

3
           On April 22, 2020, at approximately 5:37 p.m., Daniel Hernandez was
4
     involved in a multiple-vehicle traffic collision with individuals injured and in a
5
     critical condition at the intersection of San Pedro Street and 32nd Street in the
6
     south-central historic district of Los Angeles. Bystanders called 9-1-1 to render
7
     help to those severely injured in the collision, including Daniel Hernandez. Police
8
     officers from the Los Angeles Police Department Newton Division responded to
9
     the scene of the collision. One of the responding police officers was 23-year-old
10
     Toni McBride, who is a self-proclaimed public figure on social media showcasing
11
     her love of guns as well as her self-proclaimed firearms and tactical prowess in
12

13
     shooting competitions. Mr. Hernandez had been injured in the accident, exited his

14
     vehicle demonstrating shock, disorientation, trauma and panic. He walked a few

15   steps from his vehicle in an unsteady gait posing no threat to anyone when
16   Defendant McBride discharged two rounds at Mr. Hernandez. He fell to the
17   ground immediately. After her initial volley of gunfire, Defendant McBride
18   continued to shoot at Mr. Hernandez even after he fell to the ground in a fetal
19   position. Each and every round fired by Defendant McBride was unnecessary and
20   each shot constituted the use of excessive force. Accordingly, the shooting and
21   killing of Mr. Hernandez was unjustified and this use of force was unwarranted
22   and excessive under the circumstances. Mr. Hernandez was struck by the gunshot
23   and eventually died from the gunshot injuries. Each of Defendant McBride’s
24
     rounds lacked justification and recklessly endangered multiple bystanders.
25
     Moreover, the shooting violated LAPD policy and training regarding the drawing
26
     of weapons, tactics, and the use of force. At the time she fired her pistol, Defendant
27
     McBride and Mr. Hernandez were more than 30 feet apart and shirtless Mr.
28                                             14
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 15 of 141 Page ID #:404



1    Hernandez posed no threat or danger to anyone and none to McBride in particular.
2    Defendant McBride’s fellow officers witnessed Defendant McBride’s deadly force
3
     and did nothing to interfere when they could, and upon confirming Mr. Hernandez
4
     was lifeless, immediately began to concoct a plausible, but false scenario
5
     conspiring to cover up Defendant McBride’s wrongful misconduct by asserting
6
     Mr. Hernandez posed a threat to the police and/or public because a knife was
7
     recovered from the scene. The fabricated scenario was designed to give the false
8
     and fraudulent appearance of justification for the use of deadly force when
9
     Defendant McBride, her fellow officers and supervisors knew none existed.
10
           Daniel’s first legal heir, 14-year old daughter M.L.H. through her guardian
11
     ad litem filed a separate civil rights action on June 10, 2020 in Case No. 2:20-cv-
12

13
     05154 AB-SK, which was consolidated by stipulation with the instant action on

14
     behalf of the parents of deceased Daniel, Manuel/Marina Hernandez on August 18,

15   2020. Following consolidation, Plaintiff’s counsel who had already participated in
16   the Rule 26(f) Meet and Confer for preparation of the Scheduling Order in this
17   case, sent a request to defense counsel for their Initial Disclosures and on
18   December 29, 2020 served her responses to Defendants’ McBride’s Requests for
19   Production of Documents, Requests for Admissions, Special Interrogatories with
20   Plaintiff’s Initial Disclosures on all parties. The City did not serve their Initial
21   Disclosures on Plaintiff M.L.H, nor served any of their responses to co-Plaintiffs’
22   similar discovery demands that were served on the City on July 20, 2020. Neither
23   did Defendant McBride serve any responses to Plaintiff M.L.H. to the initial set of
24
     discovery. Declaration of Counsel. Exhibit A City’s responses to co-Plaintiff’s
25
     discovery.
26
            Having not received any discovery, Plaintiff M.L.H. served her own set of
27
     discovery subject of this motion on Defendants on February 12, 2021. See Exhibit
28                                               15
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 16 of 141 Page ID #:405



1    B Plaintiff’s RFPs and Interrogatories. Due to Covid-19 and remote operations,
2    the parties had been exchanging discovery electronically and Plaintiff M.L.H. had
3
     made it clear prior to that date, they were serving documents electronically. The
4
     City did not serve their responses to Plaintiff’s M.L.H. requests timely within the
5
     deadlines prescribed by the FRCP 34, thereby waiving their objections, belatedly
6
     responded after two email inquiries by serving Plaintiff with boilerplate and
7
     meritless objections, with a defective privilege log and a faulty declaration by
8
     custodian Detective Hun. See Exhibit C email communications and City’s
9
     Responses to Plaintiff’s RFPs with Privilege Log and Declaration by
10
     Custodian. Their response was due on March 15, 2021 but did not come until
11
     March 18. The City’s excuse to late responses was that they had served responses
12

13
     to other Plaintiff’s discovery as of August. Needless to say, Plaintiff M.L.H. was

14
     not served with those responses. The City then also belatedly produced to Plaintiff

15   M.L.H. a set of illegible Initial Disclosures, records consisting of preliminary
16   investigative reports and black-white photographs, that were not responsive to the
17   vast majority of the demands, served on Plaintiff on March 19. Declaration of
18   Counsel. Defendant McBride responded with a similar set of meritless and
19   boilerplate objections as outlined below. See Exhibit D McBride’s Responses to
20   Plaintiff’s RFPs and Interrogatories.
21         On March 19, 2021 Plaintiff’s counsel sent a detailed invitation under Rule
22   37 to meet and confer regarding the Defendants’ discovery obligations. See
23   Exhibit E, Plaintiff’s Rule 37 meet and confer letter. The City attorney Ms.
24
     Colleen Smith responded by refusing to accept responsibility for late and faulty
25
     responses with boilerplate objections, claiming they had not accepted electronic
26
     service of documents, nor provided any dates to meet and confer under Rule 37
27

28                                             16
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 17 of 141 Page ID #:406



1    despite multiple requests and follow-ups. See Exhibit F for email
2    communications.
3
           After multiple requests to meet and confer, the defense counsel agreed to
4
     meet and confer on a late Friday afternoon on March 26, refused to video-
5
     conference with the link that had been provided to them in advance, demanding a
6
     call-in information for a telephonic discussion. See Exhibit G, H email
7
     communications. During the telephone call where all parties were present, neither
8
     defense counsel for City nor Defendant McBride were prepared to discuss any
9
     issues raised in Plaintiff’s Rule 37 meet and confer letter, had a very dismissive
10
     and disrespectful attitude towards Plaintiff’s counsel or their discovery obligations,
11
     refused to discuss the law on the privileges, the defective declaration by custodian
12

13
     or the privilege log. Declaration of Counsel. No effort was made to narrow down

14
     the issues for this motion, making this stipulation more lengthy than necessary. It

15   was clear that the defense counsel for the City and McBride were not interested in
16   resolving any of the issues informally despite Plaintiff’s agreement to receive truly
17   privileged records with a Protective Order. The City attorney also had no valid
18   explanation other than a clerical error as to why some preliminary investigative
19   records were produced to other Plaintiffs as of August in response to their similar
20   demands but not to Plaintiff M.L.H. when her case has been formally consolidated
21   into this action as of August and Plaintiff M.L.H. through her counsel had
22   participated in the initial Scheduling conference of counsel under Rule 26(f). The
23   City attorney agreed to produce only the Force investigative records with a
24
     Protective Order, but did not wish to discuss why other demands by Plaintiff were
25
     objectionable and not subject to disclosure under the same Protective Order.
26
     Plaintiff’s counsel asked the defense to respond to Plaintiff’s proposed draft for
27
     Protective Order no later than March 31, 2021 and provide a rundown of all costs
28                                             17
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 18 of 141 Page ID #:407



1    associated with production of digital media. See Exhibit H email
2    communications. Declaration of Counsel.
3
           Not achieving any result and following the Magistrate’s procedures in
4
     discovery, on March 31 Plaintiff’s counsel emailed the court assistant, asking for a
5
     directive, and given the 6-month delay in obtaining discovery, the approaching the
6
     Discovery Cut-Off, and the volume of discovery, asked for permission to file a
7
     motion without going through an informal discovery conference. The Magistrate
8
     scheduled an informal discovery conference on April 6 and April 12 with all
9
     parties present. At the IDC the Magistrate displayed a highly restrictive approach
10
     towards police misconduct litigation discovery, and why Plaintiff needs various
11
     records to prove the case, despite the liberal parameters in federal law and the
12

13
     multiple claims at hand. There was no discussion of the faulty privilege log, and

14
     the City attorney was not asked to provide with an amended privilege log

15   identifying all records sought and why it is burdensome to produce them with a
16   Protective Order. Declaration of Counsel. Despite months of discovery and
17   almost a year after the incident, the City attorney appeared at the IDC not knowing
18   what records existed, whether even there was an Internal Affairs investigation into
19   the incident and what other levels of review were conducted within the LAPD
20   about the Plaintiff’s incident. Despite this, the Magistrate was very accommodating
21   to the City attorney and demanded exacting drafting skills and relevancy
22   arguments from Plaintiff, when it is not the precedent in federal civil rights cases
23   briefed in this motion.
24
           Given the City’s failure to produce an amended privilege log, and provide
25
     with specific information what existed in response to Plaintiff’s demands,
26
     Plaintiff’s counsel is not clear what will be produced in response to the
27
     Magistrate’s directives at the IDC. The Magistrate has ordered production of the
28                                             18
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 19 of 141 Page ID #:408



1    Defendant McBride’s personnel file only for an in-camera review. However,
2    Magistrate’s rendition of what is part of the personnel file and truly sensitive and
3
     privileged is inaccurate, as underlined in the Declaration of Counsel. Because
4
     Plaintiff is concerned with the narrow and restrictive approach towards Plaintiff’s
5
     discovery demands by the Magistrate, this motion addresses the authorities on
6
     broad discoverability of police personnel files. Due to the incorrect assertion of
7
     what is part of the personnel file, the Magistrate has ordered the City to produce
8
     only ‘non-privileged’ items to Plaintiff despite the already approved Protective
9
     Order, which deprives Plaintiff of a vast majority of needed discovery at this time.
10
     Before the Court makes any further rulings, Plaintiff is compelled as part of this
11
     motion to provide a detailed summary of both records sought by Plaintiff, their
12

13
     nature and scope, as well as their relevancy. Those items that were unequivocally

14
     ordered produced at the IDC were removed by Plaintiff from this motion.

15   However, items that were ordered only partially or only for in-camera inspection
16   are included in this motion, because the Magistrate’s restrictive approach and
17   City’s failure to identify all records sought in their Privilege Log undermines
18   Plaintiff’s timely entitlement to this discovery. Declaration of Counsel.
19         These delays and feet-dragging in obtaining necessary discovery for months
20   highly prejudice Plaintiff in ability to investigate her multiple claims and conduct
21   depositions. In light of the approaching DCO, Plaintiff’s counsel asked the
22   magistrate to shorten the time for filing of the motion and entertain a different
23   schedule for this motion. However, the magistrate directed Plaintiff’s counsel to
24
     strictly comply with Rule 37 and directed Plaintiff’s counsel to file an ex parte to
25
     shorten time if necessary.
26

27

28                                             19
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 20 of 141 Page ID #:409



1    DEFENDANTS’ INTRODUCTORY STATEMENT
2
           This case arises secondary to an officer-involved shooting that occurred on
3
     April 22, 2020 where Plaintiff’s decedent, Daniel Hernandez (“Hernandez” or
4
     “decedent”) having driven in excess of 70 mph, recklessly caused a horrific car
5

6
     crash on San Pedro Street in Los Angeles rendering several people severely

7
     injured. Hernandez then exacerbated an already bad situation into a deadly assault

8    by then wildly wielding a knife at officers and bystanders. Having no alternative
9    and to protect the lives of the bystanders and herself, Officer McBride fatally shot
10   Hernandez to thwart his crazed attack. Plaintiff then brought this suit against the
11   City of Los Angeles, the Los Angeles Police Department and Officer Toni
12   McBride, alleging various federal and state law claims.
13         Plaintiff’s case was consolidated with the decedent’s estate claims in
14   September of 2020. Plaintiff then propounded discovery requests on Defendants in
15   February of 2021. Defendants objected to the voluminous requests on various
16   grounds in March of 2021. Then, with no small degree of impatience, Plaintiff
17
     sought to compel the responses, over the valid objections and invoked the
18
     Magistrate’s assistance, all while deriding the Court for having pre-discovery
19
     motion procedures. The informal discovery conferences were held on April 6 and
20
     April 12, concluding that several of Plaintiff’s requests were overbroad and
21
     irrelevant, but requiring Defendants to provide responses by April 19, with
22
     additional documents to be reviewed in camera. See, Dkt. 44 (Minutes of 4/12/21
23
     Conference).
24
           Consequently, a vast majority of the discovery issues in Plaintiff’s motion to
25
     compel have been resolved pursuant to the Magistrate Judge’s informal discovery
26

27
     conferences and the Parties’ agreed-upon stipulated protective order. See Dkt. 44;

28                                            20
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 21 of 141 Page ID #:410



1    Dkt. 50 (In Camera review of McBride Personnel Records). In fact, pursuant to
2    these orders, Defendants have already produced documents and will be producing
3
     more in the next few days. Plaintiff’s remaining contentions appear to center
4
     around minor issues of maintaining confidentiality of the records or her attempts to
5
     obtain irrelevant documents. Plaintiff’s arguments regarding confidentiality are
6
     premature, as she has not yet followed the process to remove the confidentiality of
7
     the documents, as required in the stipulated protective order. At the informal
8
     discovery conference, the Magistrate Judge found that a number of Plaintiff’s
9
     requests were also overbroad and irrelevant, seeking to invade the privacy of
10
     Officer McBride. Given that Defendants have and are producing documents
11
     responsive to Plaintiff’s requests, pursuant to this Court’s orders, Defendants’
12

13
     opposition herein is addressed only to those overbroad and irrelevant remaining

14
     discovery requests to which no documents or further responses are anticipated.

15         Plaintiff’s counsel’s contentions about defense counsel’s unwillingness to
16   engage in informal discussions and to meet and confer in good faith are unfounded
17   and an inaccurate representation of what transpired during counsel’s initial meet
18   and confer telephone conference. As the parties subsequently participated in an
19   informal discovery conference with the Court, in the interest of the Court’s time,
20   Defendants are not addressing Plaintiff’s inaccurate aspersions in this motion, but
21   will address them if the Court requests that defense counsel does so.
22   PLAINTIFF’S M.L.H. REQUESTS FOR PRODUCTION AND RESPONSES
23   BY CITY
24
     REQUEST FOR PRODUCTION NO. 1:
25
           All surveillance videos REGARDING OR RELATING TO the April 22,
26
     2020 shooting of Daniel Hernandez, or any issue related thereto.
27

28                                             21
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 22 of 141 Page ID #:411



1    RESPONSE TO REQUEST NO. 1:
2          Objection. This request is overbroad, vague and ambiguous, unintelligible,
3
     not reasonably calculated to lead to the discovery of admissible evidence, violates
4
     third party’s rights to privacy and seeks documents equally available to
5
     propounding party. Defendant also objects on the grounds that this request seeks
6
     the production of materials that are confidential, privileged and protected from
7
     discovery pursuant to California Evidence Code Section 1043 and California Penal
8
     Code Sections 832.5, 832.7 and 832.8, and the privilege of self-critical analysis. In
9
     addition, Defendant objects on the grounds that this request seeks materials which
10
     are privileged pursuant to California Evidence Code, sections 1040 et seq. and
11
     California Government Code Section 6254. Defendant further objects on the
12

13
     ground that disclosure of the requested materials would violate the privacy rights

14
     of the involved police officers under the “official information” or “governmental

15   privilege” accorded under Federal Law. Some materials are not subject to
16   disclosure absent prior in-camera judicial review to determine whether the need for
17   continued confidentiality is outweighed by the litigant’s needs for the information
18   sought. Kerr v. United States District Court, 511 F.2d 192 (9th Cir. 1975), aff. 426
19   U.S. 394, 96 S.Ct. 2119 (1976); Martinez v. City of Stockton, 132 F.R.D. 677 (E.D.
20   Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653 (N.D.Cal. 1987); Cal.
21   Constitution, Article I. Sec. I; Cal. Pen. Code, sections 832.5, 832.7, 832.8; Cal.
22   Evid. Code, sections 915, 944, 1012, 1040 et seq., 1043 et seq.; Cal. Gov. Code,
23   section 6254; invasion of the rights of privacy of any officers whose name may be
24
     mentioned in the requested records. The materials requested are protected by the
25
     privilege and doctrine of self-critical analysis. See, Dowling v. American Hawaii
26
     Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).
27

28                                             22
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 23 of 141 Page ID #:412



1    REQUEST FOR PRODUCTION NO. 2:
2          Any and all video REGARDING OR RELATING TO the April 22, 2020
3
     shooting of Daniel Hernandez, or any issue related thereto.
4
     RESPONSE TO REQUEST NO. 2:
5
           Objection. This request is overbroad, vague and ambiguous, unintelligible,
6
     not reasonably calculated to lead to the discovery of admissible evidence, violates
7
     third party’s rights to privacy and seeks documents equally available to
8
     propounding party. Defendant also objects on the grounds that this request seeks
9
     the production of materials that are confidential, privileged and protected from
10
     discovery pursuant to California Evidence Code Section 1043 and California Penal
11
     Code Sections 832.5, 832.7 and 832.8, and the privilege of self-critical analysis. In
12

13
     addition, Defendant objects on the grounds that this request seeks materials which

14
     are privileged pursuant to California Evidence Code, sections 1040 et seq. and

15   California Government Code Section 6254. Defendant further objects on the
16   ground that disclosure of the requested materials would violate the privacy rights
17   of the involved police officers under the “official information” or governmental
18   privilege” accorded under Federal Law. Some materials are not subject to
19   disclosure absent prior in-camera judicial review to determine whether the need for
20   continued confidentiality is outweighed by the litigant’s needs for the information
21   sought. Kerr v. United States District Court, 511 F.2d 192 (9th Cir. 1975), aff. 426
22   U.S. 394, 96 S.Ct. 2119 (1976); Martinez v. City of Stockton, 132 F.R.D. 677 (E.D.
23   Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653 (N.D.Cal. 1987); Cal.
24
     Constitution, Article I. Sec. I; Cal. Pen. Code, sections 832.5, 832.7, 832.8; Cal.
25
     Evid. Code, sections 915, 944, 1012, 1040 et seq., 1043 et seq.; Cal. Gov. Code,
26
     section 6254; invasion of the rights of privacy of any officers whose name may be
27
     mentioned in the requested records. The materials requested are protected by the
28                                             23
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 24 of 141 Page ID #:413



1    privilege and doctrine of self-critical analysis. See, Dowling v. American Hawaii
2    Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).
3
     REQUEST FOR PRODUCTION NO. 6:
4
           Any and all incident reports REGARDING OR RELATING TO the April
5
     22, 2020 shooting of Daniel Hernandez, or any issue related thereto.
6
     RESPONSE TO REQUEST NO. 6:
7
           Objection. This request is overbroad, vague and ambiguous, unintelligible,
8
     not reasonably calculated to lead to the discovery of admissible evidence, and
9
     violates third party’s rights to privacy. Defendant also objects on the grounds that
10
     this request seeks the production of materials that are confidential, privileged and
11
     protected from discovery pursuant to California Evidence Code Section 1043 and
12

13
     California Penal Code Sections 832.5, 832.7 and 832.8, and the privilege of self-

14
     critical analysis. In addition, Defendant objects on the grounds that this request

15   seeks materials which are privileged pursuant to California Evidence Code,
16   sections 1040 et seq. and California Government Code Section 6254. Defendant
17   further objects on the ground that disclosure of the requested materials would
18   violate the privacy rights of the involved police officers under the “official
19   information” or governmental privilege” accorded under Federal Law. Some
20   materials are not subject to disclosure absent prior in-camera judicial review to
21   determine whether the need for continued confidentiality is outweighed by the
22   litigant’s needs for the information sought. Kerr v. United States District Court,
23   511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S.Ct. 2119 (1976); Martinez v.
24
     City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114
25
     F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I. Sec. I; Cal. Pen. Code,
26
     sections 832.5, 832.7, 832.8; Cal. Evid. Code, sections 915, 944, 1012, 1040 et
27
     seq., 1043 et seq.; Cal. Gov. Code, section 6254; invasion of the rights of privacy
28                                             24
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 25 of 141 Page ID #:414



1    of any officers whose name may be mentioned in the requested records. The
2    materials requested are protected by the privilege and doctrine of self-critical
3
     analysis. See, Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir.
4
     1992).
5
     REQUEST FOR PRODUCTION NO. 7:
6
           Any and all written statements REGARDING OR RELATING TO the April
7
     22, 2020 shooting of Daniel Hernandez, or any issue related thereto.
8
     RESPONSE TO REQUEST NO. 7:
9
           Objection. This request is overbroad, vague and ambiguous, unintelligible,
10
     not reasonably calculated to lead to the discovery of admissible evidence, and
11
     violates third party’s right to privacy. Defendant also objects on the grounds that
12

13
     this request seeks the production of materials that are confidential, privileged and

14
     protected from discovery pursuant to California Evidence Code Section 1043 and

15   California Penal Code Sections 832.5, 832.7 and 832.8, and the privilege of self-
16   critical analysis. In addition, Defendant objects on the grounds that this request
17   seeks materials which are privileged pursuant to California Evidence Code,
18   sections 1040 et seq. and California Government Code Section 6254. Defendant
19   further objects on the ground that disclosure of the requested materials would
20   violate the privacy rights of the involved police officers under the “official
21   information” or “governmental privileges” accorded under Federal Law. Some
22   materials are not subject to disclosure absent prior in-camera judicial review to
23   determine whether the need for continued confidentiality is outweighed by the
24
     litigant’s needs for the information sought. Kerr v. United States District Court,
25
     511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S.Ct. 2119 (1976); Martinez v.
26
     City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114
27
     F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I. Sec. I; Cal. Pen. Code,
28                                             25
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 26 of 141 Page ID #:415



1    sections 832.5, 832.7, 832.8; Cal. Evid. Code, sections 915, 944, 1012, 1040 et
2    seq., 1043 et seq.; Cal. Gov. Code, section 6254; invasion of the rights of privacy
3
     of any officers whose name may be mentioned in the requested records. The
4
     materials requested are protected by the privilege and doctrine of self-critical
5
     analysis. See, Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir.
6
     1992).
7
     REQUEST FOR PRODUCTION NO. 18:
8
           LAPD’s polices REGARDING OR RELATING TO the use of body-worn
9
     cameras, including those policies that outline when a camera should be activated
10
     and deactivated, who will download the data from the camera and any and all other
11
     functions that RELATE TO the storage of body-worn camera footage.
12

13
     RESPONSE TO REQUEST NO. 18:

14
           Objection. This request is overbroad, vague and ambiguous, unintelligible,

15   and not reasonably calculated to lead to the discovery of admissible evidence.
16   Defendant also objects on the grounds that this request seeks the production of
17   materials that are confidential, privileged and protected from discovery pursuant to
18   California Evidence Code Section 1043 and California Penal Code Sections 832.5,
19   832.7 and 832.8, and the privilege of self-critical analysis. In addition, Defendant
20   objects on the grounds that this request seeks materials which are privileged
21   pursuant to California Evidence Code, sections 1040 et seq. and California
22   Government Code Section 6254. Defendant further objects on the ground that
23   disclosure of the requested materials would violate the privacy rights of the
24
     involved police officers under the “official information” or “governmental
25
     privilege” accorded under Federal Law. Some materials are not subject to
26
     disclosure absent prior in-camera judicial review to determine whether the need for
27
     continued confidentiality is outweighed by the litigant’s needs for the information
28                                             26
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 27 of 141 Page ID #:416



1    sought. Kerr v. United States District Court, 511 F.2d 192 (9th Cir. 1975), aff. 426
2    U.S. 394, 96 S.Ct. 2119 (1976); Martinez v. City of Stockton, 132 F.R.D. 677 (E.D.
3
     Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653 (N.D.Cal. 1987); Cal.
4
     Constitution, Article I. Sec. I; Cal. Pen. Code, sections 832.5, 832.7, 832.8; Cal.
5
     Evid. Code, sections 915, 944, 1012, 1040 et seq., 1043 et seq.; Cal. Gov. Code,
6
     section 6254; invasion of the rights of privacy of any officers whose name may be
7
     mentioned in the requested records. The materials requested are protected by the
8
     privilege and doctrine of self-critical analysis. See, Dowling v. American Hawaii
9
     Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).
10
     REQUEST FOR PRODUCTION NO. 20:
11
           Any and all recorded statements REGARDING OR RELATING TO the
12

13
     April 22, 2020 shooting of Daniel Hernandez, or any issue related thereto.

14
     RESPONSE TO REQUEST NO. 20:

15         Objection. This request is overbroad, vague and ambiguous, unintelligible,
16   not reasonably calculated to lead to the discovery of admissible evidence, and
17   violates third party’s rights to privacy. Defendant also objects on the grounds that
18   this request seeks the production of materials that are confidential, privileged and
19   protected from discovery pursuant to California Evidence Code Section 1043 and
20   California Penal Code Sections 832.5, 832.7 and 832.8, and the privilege of self-
21   critical analysis. In addition, Defendant objects on the grounds that this request
22   seeks materials which are privileged pursuant to California Evidence Code,
23   sections 1040 et seq. and California Government Code Section 6254. Defendant
24
     further objects on the ground that disclosure of the requested materials would
25
     violate the privacy rights of the involved police officers under the “official
26
     information: or “governmental privilege” accorded under Federal Law. Some
27
     materials are not subject to disclosure absent prior in-camera judicial review to
28                                             27
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 28 of 141 Page ID #:417



1    determine whether the need for continued confidentiality is outweighed by the
2    litigant’s needs for the information sought. Kerr v. United States District Court,
3
     511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S.Ct. 2119 (1976); Martinez v.
4
     City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114
5
     F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I. Sec. I; Cal. Pen. Code,
6
     sections 832.5, 832.7, 832.8; Cal. Evid. Code, sections 915, 944, 1012, 1040 et
7
     seq., 1043 et seq.; Cal. Gov. Code, section 6254; invasion of the rights of privacy
8
     of any officers whose name may be mentioned in the requested records. The
9
     materials requested are protected by the privilege and doctrine of self-critical
10
     analysis. See, Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir.
11
     1992).
12

13
     REQUEST FOR PRODUCTION NO. 21:

14
           Any and all video interviews REGARDING OR RELATING TO the April

15   22, 2020 shooting of Daniel Hernandez, or any issue related thereto.
16   RESPONSE TO REQUEST NO. 21:
17         Objection. This request is overbroad, vague and ambiguous, unintelligible,
18   not reasonably calculated to lead to the discovery of admissible evidence, violates
19   third party’s rights to privacy and seeks documents equally available to
20   propounding party. Defendant also objects on the grounds that this request seeks
21   the production of materials that are confidential, privileged and protected from
22   discovery pursuant to California Evidence Code Section 1043 and California Penal
23   Code Sections 832.5, 832.7 and 832.8, and the privilege of self-critical analysis. In
24
     addition, Defendant objects on the grounds that this request seeks materials which
25
     are privileged pursuant to California Evidence Code, sections 1040 et seq. and
26
     California Government Code Section 6254. Defendant further objects on the
27
     ground that disclosure of the requested materials would violate the privacy rights
28                                             28
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 29 of 141 Page ID #:418



1    of the involved police officers under the “official information” or “governmental
2    privilege” accorded under Federal Law. Some materials are not subject to
3
     disclosure absent prior in-camera judicial review to determine whether the need for
4
     continued confidentiality is outweighed by the litigant’s needs for the information
5
     sought. Kerr v. United States District Court, 511 F.2d 192 (9th Cir. 1975), aff. 426
6
     U.S. 394, 96 S.Ct. 2119 (1976); Martinez v. City of Stockton, 132 F.R.D. 677 (E.D.
7
     Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653 (N.D.Cal. 1987); Cal.
8
     Constitution, Article I. Sec. I; Cal. Pen. Code, sections 832.5, 832.7, 832.8; Cal.
9
     Evid. Code, sections 915, 944, 1012, 1040 et seq., 1043 et seq.; Cal. Gov. Code,
10
     section 6254; invasion of the rights of privacy of any officers whose name may be
11
     mentioned in the requested records. The materials requested are protected by the
12

13
     privilege and doctrine of self-critical analysis. See, Dowling v. American Hawaii

14
     Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).

15   REQUEST FOR PRODUCTION NO. 22:
16         Any and all audio interviews REGARDING OR RELATING TO any
17   member of the LAPD present at the April 22, 2020 at the scene of the shooting of
18   Daniel Hernandez, or any issue related thereto.
19   RESPONSE TO REQUEST NO. 22:
20         Objection. This request is overbroad, vague and ambiguous, unintelligible,
21   not reasonably calculated to lead to the discovery of admissible evidence, and
22   violates third party’s rights to privacy. Defendant also objects on the grounds that
23   this request seeks the production of materials that are confidential, privileged and
24
     protected from discovery pursuant to California Evidence Code Section 1043 and
25
     California Penal Code Sections 832.5, 832.7 and 832.8, and the privilege of self-
26
     critical analysis. In addition, Defendant objects on the grounds that this request
27
     seeks materials which are privileged pursuant to California Evidence Code,
28                                             29
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 30 of 141 Page ID #:419



1    sections 1040 et seq. and California Government Code Section 6254. Defendant
2    further objects on the ground that disclosure of the requested materials would
3
     violate the privacy rights of the involved police officers under the “official
4
     information” or “governmental privilege” accorded under Federal Law. Some
5
     materials are not subject to disclosure absent prior in-camera judicial review to
6
     determine whether the need for continued confidentiality is outweighed by the
7
     litigant’s needs for the information sought. Kerr v. United States District Court,
8
     511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S.Ct. 2119 (1976); Martinez v.
9
     City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114
10
     F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I. Sec. I; Cal. Pen. Code,
11
     sections 832.5, 832.7, 832.8; Cal. Evid. Code, sections 915, 944, 1012, 1040 et
12

13
     seq., 1043 et seq.; Cal. Gov. Code, section 6254; invasion of the rights of privacy

14
     of any officers whose name may be mentioned in the requested records. The

15   materials requested are protected by the privilege and doctrine of self-critical
16   analysis. See, Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir.
17   1992).
18   REQUEST FOR PRODUCTION NO. 23:
19         Any and all interview transcripts REGARDING OR RELATING TO any
20   member of the LAPD present on April 22, 2020
21   RESPONSE TO REQUEST NO. 23:
22         Objection. This request is overbroad, vague and ambiguous, unintelligible,
23   not reasonably calculated to lead to the discovery of admissible evidence, and
24
     violates third party’s rights to privacy. Defendant also objects on the grounds that
25
     this request seeks the production of materials that are confidential, privileged and
26
     protected from discovery pursuant to California Evidence Code Section 1043 and
27
     California Penal Code Sections 832.5, 832.7 and 832.8, and the privilege of self-
28                                             30
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 31 of 141 Page ID #:420



1    critical analysis. In addition, Defendant objects on the grounds that this request
2    seeks materials which are privileged pursuant to California Evidence Code,
3
     sections 1040 et seq. and California Government Code Section 6254. Defendant
4
     further objects on the ground that disclosure of the requested materials would
5
     violate the privacy rights of the involved police officers under the “official
6
     information” or governmental privilege” accorded under Federal Law. Some
7
     materials are not subject to disclosure absent prior in-camera judicial review to
8
     determine whether the need for continued confidentiality is outweighed by the
9
     litigant’s needs for the information sought. Kerr v. United States District Court,
10
     511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S.Ct. 2119 (1976); Martinez v.
11
     City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114
12

13
     F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I. Sec. I; Cal. Pen. Code,

14
     sections 832.5, 832.7, 832.8; Cal. Evid. Code, sections 915, 944, 1012, 1040 et

15   seq., 1043 et seq.; Cal. Gov. Code, section 6254; invasion of the rights of privacy
16   of any officers whose name may be mentioned in the requested records. The
17   materials requested are protected by the privilege and doctrine of self-critical
18   analysis. See, Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir.
19   1992).
20   REQUEST FOR PRODUCTION NO. 27:
21         Any and all audio recordings of any and all statements made by Defendant
22   Toni McBride that RELATE TO the April 22, 2020 shooting of Daniel Hernandez.
23   RESPONSE TO REQUEST NO. 27:
24
           Objection. This request is overbroad, vague and ambiguous, unintelligible,
25
     not reasonably calculated to lead to the discovery of admissible evidence, and
26
     violates third party’s rights to privacy. Defendant also objects on the grounds that
27
     this request seeks the production of materials that are confidential, privileged and
28                                             31
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 32 of 141 Page ID #:421



1    protected from discovery pursuant to California Evidence Code Section 1043 and
2    California Penal Code Sections 832.5, 832.7 and 832.8, and the privilege of self-
3
     critical analysis. In addition, Defendant objects on the grounds that this request
4
     seeks materials which are privileged pursuant to California Evidence Code,
5
     sections 1040 et seq. and California Government Code Section 6254. Defendant
6
     further objects on the ground that disclosure of the requested materials would
7
     violate the privacy rights of the involved police officers under the “official
8
     information” or “governmental privilege” accorded under Federal Law. Some
9
     materials are not subject to disclosure absent prior in-camera judicial review to
10
     determine whether the need for continued confidentiality is outweighed by the
11
     litigant’s needs for the information sought. Kerr v. United States District Court,
12

13
     511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S.Ct. 2119 (1976); Martinez v.

14
     City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114

15   F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I. Sec. I; Cal. Pen. Code,
16   sections 832.5, 832.7, 832.8; Cal. Evid. Code, sections 915, 944, 1012, 1040 et
17   seq., 1043 et seq.; Cal. Gov. Code, section 6254; invasion of the rights of privacy
18   of any officers whose name may be mentioned in the requested records. The
19   materials requested are protected by the privilege and doctrine of self-critical
20   analysis. See, Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir.
21   1992).
22   REQUEST FOR PRODUCTION NO. 28:
23         Any and all audio recordings of any and all statements made by any LAPD
24
     employee that RELATE TO the April 22, 2020 shooting of Daniel Hernandez.
25
     RESPONSE TO REQUEST NO. 28:
26
           Objection. This request is overbroad, vague and ambiguous, unintelligible,
27
     not reasonably calculated to lead to the discovery of admissible evidence, and
28                                             32
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 33 of 141 Page ID #:422



1    violates third party’s rights to privacy. Defendant also objects on the grounds that
2    this request seeks the production of materials that are confidential, privileged and
3
     protected from discovery pursuant to California Evidence Code Section 1043 and
4
     California Penal Code Sections 832.5, 832.7 and 832.8, and the privilege of self-
5
     critical analysis. In addition, Defendant objects on the grounds that this request
6
     seeks materials which are privileged pursuant to California Evidence Code,
7
     sections 1040 et seq. and California Government Code Section 6254. Defendant
8
     further objects on the ground that disclosure of the requested materials would
9
     violate the privacy rights of the involved police officers under the “official
10
     information” or “governmental privilege” accorded under Federal Law. Some
11
     materials are not subject to disclosure absent prior in-camera judicial review to
12

13
     determine whether the need for continued confidentiality is outweighed by the

14
     litigant’s needs for the information sought. Kerr v. United States District Court,

15   511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S.Ct. 2119 (1976); Martinez v.
16   City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114
17   F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I. Sec. I; Cal. Pen. Code,
18   sections 832.5, 832.7, 832.8; Cal. Evid. Code, sections 915, 944, 1012, 1040 et
19   seq., 1043 et seq.; Cal. Gov. Code, section 6254; invasion of the rights of privacy
20   of any officers whose name may be mentioned in the requested records. The
21   materials requested are protected by the privilege and doctrine of self-critical
22   analysis. See, Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir.
23   1992).
24
     REQUEST FOR PRODUCTION NO. 29:
25
           Any and all DOCUMENTS which reflect Officer Toni McBride having
26
     authority to have/posses/use a gun as a reserve officer.
27
     RESPONSE TO REQUEST NO. 29:
28                                             33
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 34 of 141 Page ID #:423



1          Objection. This request is overbroad, vague and ambiguous, unintelligible,
2    not reasonably calculated to lead to the discovery of admissible evidence, violates
3
     third party’s rights to privacy and violates FRCP rule 26. Defendant also objects on
4
     the grounds that this request seeks the production of materials that are confidential,
5
     privileged and protected from discovery pursuant to California Evidence Code
6
     Section 1043 and California Penal Code Sections 832.5, 832.7 and 832.8, and the
7
     privilege of self-critical analysis. In addition, Defendant objects on the grounds
8
     that this request seeks materials which are privileged pursuant to California
9
     Evidence Code, sections 1040 et seq. and California Government Code Section
10
     6254. Defendant further objects on the ground that disclosure of the requested
11
     materials would violate the privacy rights of the involved police officers under the
12

13
     “official information” or “governmental privilege” accorded under Federal Law.

14
     Some materials are not subject to disclosure absent prior in-camera judicial review

15   to determine whether the need for continued confidentiality is outweighed by the
16   litigant’s needs for the information sought. Kerr v. United States District Court,
17   511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S.Ct. 2119 (1976); Martinez v.
18   City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114
19   F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I. Sec. I; Cal. Pen. Code,
20   sections 832.5, 832.7, 832.8; Cal. Evid. Code, sections 915, 944, 1012, 1040 et
21   seq., 1043 et seq.; Cal. Gov. Code, section 6254; invasion of the rights of privacy
22   of any officers whose name may be mentioned in the requested records. The
23   materials requested are protected by the privilege and doctrine of self-critical
24
     analysis. See, Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir.
25
     1992).
26
     REQUEST FOR PRODUCTION NO. 30:
27

28                                             34
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 35 of 141 Page ID #:424



1          Any and all DOCUMENTS which reflect included in Officer Toni
2    McBride’s background check as she applied for LAPD.
3
     RESPONSE TO REQUEST NO. 30:
4
           Objection. This request is overbroad, vague and ambiguous, unintelligible,
5
     not reasonably calculated to lead to the discovery of admissible evidence, violates
6
     third party’s rights to privacy and violates FRCP rule 26. Defendant also objects on
7
     the grounds that this request seeks the production of materials that are confidential,
8
     privileged and protected from discovery pursuant to California Evidence Code
9
     Section 1043 and California Penal Code Sections 832.5, 832.7 and 832.8, and the
10
     privilege of self-critical analysis. In addition, Defendant objects on the grounds
11
     that this request seeks materials which are privileged pursuant to California
12

13
     Evidence Code, sections 1040 et seq. and California Government Code Section

14
     6254. Defendant further objects on the ground that disclosure of the requested

15   materials would violate the privacy rights of the involved police officers under the
16   “official information” or “governmental privilege” accorded under Federal Law.
17   Some materials are not subject to disclosure absent prior in-camera judicial review
18   to determine whether the need for continued confidentiality is outweighed by the
19   litigant’s needs for the information sought. Kerr v. United States District Court,
20   511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S.Ct. 2119 (1976); Martinez v.
21   City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114
22   F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I. Sec. I; Cal. Pen. Code,
23   sections 832.5, 832.7, 832.8; Cal. Evid. Code, sections 915, 944, 1012, 1040 et
24
     seq., 1043 et seq.; Cal. Gov. Code, section 6254; invasion of the rights of privacy
25
     of any officers whose name may be mentioned in the requested records. The
26
     materials requested are protected by the privilege and doctrine of self-critical
27

28                                             35
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 36 of 141 Page ID #:425



1    analysis. See, Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir.
2    1992).
3
     REQUEST FOR PRODUCTION NO. 31:
4
           A true and correct copy of each complete personnel and/or administrative
5
     complaint and/or criminal investigation, whether arising from within the Los
6
     Angeles Police Department, i.e. the Department is the complaining party, or
7
     initiated externally against Officer Toni McBride.
8
     RESPONSE TO REQUEST NO. 31:
9
           Objection. This request is overbroad, vague and ambiguous, unintelligible,
10
     not reasonably calculated to lead to the discovery of admissible evidence, and
11
     violates third party’s rights to privacy. Defendant also objects on the grounds that
12

13
     this request seeks the production of materials that are confidential, privileged and

14
     protected from discovery pursuant to California Evidence Code Section 1043 and

15   California Penal Code Sections 832.5, 832.7 and 832.8, and the privilege of self-
16   critical analysis. In addition, Defendant objects on the grounds that this request
17   seeks materials which are privileged pursuant to California Evidence Code,
18   sections 1040 et seq. and California Government Code Section 6254. Defendant
19   further objects on the ground that disclosure of the requested materials would
20   violate the privacy rights of the involved police officers under the “official
21   information” and governmental privilege” accorded under Federal Law. Some
22   materials are not subject to disclosure absent prior in-camera judicial review to
23   determine whether the need for continued confidentiality is outweighed by the
24
     litigant’s needs for the information sought. Kerr v. United States District Court,
25
     511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S.Ct. 2119 (1976); Martinez v.
26
     City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114
27
     F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I. Sec. I; Cal. Pen. Code,
28                                             36
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 37 of 141 Page ID #:426



1    sections 832.5, 832.7, 832.8; Cal. Evid. Code, sections 915, 944, 1012, 1040 et
2    seq., 1043 et seq.; Cal. Gov. Code, section 6254; invasion of the rights of privacy
3
     of any officers whose name may be mentioned in the requested records. The
4
     materials requested are protected by the privilege and doctrine of self-critical
5
     analysis. See, Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir.
6
     1992).
7
     REQUEST FOR PRODUCTION NO. 32
8
           TEAMS AND TEAMS II reports pertaining to Officer Toni McBride
9
     through the date of production hereto.
10
     RESPONSE TO REQUEST NO. 32:
11
           Objection. This request is overbroad, vague and ambiguous, unintelligible,
12

13
     not reasonably calculated to lead to the discovery of admissible evidence, and

14
     violates third party’s rights to privacy. Defendant also objects on the grounds that

15   this request seeks the production of materials that are confidential, privileged and
16   protected from discovery pursuant to California Evidence Code Section 1043 and
17   California Penal Code Sections 832.5, 832.7 and 832.8, and the privilege of self-
18   critical analysis. In addition, Defendant objects on the grounds that this request
19   seeks materials which are privileged pursuant to California Evidence Code,
20   sections 1040 et seq. and California Government Code Section 6254. Defendant
21   further objects on the ground that disclosure of the requested materials would
22   violate the privacy rights of the involved police officers under the “official
23   information” or “governmental privilege” accorded under Federal Law. Some
24
     materials are not subject to disclosure absent prior in-camera judicial review to
25
     determine whether the need for continued confidentiality is outweighed by the
26
     litigant’s needs for the information sought. Kerr v. United States District Court,
27
     511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S.Ct. 2119 (1976); Martinez v.
28                                             37
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 38 of 141 Page ID #:427



1    City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114
2    F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I. Sec. I; Cal. Pen. Code,
3
     sections 832.5, 832.7, 832.8; Cal. Evid. Code, sections 915, 944, 1012, 1040 et
4
     seq., 1043 et seq.; Cal. Gov. Code, section 6254; invasion of the rights of privacy
5
     of any officers whose name may be mentioned in the requested records. The
6
     materials requested are protected by the privilege and doctrine of self-critical
7
     analysis. See, Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir.
8
     1992).
9
     REQUEST FOR PRODUCTION NO. 33:
10
           Produce exact unredacted copies of crime and arrest reports, digital media
11
     (photos, audio/video) for Cal. PC 69, PC 148a.(1), 240, 242, 243, 245, 664/187
12

13
     wherein Officer Toni McBride claimed to be victim or witness, for 5 years

14
     preceding April 22, 2020 through the date of production.

15   RESPONSE TO REQUEST NO. 33:
16         Objection. This request is overbroad, vague and ambiguous, unintelligible,
17   not reasonably calculated to lead to the discovery of admissible evidence,
18   burdensome and harassing, violates third party’s rights to privacy and violates
19   FRCP rule 26. Defendant also objects on the grounds that this request seeks the
20   production of materials that are confidential, privileged and protected from
21   discovery pursuant to California Evidence Code Section 1043 and California Penal
22   Code Sections 832.5, 832.7 and 832.8, and the privilege of self-critical analysis. In
23   addition, Defendant objects on the grounds that this request seeks materials which
24
     are privileged pursuant to California Evidence Code, sections 1040 et seq. and
25
     California Government Code Section 6254. Defendant further objects on the
26
     ground that disclosure of the requested materials would violate the privacy rights
27
     of the involved police officers under the “official information” or “governmental
28                                             38
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 39 of 141 Page ID #:428



1    privilege” accorded under Federal Law. Some materials are not subject to
2    disclosure absent prior in-camera judicial review to determine whether the need for
3
     continued confidentiality is outweighed by the litigant’s needs for the information
4
     sought. Kerr v. United States District Court, 511 F.2d 192 (9th Cir. 1975), aff. 426
5
     U.S. 394, 96 S.Ct. 2119 (1976); Martinez v. City of Stockton, 132 F.R.D. 677 (E.D.
6
     Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653 (N.D.Cal. 1987); Cal.
7
     Constitution, Article I. Sec. I; Cal. Pen. Code, sections 832.5, 832.7, 832.8; Cal.
8
     Evid. Code, sections 915, 944, 1012, 1040 et seq., 1043 et seq.; Cal. Gov. Code,
9
     section 6254; invasion of the rights of privacy of any officers whose name may be
10
     mentioned in the requested records. The materials requested are protected by the
11
     privilege and doctrine of self-critical analysis.
12

13
     REQUEST FOR PRODUCTION NO. 34:

14
           Produce exact unredacted copies of each completed Use of Force

15   investigation reports, digital media (photos, audio/video) or any equivalent at the
16   Department pertaining to Officer Toni McBride, for 5 years preceding April 22,
17   2020 through the date of production.
18   RESPONSE TO REQUEST NO. 34:
19         Objection. This request is overbroad, vague and ambiguous, unintelligible,
20   not reasonably calculated to lead to the discovery of admissible evidence,
21   burdensome and harassing, violates third party’s rights to privacy and violates
22   FRCP rule 26. Defendant also objects on the grounds that this request seeks the
23   production of materials that are confidential, privileged and protected from
24
     discovery pursuant to California Evidence Code Section 1043 and California Penal
25
     Code Sections 832.5, 832.7 and 832.8, and the privilege of self-critical analysis. In
26
     addition, Defendant objects on the grounds that this request seeks materials which
27
     are privileged pursuant to California Evidence Code, sections 1040 et seq. and
28                                              39
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 40 of 141 Page ID #:429



1    California Government Code Section 6254. Defendant further objects on the
2    ground that disclosure of the requested materials would violate the privacy rights
3
     of the involved police officers under the “official information” or “governmental
4
     privilege” accorded under Federal Law. Some materials are not subject to
5
     disclosure absent prior in-camera judicial review to determine whether the need for
6
     continued confidentiality is outweighed by the litigant’s needs for the information
7
     sought. Kerr v. United States District Court, 511 F.2d 192 (9th Cir. 1975), aff. 426
8
     U.S. 394, 96 S.Ct. 2119 (1976); Martinez v. City of Stockton, 132 F.R.D. 677 (E.D.
9
     Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653 (N.D.Cal. 1987); Cal.
10
     Constitution, Article I. Sec. I; Cal. Pen. Code, sections 832.5, 832.7, 832.8; Cal.
11
     Evid. Code, sections 915, 944, 1012, 1040 et seq., 1043 et seq.; Cal. Gov. Code,
12

13
     section 6254; invasion of the rights of privacy of any officers whose name may be

14
     mentioned in the requested records. The materials requested are protected by the

15   privilege and doctrine of self-critical analysis. See, Dowling v. American Hawaii
16   Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).
17   REQUEST FOR PRODUCTION NO. 35:
18         Background investigations into Officer Toni McBride suitability to serve as
19   a law enforcement officer conducted by LAPD in accordance with California Govt.
20   Code Sections 1031, subdivision (d) and 1030.1.
21   RESPONSE TO REQUEST NO. 35:
22         Objection. This request is overbroad, vague and ambiguous, unintelligible,
23   not reasonably calculated to lead to the discovery of admissible evidence,
24
     burdensome and harassing, violates third party’s rights to privacy and violates
25
     FRCP rule 26. Defendant also objects on the grounds that this request seeks the
26
     production of materials that are confidential, privileged and protected from
27
     discovery pursuant to California Evidence Code Section 1043 and California Penal
28                                             40
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 41 of 141 Page ID #:430



1    Code Sections 832.5, 832.7 and 832.8, and the privilege of self-critical analysis. In
2    addition, Defendant objects on the grounds that this request seeks materials which
3
     are privileged pursuant to California Evidence Code, sections 1040 et seq. and
4
     California Government Code Section 6254. Defendant further objects on the
5
     ground that disclosure of the requested materials would violate the privacy rights
6
     of the involved police officers under the “official’ information” or “governmental
7
     privilege” accorded under Federal Law. Some materials are not subject to
8
     disclosure absent prior in-camera judicial review to determine whether the need for
9
     continued confidentiality is outweighed by the litigant’s needs for the information
10
     sought. Kerr v. United States District Court, 511 F.2d 192 (9th Cir. 1975), aff. 426
11
     U.S. 394, 96 S.Ct. 2119 (1976); Martinez v. City of Stockton, 132 F.R.D. 677 (E.D.
12

13
     Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653 (N.D.Cal. 1987); Cal.

14
     Constitution, Article I. Sec. I; Cal. Pen. Code, sections 832.5, 832.7, 832.8; Cal.

15   Evid. Code, sections 915, 944, 1012, 1040 et seq., 1043 et seq.; Cal. Gov. Code,
16   section 6254; invasion of the rights of privacy of any officers whose name may be
17   mentioned in the requested records. The materials requested are protected by the
18   privilege and doctrine of self-critical analysis. See, Dowling v. American Hawaii
19   Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).
20   REQUEST FOR PRODUCTION NO. 36:
21         Formal and informal station of assignment performance and/or rating
22   evaluations for Officer Toni McBride for the 5 years preceding the date of the
23   incident alleged in Plaintiff’s complaint to the date of compliance herewith.
24
     RESPONSE TO REQUEST NO. 36:
25
           Objection. This request is overbroad, vague and ambiguous, unintelligible,
26
     not reasonably calculated to lead to the discovery of admissible evidence,
27
     burdensome and harassing, violates third party’s rights to privacy and violates
28                                             41
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 42 of 141 Page ID #:431



1    FRCP rule 26. Defendant also objects on the grounds that this request seeks the
2    production of materials that are confidential, privileged and protected from
3
     discovery pursuant to California Evidence Code Section 1043 and California Penal
4
     Code Sections 832.5, 832.7 and 832.8, and the privilege of self-critical analysis. In
5
     addition, Defendant objects on the grounds that this request seeks materials which
6
     are privileged pursuant to California Evidence Code, sections 1040 et seq. and
7
     California Government Code Section 6254. Defendant further objects on the
8
     ground that disclosure of the requested materials would violate the privacy rights
9
     of the involved police officers under the “official information” or “governmental
10
     privilege” accorded under Federal Law. Some materials are not subject to
11
     disclosure absent prior in-camera judicial review to determine whether the need for
12

13
     continued confidentiality is outweighed by the litigant’s needs for the information

14
     sought. Kerr v. United States District Court, 511 F.2d 192 (9th Cir. 1975), aff. 426

15   U.S. 394, 96 S.Ct. 2119 (1976); Martinez v. City of Stockton, 132 F.R.D. 677 (E.D.
16   Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653 (N.D.Cal. 1987); Cal.
17   Constitution, Article I. Sec. I; Cal. Pen. Code, sections 832.5, 832.7, 832.8; Cal.
18   Evid. Code, sections 915, 944, 1012, 1040 et seq., 1043 et seq.; Cal. Gov. Code,
19   section 6254; invasion of the rights of privacy of any officers whose name may be
20   mentioned in the requested records. The materials requested are protected by the
21   privilege and doctrine of self-critical analysis. See, Dowling v. American Hawaii
22   Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).
23   REQUEST FOR PRODUCTION NO. 37:
24
           The complete LAPD Administrative Investigation file concerning the
25
     putative investigation into the personnel complaints by and on behalf of Plaintiff
26
     M.L.H. and Plaintiffs Manuel and Maria Hernandez, including, but not limited to:
27
           A. Complaint origination documentation;
28                                             42
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 43 of 141 Page ID #:432



1          B. Disposition;
2          C. Each Memo and Office Correspondence relating to the incident
3
     complained of contained within the file;
4
           D. Administrative insight
5
           E. Employee’s report(s);
6
           F. Commander’s Recommendations;
7

8          G. Departmental biographical summaries of each individual Defendant;
9
           H. Investigator’s time records;
10
           I. Findings;
11
           J. Summaries of interviews and/or verbatim statements of witnesses;
12
           K. All addenda evidence contained therein, including exhibits and tape
13
           recordings.
14

15
           L. Any and all LAPD Inspector General’s oversight correspondence, memos

16
           and writings

17   RESPONSE TO REQUEST NO. 37:
18         Objection. This request is overbroad, vague and ambiguous, unintelligible,
19   not reasonably calculated to lead to the discovery of admissible evidence,
20   burdensome and harassing, violates third party’s rights to privacy and violates
21   FRCP rule 26. Defendant also objects on the grounds that this request seeks the
22   production of materials that are confidential, privileged and protected from
23   discovery pursuant to California Evidence Code Section 1043 and California Penal
24   Code Sections 832.5, 832.7 and 832.8, and the privilege of self-critical analysis. In
25   addition, Defendant objects on the grounds that this request seeks materials which
26
     are privileged pursuant to California Evidence Code, sections 1040 et seq. and
27
     California Government Code Section 6254. Defendant further objects on the
28                                              43
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 44 of 141 Page ID #:433



1    ground that disclosure of the requested materials would violate the privacy rights
2    of the involved police officers under the “official information” or governmental
3
     privilege” accorded under Federal Law. Some materials are not subject to
4
     disclosure absent prior in-camera judicial review to determine whether the need for
5
     continued confidentiality is outweighed by the litigant’s needs for the information
6
     sought. Kerr v. United States District Court, 511 F.2d 192 (9th Cir. 1975), aff. 426
7
     U.S. 394, 96 S.Ct. 2119 (1976); Martinez v. City of Stockton, 132 F.R.D. 677 (E.D.
8
     Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653 (N.D.Cal. 1987); Cal.
9
     Constitution, Article I. Sec. I; Cal. Pen. Code, sections 832.5, 832.7, 832.8; Cal.
10
     Evid. Code, sections 915, 944, 1012, 1040 et seq., 1043 et seq.; Cal. Gov. Code,
11
     section 6254; invasion of the rights of privacy of any officers whose name may be
12

13
     mentioned in the requested records. The materials requested are protected by the

14
     privilege and doctrine of self-critical analysis. See, Dowling v. American Hawaii

15   Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).
16   REQUEST FOR PRODUCTION NO. 43:
17         Each Government Tort Claim filed with the City of Los Angeles in which
18   the individual defendant Officer Toni McBride is identified, or came to be
19   identified, as the responsible or named employee, throughout the defendant’s
20   period of employment to the date of your compliance hereto.
21   RESPONSE TO REQUEST NO. 43:
22         Objection. This request is overbroad, vague and ambiguous, unintelligible,
23   not reasonably calculated to lead to the discovery of admissible evidence,
24
     burdensome and harassing, violates rights to privacy and seeks documents equally
25
     available to propounding party. Defendant also objects on the grounds that this
26
     request seeks the production of materials that are confidential, privileged and
27
     protected from discovery pursuant to California Evidence Code Section 1043 and
28                                             44
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 45 of 141 Page ID #:434



1    California Penal Code Sections 832.5, 832.7 and 832.8, and the privilege of self-
2    critical analysis. In addition, Defendant objects on the grounds that this request
3
     seeks materials which are privileged pursuant to California Evidence Code,
4
     sections 1040 et seq. and California Government Code Section 6254. Defendant
5
     further objects on the ground that disclosure of the requested materials would
6
     violate the privacy rights of the involved police officers under the “official
7
     information” or governmental privilege” accorded under Federal Law. Some
8
     materials are not subject to disclosure absent prior in-camera judicial review to
9
     determine whether the need for continued confidentiality is outweighed by the
10
     litigant’s needs for the information sought. Kerr v. United States District Court,
11
     511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S.Ct. 2119 (1976); Martinez v.
12

13
     City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114

14
     F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I. Sec. I; Cal. Pen. Code,

15   sections 832.5, 832.7, 832.8; Cal. Evid. Code, sections 915, 944, 1012, 1040 et
16   seq., 1043 et seq.; Cal. Gov. Code, section 6254; invasion of the rights of privacy
17   of any officers whose name may be mentioned in the requested records. The
18   materials requested are protected by the privilege and doctrine of self-critical
19   analysis. See, Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir.
20   1992).
21   PLAINTIFF’S CONTENTIONS WITH RESPECT TO REQUESTS FOR
22   PRODUCTION OF DOCUMENTS TO CITY:
23         Preliminarily, the court should note Plaintiff agreed to receive compliant
24
     discovery of genuinely sensitive materials subject to an agreed protective order, as
25
     is the practice in this district and has been the order of business in virtually every
26
     police misconduct discovery dispute in the Central District. Miller v. Pancucci, 141
27
     F.R.D. 292 (C.D. Cal. 1992). This agreement was inserted in the Requests and in
28                                              45
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 46 of 141 Page ID #:435



1    Plaintiff’s Rule 37 letter. A sample protective order was sent collectively by
2    Plaintiffs for approval by the defense counsel prior to the Rule 37 conference. See
3
     Exhibit H for email communications. It should be noted in this regard, this is a
4
     highly publicized case, where a lot of information about the case is already in the
5
     public domain and the City’s contentions about confidentiality of certain records
6
     specifically related to Plaintiff’s incident, explored more below, are frivolous
7
     because they cannot assert good cause for a Protective Order for records already in
8
     the public domain. These records are considered public records in California under
9
     PC 832.7 and SB 1421. 14-Year-Old Sues LAPD Over Father's Shooting Death - NBC Los Angeles
10
            At the IDC, the magistrate nevertheless overruled Plaintiff’s objections to
11
     the blanket Protective Order and was directed to challenge confidentiality
12

13
     designations at the time materials are produced. In efforts to expedite the

14
     production of discovery, after the IDC, Plaintiff’s counsel then provided their

15   approval to the defense regarding their model Protective Order. There is now a
16   Protective Order in place. Declaration of Counsel.
17          Identical objections were inserted to all RFPs with no rhyme or reason.
18   Therefore, Plaintiff has grouped her contentions around the objections/privileges
19   inserted rather than the specific RFPs. Even those RFPs that sought specific
20   records related solely to Plaintiff’s incident, the shooting on April 22, 2020, RFPs
21   1-2, 6-7, 18, 20-23, 27-28, 37, 40-42, were objected to. The defense counsel for the
22   City refused to withdraw those objections at the Rule 37 conference necessitating
23   rulings for these RFPs. At the IDC, because the City was not sure what other
24
     documents existed aside from the Force Investigation reports, Plaintiff’s counsel
25
     did not want to withdraw her RFPs covered in records other than the Force
26
     Investigation. The Magistrate’s rendition that RFPs 1-2, 6-7, 17, 34, 42 are part of
27
     the personnel file is incorrect. These documents are never placed into the personnel
28                                                 46
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 47 of 141 Page ID #:436



1    file. Merely because the City considers them ‘confidential’ and is asking for a
2    Protective Order before their disclosure, does not make them truly confidential
3
     under statutes. In fact, the entire Use of force investigative reports including
4
     audio/video/statements related to Plaintiff’s OIS is a public record under SB 1421,
5
     Cal. PC 832.7 and can be directly gathered from the LAPD. Court Order,
6
     Document 44, Declaration of Counsel. In any event, there is a Protective Order in
7
     place and the City has no excuse in refusing to produce them to Plaintiffs, but
8
     marking them as part of the personnel file is inaccurate and at this time delays
9
     Plaintiff’s discovery.
10
           RFPs 29-32, 35-36, 43 are truly related to the personnel file of Defendant
11
     McBride, her background investigations, performance evaluations in
12

13
     TEAMS/TEAMS II reports, personnel/administrative complaint histories that were

14
     objected to in a similar fashion.

15         RFPs 33-34 sought historical relevant arrest and use of force reports
16   involving McBride, that are not confidential or privileged under any statutory
17   state/federal law of privileges, were objected regardless. The City attorney could
18   not explain as to how these objections applied to these non-confidential police
19   reports.
20         The City loosely categorized some but not all these documents in their
21   privilege log without specifically identifying them, and was not asked to provide
22   with an amended privilege log at the IDC, keeping Plaintiff in darkness as to what
23   records specifically are identified responsive to Plaintiff’s demands. As indicated
24
     at the IDC, and as UOF expert witness Jody Steiger of the LAPD testified in Derek
25
     Chauvin’s trial, there are different levels of review within the LAPD when use of
26
     force occurs especially OIS (Officer Involved Shooting) as this case. After the
27
     Force investigation is completed, the incident is reviewed by the Use of Force
28                                             47
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 48 of 141 Page ID #:437



1    Review Board headed by Deputy Chief, who then makes a
2    finding/recommendation to the Chief of Police. The Chief of Police as the
3
     disciplinary authority of the LAPD reviews the incident and makes his own
4
     determination, then forwards it to the policy-making authority of the Department,
5
     the Board of Police Commissioners who then makes their own findings. In this
6
     highly publicized case, the Board of Police Commissioners already found the last
7
     two shots against Daniel Hernandez out of policy as of December 2020 but
8
     Plaintiff has yet to get those records. See Exhibit J the public record of Board’s
9
     review where Board discusses the entire review process and records they
10
     received and considered. Plaintiff is entitled to the entire Use of force review
11
     investigative records by the LAPD/City not just the initial Force investigation
12

13
     review promised to be produced by the City, because the factual findings,

14
     adequacy and competency of the investigative review, and City’s disciplinary

15   mechanism for officer’s misconduct are all issues relevant to the claims here not
16   only against the individual Defendant but also against the City in Monell claims.
17   See Declaration of Counsel, Exhibit C Privilege Log. Therefore, Plaintiff needs
18   specific orders from this Court that mandate disclosure of the rest of the Items
19   from the privilege log that correspond to Plaintiff’s demands in addition to those
20   items not expressly identified nor included in their Privilege Log, as discussed
21   more below. Given these delays and the City’s anticipated production of heavily
22   redacted records, as their Initial Disclosures, Plaintiff specifically asks the Court to
23   order disclosure of unredacted and legible records.
24
           The Consolidated Complaint, filed with the Court by stipulation of all
25
     parties combining Plaintiff M.L.H.’s separate lawsuit into the instant action,
26
     alleges a number of claims including, wrongful death, unlawful detention,
27
     excessive use of force, conspiracy, fabrication of official reports against the
28                                              48
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 49 of 141 Page ID #:438



1    individual Defendants and failure to supervise/train/discipline, improper hiring and
2    retention, ratification and approval of employees’ unlawful conduct, deliberate
3
     indifference to Plaintiff’s rights and those of similarly situated against the City.
4
     (See Consolidated Complaint on File with Court Docket Report, Doc. 26)
5

6
     OBJECTIONS ARE PROCEDURALLY WAIVED, ARE SUBSTANTIVELY
7
     MERITLESS, NOT SUPPORTED BY A VALID CUSTODIAN’S
8
     DECLARATION AND PRIVILEGE LOG
9

10

11           Defendant City neither produced a valid Custodian’s declaration nor a
12   privilege log with their initial responses consisting of blanket objections served
13
     late on March 18, when they were due on March 15, thereby waiving the
14
     privileges they asserted. See Exhibit C, Declaration of Counsel. Late objections
15
     are waived. Richmark Corp. v. Timber Falling Consultants, 959 F.2d 1468,
16
     1473 (9th Cir. 1992), Zuniga v. Western Apartments, 2014 WL 2599919, at *2, at
17
     *3 (CD. Cal. Mar. 25, 2014), Ramirez v. County of Los Angeles, 231 F.R.D. 407,
18
     409-10 (CD. Cal. 2005), Laub v. Horbaczewski, 331 F.R.D. 516, 520 (C.D. Cal.
19
     2019)
20
             The belated Declaration by Custodian Detective Brian Hun (“Hun Decl.”)
21
     with the faulty privilege log produced on March 18 cannot cure the defect. See
22

23
     Exhibit C. The Hun Decl. fails in material respects under Chism as it fails to state

24
     that Hun actually reviewed the records sought and what specific harm would flow

25   from disclosing them under a protective order to litigants here. (Exhibit C, Hun
26   Declaration & Privilege Log). Chism v. County of San Bernardino, 159 F.R.D.
27   531 (C.D. Cal. 1994). The declarant is required to have read and reviewed the
28                                              49
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 50 of 141 Page ID #:439



1    materials to which any particular objections are being made and must declare that
2    his review supports the objection because of the reasons he needs to spell out as to
3
     each requested category of documents. The Custodian also needs to provide a
4
     privilege log of the specific records responsive to the requests and specifically
5
     reviewed by Custodian. If the declarant actually reviewed the records sought by
6
     Plaintiff, it proves the City’s objection on the basis of the burden of production and
7
     lack of technology to access records is spurious. The Declaration, along with the
8
     privilege log attached, is also flawed because it adds newly asserted objections
9
     based on various grounds that were not asserted in the initial responses to these
10
     discovery demands, nor are available to the City in this action as elaborated more
11
     below. It is further defective because it is silent as to why Plaintiff cannot obtain
12

13
     these materials with a Protective Order, even if some records are truly confidential

14
     or privileged. Finally, the privilege log does not identify any records with

15   particularity by Plaintiff including personnel or other records responsive to this
16   request. In this request, Plaintiff sought complete personnel file with
17   training/evaluative records, background investigations and prior history of
18   complaints/use of force/arrest reports by Defendant McBride, including the Internal
19   Affairs/Use of force investigation into Plaintiff’s incident.
20         Defendants asserted various objections to all requests categorized as follows:
21   (1) “official governmental information” privilege, (2) “self critical analysis”
22   privilege, (3) “deliberative process” privilege, (4) officer privacy rights and third
23   party privacy rights under California and federal law, (5), (6) various California
24
     state law privileges, (7) subsequent remedial measures and a shotgun (8)
25
     overbroad, vague and ambiguous, not relevant, not likely to lead to admissible
26
     evidence. Identical objections inserted by City previously in other federal civil
27

28                                               50
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 51 of 141 Page ID #:440



1    rights lawsuits have been consistently rejected.1 Plaintiff’s counsel reminded the
2    City attorney of this at the Rule 37 conference call and inviting letter to no avail.
3
     See Exhibit E. Each objection is addressed below:
4
         1. Federal Official Information Privilege
5
             In order to preserve the federal official information privilege a custodian’s
6
     declaration must: (1) affirm the department has collected the material in question
7
     and kept it confidential; (2) affirm the declarant has personally reviewed the
8
     materials sought (3) specifically identify what governmental or privacy interest
9
     would be threatened by disclosure (4) describe how disclosure, even if made
10
     subject to a protective order, would create a substantial risk of harm and (5)
11
     project the harm disclosure would cause. Chism, 159 F.R.D. at 531; Miller v.
12

13
     Pancucci, 141 F.R.D. 292, 300 (C.D.Cal.1992) citing Kelly v. City of San Jose,

14
     114 F.R.D. 653, 670 (N.D. Cal. 1987). See also Bosley v. Valasco, No. 1:14–CV–

15   00049–MJS (PC), 2016 WL 1704159, at *5 (E.D. Cal. Apr. 28, 2016), modified,
16   2016 WL 2756590 (E.D. Cal. May 12, 2016) (citing Kelly, 114 F.R.D. at 670).
17
             The defendants’ failure to provide a valid Custodian’s Declaration with a
18
     privilege log of the specific records sought at the time of the responses is an express
19
     waiver of this privilege. The belated Hun Decl. cannot save Defendants’
20

21

22

23                    1
                           See Howard v. City of Los Angeles, 14-03687 FMO Asx; See, Kattan v. City of Los Angeles CV
     05- 4769 RJK (Ex); Duplessis v. City of Los Angeles, CV 98-3577CM(MANx); Fulciniti v. City of Los Angeles,
24   CV 88-0795AJW, King & Garcia v. City of Los Angeles CV 01-08932FMC (CWx), Govea v. City of Los Angeles,
     CV 95-1464 TJH(JRx), Guu v. City of Los Angeles LASC BC 158353, Lozada v. City of Los Angeles CV 99-
25   07430VAP(JWJx); Montano v. City of Los Angeles CV 99- 07430VAP(JWJx), Otero v. City of Los Angeles, CV
     05-04248ABC(JTLx)(City Attorney stipulated to complete disclosure subject to agreed protective order), Ronda
26   Ross v. City of Los Angeles 04-8033 TJH (PLAx) Santana v. City of Los Angeles, et. al. CV 00-3943AHM(RZx);
     Santillan v. City of Los Angeles LASC C 608646, Schell v. City of Los Angeles LASC 98K12843, Slape v City of
27   Los Angeles CV 00-1286JFW(RNBx); Stone v. City of Los Angeles 89-0385KN(Tx); Villalobos v. City of Los Angeles
     CV96-0470 ER(Ex), Willis v. City of Los Angeles CV 97-5836-NM(MCx).
28                                                              51
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 52 of 141 Page ID #:441



1    frivolous objection on this score because it fails to meet these prerequisites on
2    every level. Most significantly, Hun does not aver he has personally inspected
3
     any of the sought-after materials. He speculates, rambles and makes
4
     prognostications entirely without basis in fact and merely extrapolating from
5
     attorney objections asserted. Indeed, he admits that he is making his averments
6
     under information and belief which is insufficient for evidentiary purposes as a
7
     matter of federal and California law. Lewis v. Superior Court of Los Angeles
8
     Cnty., 118 Cal. App. 2d 770, 773 (1953) (holding effort by union to preclude
9
     discovery based on information and belief declarations were incompetent and trial
10
     court correctly denied union relief); Bank Melli Iran v. Pahlavi, 58 F.3d 1406,
11
     1412-13 (9th Cir. 1995)(“Courts that find declarations insufficient because they
12

13
     are based on information and belief, however, generally do so because such

14
     declarations bear no indicia of personal knowledge.”)

15         By way of example, Hun makes the conclusory statement that disclosure of
16   this type [unspecified confidential information] would have a harmful effect on the
17   personnel and privacy interest of the individual officers, as well as those
18   individuals who brought the complaints, if any against the officers; that if this
19   discovery were allowed, it would undermine the basis for obtaining confidential
20   compelled statements and that would chill officers from being forthcoming. None
21   of these assertions have legal support. Essentially Hun states that if plaintiff’s
22   discovery were permitted, officers might not want to be quite so forthright or
23   cooperative in the future, knowing their statements could be used to impeach
24
     them at civil trials and that the release of this information to the plaintiff would
25
     somehow debilitate the internal investigation process. This argument was lost
26
     long ago:
27

28                                              52
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 53 of 141 Page ID #:442



1        First, they contend that in this case the material at issue should be protected
2        by executive privilege because disclosure of the information would
3
         frustrate the public policy served by the activities of the internal affairs
4
         section. They claim that the court's requirement that the documents at issue
5
         be released to plaintiffs in § 1983 actions will chill intradepartmental
6
         investigations because police officers will not be candid in their individual
7
         reports or in the narrative report made at the end of the investigation.
8
         If defendants are saying that police officers are more likely to be untruthful
9
         if they know potential plaintiffs might receive their reports than they
10
         ordinarily are when they are faced with possible departmental disciplinary
11
         action, the court does not accept their argument. The court recognizes that
12

13
         police department self-evaluation and remedial action do serve an important

14
         public policy, but such policy will not be hindered by the disclosure

15       ordered here. On the contrary, limited disclosure can only further this
16       policy. These investigations are conducted, at taxpayer expense, to
17       determine whether the procedures of the department or individual police
18       officers were responsible for the complained-of incident, and whether
19       disciplinary or other remedial action is necessary to prevent the recurrence
20       of similar incidents. No legitimate purpose is served by conducting the
21       investigations under a veil of near-total secrecy.
22       Rather, knowledge that a limited number of persons, as well as a state or
23       federal court, may examine the file in the event of civil litigation may serve
24
         to insure that these investigations are carried out in an even-handed fashion,
25
         that the statements are carefully and accurately taken, and that the true facts
26
         come to light, whether they reflect favorably or unfavorably on the
27

28                                           53
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 54 of 141 Page ID #:443



1            individual police officers involved or on the department as a whole. The
2            claim of executive privilege is therefore rejected.
3
             Mercy v. Suffolk Cnty., 93 F.R.D. 520, 521 -522 (D.C.N.Y. 1982).
4

5
             Nothing Hun has to say in any legitimate manner covers the bases required
6
     to uphold a federal official information privilege.
7
             Hun’s assertions that the sky will fall if plaintiff is allowed the evidence she
8
     needs to prove her claims at trial amounts to inverted nonsense. The point Hun
9
     fails to make is that disclosure of officer personnel investigations would harm a
10
     legitimate interest, not that the City gets a black eye in court. Contrary to Hun’s
11
     assertion that the department’s internal investigations are a useful and necessary
12

13
     tool for the Department to utilize in monitoring its officers, Plaintiff’s and

14
     Plaintiff’s counsel’s experience with such matters proves the internal investigations

15   are window dressing and the department refuses to discipline or prosecute
16   deserving miscreant officers in the vast majority of misconduct cases. In this
17   highly publicized case, even after the Police Commission ruled in December
18   that the final two shots by McBride were out of policy, the City has failed to
19   discipline McBride, nor has expressed any intention to do so in the future. See
20   Police Commission: Toni McBride Violated Policy | Los Angeleno; LAPD officer broke policy with final two shots
     that killed 38-year-old, Police Commission rules | KTLA; L.A. Police Commission rules officer broke policy with
21
     final two shots in Hernandez killing - Los Angeles Times (latimes.com); Police Commission: LAPD Shooting of
22
     Daniel Hernandez Partially Out Of Policy: LAist.   In the end, Hun’s prognostication that all
23
     manner of horrible results will happen if the Plaintiff were to receive their
24
     discovery – even under the protective order Plaintiff stipulated to at the outset –
25
     provides no factual support. Significant numbers of the LAPD (and other
26
     agencies) civil rights lawsuits have passed through the courts on a regular basis
27
     in which this kind of discovery is routine. No untoward evils have befallen the
28                                                          54
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 55 of 141 Page ID #:444



1    City or the LAPD, its management or rank and file, because of discovery in
2    civil litigation. If the department’s internal investigation goals were as
3
     honorable as LAPD suggests, the LAPD Internal Affairs would not have
4
     exonerated this Defendant for unlawful shooting of Plaintiff’s decedent after
5
     whitewashing the officer’s actions that were apparent from the multiple gunshot
6
     wounds that Plaintiff’s decedent died from. Hun’s failures necessarily waive the
7
     official information privilege. Fed R. Civ. P. 26(b)(5); Advisory Committee
8
     Notes to the 1993 Amendments of Rule 26(b)(5), 146 F.R.D. 639.
9
           Moreover, the federal official information privilege is not absolute.
10
     Plaintiff’s need for the discovery is weighed against the privilege and yields when
11
     plaintiff’s interests outweigh the privilege. In Sanchez v. City of Santa Ana, 936
12

13
     F.2d 1027, 1033 (9th Cir. 1990), the court characterized privacy rights in police

14
     personnel files as “official information,” and held they were not immune from

15   discovery. Rather, such materials are discoverable upon a showing of need and
16   relevance. “In order to determine whether personnel files sought are privileged,
17   courts must weigh potential benefits of disclosure against potential
18   disadvantages; if the latter is greater, the official information privilege may bar
19   discovery.” Id., at 1033-34. “Such balancing should be conducted on a case by
20   case basis, determining what weight each relevant consideration deserves in the
21   fact-specific situation that is before the Court. This balancing test has been
22   moderately pre-weighed in favor of disclosure.” Miller, 141 F.R.D. at 300.
23   Therefore, even if the subject files qualify as “official information” they are
24
     nonetheless discoverable because of their highly probative evidentiary value and
25
     subject matter relevance. Hampton v. City of San Diego, 147 F.R.D. 227 (S.D.
26
     Cal. 1993) ; Chism, at 159 F.R.D. 531.
27

28                                              55
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 56 of 141 Page ID #:445



1          The defense assertion of “official information” raises two issues. First,
2    when a recognized privilege of any kind is asserted, the burden is on that party to
3
     demonstrate with specificity that the sought-after discovery is in fact covered by
4
     the privilege. A shotgun objection is improper. “Should the threshold requirements
5
     not appear in the papers, the privilege assertion will be overruled in its entirety
6
     and complete disclosure will be ordered.” Miller, at 141 F.R.D. 301. It is not
7
     enough to surmise the sought-after records “may seek [privileged] information” to
8
     sustain the burden or the privilege, if one actually exists. Blankenship v. Hearst
9
     Corp., 519 F.2d 418, 429 (9th Cir. 1975) (parties opposing discovery are required
10
     to carry a heavy burden of showing why discovery should be denied.) Second,
11
     even if established, the privilege can be overcome because it is a qualified
12

13
     privilege; that is, "[a] litigant may obtain deliberative materials [or information] if

14
     his or her need for the materials [or information] and the need for accurate fact-

15   finding override the government's interest in non-disclosure." North Pacifica, LLC
16   v. City of Pacifica, 274 F.Supp.2d 1118, 1122 (N.D.Cal.,2003) (quoting F.T.C. v.
17   Warner Communications, Inc., 742 F.2d 1156, 1161 (C.A.Cal.,1984).
18         The Federal Rules of Evidence do not recognize privileges against
19   disclosure of police personnel or police investigative records. “Under federal law,
20   there is no privilege for [police] personnel files.” Horizon of Hope Ministry v.
21   Clark Cnty., Ohio, 115 F.R.D. 1, 6 (S.D. Ohio 1986); Spell v. McDaniel, 591
22   F.Supp. 1090, 1119 (E.D.N.C. 1984) (no privilege for police investigative files
23   excepting those related to ongoing investigations). These records are essential to
24
     support plaintiff’s challenge to the LAPD custom and practice of ignoring and
25
     whitewashing officer wrongdoing. The same records contain evidence ordinarily
26
     admissible against the individual officer defendants under FRE Rules 405,
27
     404(b) and 608. See Miller, at 141 F.R.D. 292 or Chism at 159 F.R.D. 531,
28                                              56
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 57 of 141 Page ID #:446



1    Sanchez at 936 F.2d 1033-34, cert. den’d. 502 U.S. 957, 112 S. Ct. 417 (1991);
2    Kerr v. United States Dist. Court. for N.D. Cal., 426 U.S. 394, 96 S. Ct. 2119
3
     (1976); United States v. Reynolds, 345 U.S. 1, 73 S. Ct. 528 (1953); Soto v. City of
4
     Concord, 162 F.R.D. 603, 612 (N.D. Cal. 1995).
5
           Similarly, the law enforcement investigatory privilege is based on the harm
6
     to law enforcement efforts which might arise from public disclosure of
7
     investigatory files. United States v. Winner, 641 F.2d 825, 831 (10th Cir. 1981).
8
     The party claiming the privilege has the burden to establish its existence. Friedman
9
     v. Bache Halsey Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C. Cir. 1984). In
10
     order to assert the law enforcement investigatory privilege, certain elements must
11
     be met: (1) a formal claim of privilege by the head of the department with control
12

13
     over the requested information; (2) the assertion of the privilege must be based on

14
     personal consideration by that official; and (3) the information for which the

15   privilege is claimed must be specified with an explanation as to why it falls within
16   the scope of the privilege. U.S. ex rel Burroughs v. DeNardi Corp., 167 F.R.D.
17   680, 687 (S.D. Cal. 1996); see also Torres v. Goddard, No. CV 06–2482–PHX–
18   SMM, 2010 WL 3023272, at *8 (D. Ariz. July 30, 2010) (finding party opposing
19   disclosure failed to satisfy burden to show law enforcement investigatory privilege
20   did not prevent discovery of materials discussing “police operational strategies,
21   undercover programs, and targets of criminal investigations”). See Nehad v.
22   Browder, No. 15–CV–1386 WQH NLS, 2016 WL 2745411, at *4 (S.D. Cal. May
23   10, 2016), reconsideration denied, No. 15–CV–1386 WQH NLS, 2016 WL
24
     3769807 (S.D. Cal. July 15, 2016); see also Kelly, 114 F.R.D. at 662 (“[I]t is
25
     important to emphasize that in many situations what would pose the threat to law
26
     enforcement interests is disclosure to the public generally, not simply to an
27
     individual litigant and/or her lawyer.”) Therefore, “defendants cannot meet their
28                                             57
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 58 of 141 Page ID #:447



1    burden simply by asserting, without empirical support, that officers will refuse to
2    cooperate with Internal Affairs investigations if their statements are subject to even
3
     limited disclosure.” Kelly, 114 F.R.D. at 672 (emphasis in original).
4
     See also Conan v. City of Fontana, No. EDCV 16-1261-KK, 2017 WL 2874623, at
5
     *3–5 (C.D. Cal. July 5, 2017)
6

7

8       2.          Self Critical Analysis
9
             Defendants’ objections on this ground are incomprehensible. Self critical
10
     analysis is not a privilege recognized in the 9th Circuit or in California.
11

12
             UP's assertion of a self-critical analysis privilege is particularly

13           questionable. This court has not recognized this novel privilege. See,
14           e.g., Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423, 425-
15           26 (9th Cir.1992). Nor were we able to discover any Oregon case law
16           adopting, or even discussing, this supposed privilege. Cf. Cloud v.
17           Superior Court (Litton), 50 Cal.App.4th 1552, 1558-60, 58
18           Cal.Rptr.2d 365 (Cal.Ct.App.1996) (concluding that California law
19           does not recognize the self-critical analysis privilege).
20           Union Pacific R. Co. v. Mower, 219 F.3d 1069, 1076 (C.A.9 (Or.),
21           2000
22
             In Price v. County of San Diego, 165 F.R.D. 614, (S.D. Cal. 1996), the
23
     court undertook an exhaustive survey of the Ninth Circuit's authorities
24
     and concluded the privilege is not recognized in this circuit. It specifically
25
     noted that in Soto v. City of Concord, 162 F.R.D. 603, 611 (N.D. Cal
26
     1995), "the court declined to apply self critical analysis privilege to shield
27
     discovery of internal affairs investigatory documents and witness
28                                               58
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 59 of 141 Page ID #:448



1    statements, finding no reason to believe that shielding the investigatory
2    process from the public would lead to any increased candor by subject
3
     officers." Id., at p. 619.
4

5

6           3. Federal Deliberative Process Privilege
7
            "Where the decision-making process itself is the subject of the litigation, the
8
     deliberative privilege may not be raised as a bar against disclosure of critical
9
     information." Burka v. New York City Transit Authority, 110 F.R.D. 660, 667
10

11
     (S.D.N.Y. 1986) (case in which plaintiffs challenged transit authority policy

12   regarding drug testing of employee and applicants) citing Gray v. Board of Higher
13   Education, 692 F.2d 901, 906 (2d Cir. 1982) and Memorial Hospital v. Shadur,
14   664 F.2d 1058, 1062-63 (7th Cir. 1981).
15          Kelly, supra, states that the deliberative process privilege is the same as the
16   self-critical analysis privilege, and such privilege should not offer any protection
17   for the kinds of information generated by police departments. Id. at 656, 659.
18   Other district courts have also held the self-critical analysis privilege does not
19   apply. Skibo v. City of New York, 109 F.R.D. 58 (E.D.N.Y. 1985).
20          The deliberative process privilege is qualified. A litigant may obtain
21
     deliberative materials if his or her need for the materials and the need for accurate
22
     fact-finding override the government's interest in non-disclosure. See United
23
     States v. Leggett & Platt, Inc., 542 F.2d 655, 658 (6th Cir.1976), cert. denied, 430
24
     U.S. 945, 97 S.Ct. 1579, 51 L.Ed.2d 792 (1977); United States v. American
25
     Telephone and Telegraph Co., 524 F.Supp. 1381, 1386 n. 14 (D.D.C.1981).
26
     Among the factors to be considered in making this determination are: 1) the
27
     relevance of the evidence; 2) the availability of other evidence; 3) the
28                                              59
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 60 of 141 Page ID #:449



1    government's role in the litigation; and 4) the extent to which disclosure would
2    hinder frank and independent discussion regarding contemplated policies and
3
     decisions. See, e.g., Carl Zeiss Stiftung v. V.E.B. Carl Zeiss, Jena, 40 F.R.D. 318,
4
     327-329 (D.D.C.1966), aff'd, 384 F.2d 979 (D.C.Cir.), cert. denied, 389 U.S. 952,
5
     88 S.Ct. 334, 19 L.Ed.2d 361 (1967); In re Franklin National Bank Securities
6
     Litigation, 478 F.Supp. 577, 583 (E.D.N.Y.1979); 2 J. Weinstein & M. Berger,
7
     Weinstein's Evidence ¶ 509[07] at 46-47 (1982). F.T.C. v. Warner
8
     Communications Inc. 742 F.2d 1156, 1161 (C.A.Cal.,1984)
9
           Plaintiff’s discovery demands are far outweighed by her need than the
10
     dubious and ambiguous interests Hun employs. Nothing in Hun’s Decl.
11
     addresses any of these concerns and for that reason, fails to adequately meet the
12

13
     City’s burden of establishing the privilege applies to any of the documents these

14
     requests identify.

15         The burden of establishing application of the privilege is on the party
16
     asserting it. See Newport Pac., Inc. v. County of San Diego, 200 F.R.D. 628,
17
     636 (2001). Even if established, the privilege is “strictly confined within the
18
     narrowest possible limits consistent with the logic of its principles.”
19
     Sanchez v. Johnson, 2001 WL1870308, at *6 (internal quotation marks
20
     omitted). Moreover, even if established, the privilege can be overcome
21
     because it is a qualified privilege; that is, “[a] litigant may obtain
22
     deliberative materials [or information] if his or her need for the materials
23
     [or information] and the need for accurate fact-finding override the
24
     government's interest in non-disclosure.” F.T.C., 742 F.2d at 1161; North
25

26
     Pacifica, LLC v. City of Pacifica, 274 F.Supp.2d 1118, 1122 (N.D.Cal.,2003)

27

28                                              60
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 61 of 141 Page ID #:450



1              The evidence sought is clearly necessary and relevant to the subject
2    matter of this litigation, cannot be obtained elsewhere, the government is the
3
     defendant in this litigation and its decision making process is called into question
4
     by this lawsuit, thereby reducing its entitlement to secrecy and the materials will
5
     become the proof that there is no frank or independent discussion when it
6
     comes to excessive force, OIS incidents, dishonest behavior and perjured
7
     testimony that actually takes place within the framework of LAPD IA
8
     investigations.
9

10
               4. Officer’s Federal Right of Privacy and Third-Party Privacy Rights
11
               Federal law recognizes a right of privacy. Sanchez, 936 F.2d at 1033-34,
12

13
     cert. den’d. 502 U.S. 957, 112 S. Ct. 417 (1991); Kerr, 426 U.S. at 394. The

14
     privilege is not absolute and invariably falls away when there is subject matter

15   relevance-as it is here. Lissner v. U.S. Customs, 241 F.3d 1220 (9th Cir. 2001)
16   states:
17             On the other side of the scale, the privacy interests of McColgan and Charles
18             are not strong in this case. They are not ordinary citizens; they are public law
19             enforcement officers. It is true that individuals do not waive all privacy
20             interests in information relating to them simply by taking an oath of public
21             office, Nix v. United States, 572 F.2d 998, 1006 (9th Cir. 1978), but by
22             becoming public officials, their privacy interests are somewhat reduced. See
23             Lesar v. Unites States Dep’t of Justice, 204 U.S. App. D.C. 200, 636 F.2s
24
               472, 487 (D.C. Cir. 1980). (In their capacity as public officials FBI agents
25
               may not have a great a claim to privacy as that afforded ordinarily to public
26
               citizens, but the agent by virtue of his official status does not forego
27
               altogether any privacy claim in matters related to official business.”) We
28                                                 61
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 62 of 141 Page ID #:451



1          intimated as much in Dobronski v. Fed. Communications Comm’n, 17 F.3d
2          275, 279 (9th Cir. 1994), where we recognized that a government
3
           employee’s privacy interests may be diminished to the extent it might
4
           disclose ‘official misconduct.” Id., p.1223.
5

6
           While privacy rights have a legitimate place in litigation, it is axiomatic that
7
     an individual's privacy rights are not paramount to the search of truth in litigation.
8
     "The constitutional provision does not prohibit all incursions into individual
9
     privacy, but provides that any such intervention must be justified by a compelling
10
     interest." Alarcon v. Murphy, 201 Cal.App.3d 1, 5 (1988). "The constitutional
11
     right [of privacy] is by no means absolute. The state's interest in facilitating the
12

13
     ascertainment of truth in connection with legal proceedings is substantial enough

14
     to compel disclosure of a great variety of confidential materials . . .," County of

15   Alameda v. Superior Court, 194 Cal.App.3d 254, 260 (1987).
16         El Dorado Savings & Loan Association v. Superior Court, 190
17   Cal.App.3d, 342 (1987) holds the California constitutional right to privacy is
18   not absolute, and will yield to the compelling state interest of facilitating the
19   ascertainment of truth in connection with legal proceedings. See also Moskowitz
20   v. Superior Court, 137 Cal.App.3d 313, 316 (1982).
21         It is well established that no one's privacy rights are paramount to the search
22   of truth in litigation under federal or California law, even if it implicates third
23   persons privacy. Burke v. New York City Police Department, 115 F.R.D. 220, 225,
24
     228-29 (S.D.N.Y. 1987) allowed plaintiff discovery of thousands of internal
25
     investigation files spanning more than 5 years so as to develop and support the
26
     plaintiff's Monell claim. This necessarily meant third parties who had been
27
     victimized by the department would be disclosed to the plaintiffs. Police abuse
28                                              62
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 63 of 141 Page ID #:452



1    victims typically do not want the department or its officers to hide behind their
2    privacy rights. Such persons are more than likely to go to the press or vice versa.
3
           Likewise, disclosure of the materials requested here will undoubtedly contain
4
     the names of non-party officers but that too is not sufficient to deny disclosure.
5
           Request No. 6 and 9 ask for the personnel files and internal affairs
6
           histories of the non-party officers at the scene. Such documents may be
7
           relevant to plaintiff's claims against the City as it relates to its policies of
8
           hiring, training supervision and control. In addition, such information may be
9
           relevant to the non-party officers’ credibility and their willingness to
10
           intercede during instances of alleged improper conduct of fellow officers.
11
           Hampton v. City of San Diego, 147 F.R.D. 227, 229 (S.D. Cal. 1993).
12

13

14
           “The constitutional right of privacy is not absolute and must therefore be

15   balanced against other important interests. Not every act which has some impact on
16   personal privacy invokes the protections of our Constitution. A court should not
17   play the trump card of unconstitutionality to protect absolutely every assertion of
18   individual privacy. The diverse and somewhat amorphous character of the privacy
19   right necessarily requires that privacy interests be specifically identified and
20   carefully compared with competing interests in a balancing test. The comparison
21   and balancing of diverse interests is central to the privacy jurisprudence of both
22   common and constitutional law. Invasion of a privacy interest is not a violation
23   of the state constitutional right to privacy if the invasion is justified by a competing
24
     interest. Legitimate interests derive from the legally authorized and socially
25
     beneficial activities of government and private entities. Their relative
26
     importance is determined by their proximity to the central functions of a
27
     particular public or private enterprise. Conduct alleged to be an invasion of
28                                               63
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 64 of 141 Page ID #:453



1    privacy is to be evaluated based on the extent to which it furthers legitimate and
2    important competing interests. . .. The state has an interest in seeking the truth
3
     in court proceedings.” Johnson v. Superior Court, 80 Cal.App.4 1050 (2000)
4
     (internal quotations and brackets omitted). See also Jones v. Jennings, 788 P.2d
5
     732 (1990) [Alaska Supreme Court held state constitutional right of privacy did not
6
     bar discovery of peace officer complaint investigations to §1983 plaintiff.]
7

8
                      5. California Peace Officer Personnel Records Privilege
9
             The belated assertion of state law privileges in the Privilege Log and the
10
     Hun Decl. amounts to an assertion of a waived privilege. Even if the privileges
11
     applied, they have no application to this case. “[I]n a federal civil rights action,
12

13
     federal law applies to the determination of what evidence is privileged and

14
     discoverable." (citations omitted.) Horizon of Hope Ministry v. Clark County,

15   Ohio, 115 F.R.D. 1, 6 (S.D. Ohio 1986). “State privilege doctrine, whether derived
16   from statutes or court decisions, is not binding on federal courts in these kinds
17   [§1983 police misconduct] of cases.” Kelly v. San Jose, 114 F.R.D. 653, at 656
18   (N.D. Cal. 1987). According to Garrett v. City and County of San Francisco, 818
19   F.2d 1515, 1519 fn. 6 (9th Cir. 1987), "this theme has been interpreted by the
20   Ninth Circuit to include the discovery of personnel files, despite claims of state-
21   created privileges." Miller v. Pancucci, 141 F.R.D. 292, 297, 299 (C.D. Cal.
22   1992)
23       “Federal law governs the parties' dispute. Despite defendant's repeated
24
     assertions to the contrary, the law of California, the forum state, does not inform
25
     federal privilege law.” "The state privilege does not govern these proceedings."
26
     Jackson v. County of Sacramento, 175 F.R.D. 653, 654-655 (E.D. Cal. 1997)
27
     (citations omitted.)
28                                              64
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 65 of 141 Page ID #:454



1          Applying California law would result in Plaintiff's access to police
2          files being severely limited. As the California rules for discovery and
3
           privileges are fundamentally inconsistent with those of the federal
4
           rules, federal law, especially as delineated in Kerr, Kelly, and
5
           Youngblood, supra, will be followed. Martinez v. City of Stockton,
6
           132 F.R.D. 677 (E.D. Cal.1990), to the extent that it applies
7
           California law, will not be followed. Federal agencies involved in
8
           lawsuits in this Court are expected to follow federal law. No good
9
           reason exists by state actors in a federal question case should be
10
           accorded preferential treatment in asserting privileges, merely
11
           because the California legislature has chosen to enact a statute
12

13
           making it more difficult for plaintiffs to obtain police personnel files

14
           in state cases.

15         Miller v. Pancucci, supra at 299.
16         Gov. Code Section 6254 is a part of the California Public Records Act
17   (CPRA), the analog to FOIA in the federal system. Preliminarily, the defect in this
18   claim of privilege is that it is based on California law. "The claim of privilege
19   under California law is based upon California Evidence Code § 1040 and
20   Government Code §§ 6250- 6260 and 6254(f) (Supp. 1974). However, the civil
21   rights action was instituted in federal court under federal statutes, 42 U.S.C. §
22   1983, which was enacted particularly to vindicate federal rights against deprivation
23   by state actions." Kerr v. United States Dist. Court for Northern Dist., 511 F.2d
24
     192, 197 (9th Cir., 1975). State courts entertaining federal causes of action must
25
     look to federal law to resolve issues of substantive law involving section 1983
26
     claims, including privileges and immunities. (Green v. Zank (1984) 158
27
     Cal.App.3d 497, 503); Graham v. City of Biggs, (1979) 96 Cal.App.3d 250, 255-
28                                             65
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 66 of 141 Page ID #:455



1    256 ("While it may be completely appropriate for California to condition rights
2    which grow out of local law and which are related to waivers of the sovereign
3
     immunity of the state, and its public entities, California may not impair federally
4
     created rights or impose conditions on them." ).
5
           Even if section 6254 were construed to shield the defendants from the
6
     discovery requested, (which it would not) that conclusion could not provide the
7
     rule of decision. "It is clear that the California immunity statute does not control
8
     this claim even though the federal cause of action is being asserted in the state
9
     courts." Martinez v. State of California, 444 U.S. 277, 284 (1980). "Conduct by
10
     persons acting under color of state law which is wrongful under 42 U.S.C. § 1983
11
     or §1985(3) cannot be immunized by state law. A construction of the federal
12

13
     statute which permitted a state immunity defense to have controlling effect would

14
     transmute a basic guarantee into an illusory promise; and the Supremacy Clause

15   of the Constitution insures that the proper construction may be enforced…The
16   immunity claim raises a question of federal law." Hampton v. Chicago, 484 F.2d
17   602, 606 (7th Cir. 1973). 8. It matters not that the state immunity arises from the
18   refusal to disclose the evidence plaintiff needs to make out his federal claims any
19   more than a statutory immunity declaring the defendants free of liability, because
20   the result is the same, California’s CPRA does not provide defendants an escape
21   from plaintiff’s discovery.
22         The California Supreme Court has recognized as much: "state enactments
23   may not be applied in a manner so as to significantly vary or determine the result
24
     of the litigation." Davee v. Southern Pacific Company, 58 Cal.2d 572, 574 (1962)
25
     (citing Chicago, M. & St. P. Ry. v. Coogan, 271 U.S. 472, 70 L.Ed 1041, 46 S.Ct.
26
     564 (1926) the Court observed "The kind and amount of evidence required to
27
     establish it [employer liability] is not subject to the control of the several states."
28                                               66
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 67 of 141 Page ID #:456



1    Id., 576. Accordingly, where a § 1983 litigant requires official information to
2    establish liability under federal law, California Evidence Code and case law
3
     upholding the privilege is preempted and must yield.
4
           Furthermore, where the application of a state rule of evidence supports a
5
     defense which conflicts with federal law, the state rule cannot be applied. Morse v.
6
     Southern Pacific Transportation Co., 63 Cal.App.3d 128 (1976):
7
           "Manifestly the federal rights affording relief to injured railroad employees
8
     under a federally declared standard could be defeated if states were permitted to
9
     have the final say as to what defenses could and could not be properly interposed
10
     to suits under the Act. Moreover, only if federal law controls can the Federal Act
11
     be given that uniform application throughout the country essential to effectuate its
12

13
     purposes." Id., at 136

14

15

16          6.     California Evidence Code section 1040 “Official Information
17                 Privilege”
18

19         Evidence Code section 1040 creates a privilege for official information
20   acquired in confidence if “[d]isclosure of the information is against the public
21   interest because there is a necessity for preserving the confidentiality of the
22   information that outweighs the necessity for disclosure in the interest of
23   justice....” (Evid.Code, § 1040, subd. (b)(2).) This privilege must be “applied
24
     conditionally on a clear showing that disclosure is against the public's interest.”
25
     San Gabriel Tribune v. Superior Court, 143 Cal.App.3d 762, 777 (1983).
26

27

28                                             67
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 68 of 141 Page ID #:457



1          We do not believe that §1040 is intended to provide a shield behind
2          which law enforcement personnel may seek refuge for possible
3
           wrongdoings. It seems reasonable that law enforcement officers are
4
           obligated to reveal the true and complete facts of any investigation to
5
           those responsible without any special immunity. Gill v. Manuel,
6
           488 F.2d 799, 803 (9th Cir. 1973) [italics in original.]
7

8           7.     Subsequent remedial measures
9

10         This objection is not properly inserted in discovery. It is a trial admissibility
11   objection under FRE 407 and is sanctionable misconduct by the City to insert it in
12   their faulty privilege log without citation to authority in their formal responses.
13

14          8.     Objections: overbroad, vague and ambiguous, may not be in
15                 possession of Defendants, oppressive and burdensome, not
16                 reasonably likely to lead to admissible evidence
17

18         All grounds for objections must be stated with specificity. Ramirez v.
19   County of Los Angeles, 231 F.R.D.407,409 (C.D. Cal. 2005). See, Davis v.
20   Fendler, 650 F.2d. 1154, 1160 (9th Cir., 1981). A “general objection, including
21   overly broad, burdensome or oppressive, will not alone constitute a successful
22   objection to an interrogatory, nor will the objection fulfill the objecting party’s
23
     burden to explain its objections.” Id. (Internal citation omitted) Because of the
24
     above-referenced shortcomings of the Hun’s Dec., the expressed objections on
25
     overbreadth, burdensome/oppressive or irrelevant and not reasonably calculated
26
     to lead to admissible evidence are similarly meritless. It is not for Plaintiff now to
27
     prove relevancy of these documents, but for the custodian to provide a valid
28                                             68
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 69 of 141 Page ID #:458



1    declaration that the records are overbroad or burdensome to access. For starters,
2    federal rules permit broad discovery even with the advent of a proportionality
3
     factor. Even if discovery may not lead to admissible evidence, it is subject to
4
     disclosure. Fed. R. Civ. P. Rule 26 (b)(1) has been recently amended to cover
5
     “[A]ny nonprivileged matter that is relevant to any party's claim or defense and
6
     proportional to the needs of the case, considering the importance of the issues at
7
     stake in the action, the amount in controversy, the parties' relative access to
8
     relevant information, the parties' resources, the importance of the discovery in
9
     resolving the issues, and whether the burden or expense of the proposed discovery
10
     outweighs its likely benefit. Information within this scope of discovery need not
11
     be admissible in evidence to be discoverable.”
12

13
            Any objection on vagueness and overbreadth should have been withdrawn

14
     after the detailed Rule 37 meet and confer invitation by Plaintiff followed by the

15   tele-conference on March 26 where Plaintiff’s counsel offered to explain more
16   what Plaintiff seeks in each demand and why it is relevant. See Exhibit E. Due to
17   the defense counsel dismissive attitude and refusal to have a meaningful discussion
18   at that conference, none of these issues were discussed or resolved. The City
19   attorney refused to explain why she is not withdrawing her objections to RFPs
20   related solely to Plaintiff’s incident and agreeing to produce them with a Protective
21   Order. Given the high profile nature of this case, many of these records, including
22   the body cam footage of the incident should not be subject to the Protective Order
23   in the first place, because the City has released them publicly, in a community
24
     briefing. (1) Newton Division OIS - 4/22/20 (NRF014-20) - YouTube The City cannot establish
25
     good cause why these video files should be produced to Plaintiffs subject to a
26
     Protective Order. See In re Roman Catholic Archbishop, 661 F.3d 417, 424 (9th
27
     Cir. 2011) In multiple civil rights cases, the City of Los Angeles has been
28                                                  69
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 70 of 141 Page ID #:459



1    compelled to produce body cam footage of the incident in their possession without
2    a Protective Order. This case is no exception. See Chinaryan v. City of Los
3
     Angeles, No. CV19-9302, 2020 U.S. Dist. LEXIS 14785, *3, (C.D. Cal. June 11,
4
     2020), Dominguez v. City of Los Angeles, No. CV174557 DMG, 2018 WL
5
     6333661, at *3 (C.D. Cal. Apr. 23, 2018). See also Lee v. City of San Diego, 2019
6
     WL 117775, at *3 (S. D. Cal. Jan. 7, 2019) (refusing defendants’ request to seal
7
     police body cam videos in a civil rights action where defendants “fail to provide
8
     any support as to how videos of an arrest made on a crowded sidewalk contain
9
     information that if disclosed to the public could harm or violate anyone’s rights”);
10
     Lallemand v. County of Los Angeles, 2018 WL6136814, at *8 (C.D. Cal. Jan 12,
11
     2018) (refusing protective order for law enforcement video in a civil rights action
12

13
     where the video depicted an encounter between the plaintiff and defendant sheriff’s

14
     deputies in full view of the public and defendants were “unable to identify a

15   specific, credible, non-speculative harm that would result if the video were
16   released to the public”).
17         RFPs 29-32, 35-36, 43 relate to the personnel files of McBride, that are
18   considered confidential, were agreed to be accepted with a Protective Order and
19   are subject to disclosure upon the need. In this case McBride as the shooter of
20   Daniel Hernandez is the main defendant in the case and her comprehensive
21   background history with the Department is clearly relevant to this suit. Relevant
22   documents within her personnel file are background investigations including the
23   personal history statement in the application for hire, prior employment history, the
24
     interview and the polygraph tests. The complete background file is relevant to
25
     prove if the City conducted the legally required background investigations under
26
     Gov. C. Sec. 1031(d) and if not, it is actionable under Monell. Within the file are
27
     also included any sustained/unsustained personnel/administrative complaint
28                                            70
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 71 of 141 Page ID #:460



1    history, use of force history (not the actual reports), performance evaluations,
2    training records, presence of any tort claims/civil lawsuits against her as a peace
3
     officer. Because at the IDC the magistrate has declined to order unsustained use of
4
     force reports involving McBride, it is important to note, there is evidence that the
5
     vast majority of use of force or personnel complaints are NOT sustained precisely
6
     because of the Department’s failure to investigate and turning of a blind eye
7
     towards abuse by their officers, as alleged in this case under Monell by Plaintiff. In
8
     this case, McBride’s use of force against Daniel Hernandez was found within
9
     policy despite the Police Commission’s findings that the final two shots were out
10
     of policy. Declaration of Counsel. Therefore, Plaintiff needs both
11
     sustained/unsustained investigations into use of force and personnel complaints to
12

13
     prove her Monell liability against the City. These documents are widely

14
     discoverable in federal courts. For more see below. Furthermore, regardless of the

15   findings of the investigation that do not reflect accurately on the propriety of use of
16   force/complaints, these reports are still relevant to Plaintiff to track down
17   witnesses, prior victims of officer’s use of force and other misconduct to attack
18   that officer’s credibility. Limiting Plaintiff’s access only to sustained
19   complaints/incidents, is depriving Plaintiff of 99% of the evidence to prove her
20   claims. See Consolidated Complaint. Declaration of Counsel. Even in more
21   restrictive state courts, this type of evidence is routinely ordered for production in
22   cases such as this:
23         Nor does the fact that the previous charges against the officers were not
24
           substantiated render them irrelevant for purposes of discovery. As to the two
25
           charges which were ‘not sustained’, there were no witnesses to the event
26
           other than the complaining citizen and the officer. The department
27
           concluded that it could not fully resolve the issue on the basis of such
28                                              71
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 72 of 141 Page ID #:461



1          evidence. Surely we cannot say that an interview **330 with these
2          complainants would be irrelevant to preparation of petitioner's defense. As
3
           to the charge of which Brogelman was exonerated, there were three civilian
4
           witnesses to that incident who contradicted the citizen who lodged the
5
           complaint. Presumably they will give petitioner's counsel the same version
6
           they told police investigators. If they do, counsel will undoubtedly choose
7
           not to use their testimony. 1. 9 The fact remains that under our constitutional
8
           system the burden for preparing a criminal defendant's case rests with his
9
           counsel, not with the police department. That burden cannot be properly
10
           discharged unless counsel has direct access to potential witnesses, for it is
11
           counsel who must decide if they can aid his client, not the police
12

13
           department's internal affairs division, however sincere and well motivated

14
           the latter may be. *830 Chronicle Pub. Co. v. Superior Court, 54 Cal.2d 548,

15         7 Cal.Rptr. 109, 354 P.2d 637, cited to us for the proposition that
16         unsubstantiated complaints are not discoverable, is inapplicable to the
17         instant matter. In the first place, Chronicle Pub. Co. involved a civil, rather
18         than a criminal matter. In the second place, the privilege there was claimed
19         by a non-party to the dispute. Most important, however, is that fact that
20         Chronicle Pub. Co. antedated adoption of the Evidence Code.
21         Kelvin L. v. Superior Court (1976) 62 Cal.App.3d 823, 829–830 [133
22         Cal.Rptr. 325, 329–330]
23         Similarity of the claims is also not required for production of prior use of
24
     force reports:
25
           The true test of the probative value of evidence of this sort is not the degree
26
           of similarity between the two incidents but the extent to which the offered
27

28                                             72
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 73 of 141 Page ID #:462



1          evidence tends to show the officer has used excessive force on another
2          occasion.
3
           People v. Castain, 122 Cal. App. 3d 138, 142–43, 175 Cal. Rptr. 651 (Ct.
4
     App. 1981)
5
           It should also be made clear that use of force and prior arrest reports that are
6
     not part of the personnel file of the officer are more relevant and critical than
7
     personnel complaints, because there is evidence the City fails to take and
8
     investigate citizen complaints. Thus the personnel complaint history of an officer is
9
     not the real picture of that officer’s character for truthfulness and history of
10
     violence/abuse. Further, even when a personnel complaint is not related to use of
11
     force, it can be relevant to Plaintiff’s claims because it can be used to attack
12

13
     officer’s credibility through prior complainants who can opine that the officer is

14
     not trustworthy. This is permissible opinion evidence under FRE 701, 405, 608(b).

15         The court may be familiar with what TEAMS and TEAMS II documents are
16   from the public debate that has surrounded them. In the event that is not true,
17   TEAMS and TEAMS II are individual officer records that amount to an index of
18   categories that pull together an employee’s experiences in several unflattering
19   categories. LAPD has resisted putting this system into place for decades because it
20   provides a highly probative “snapshot” of the individual officer. Because these
21   TEAMS reports are so comprehensive, all of the responses to the inspection
22   demands being made by plaintiff in this case and this inspection demand are more
23   than likely to serialize the known disciplinary actions involving defendant
24
     McBride, her litigation history, including the punitive damages award against her,
25
     each internal administrative or criminal investigation in which she was a subject–
26
     distinguished from citizen complaints, all reported uses of force (defeating the
27
     defense argument that these are hard to find and identify), each
28                                              73
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 74 of 141 Page ID #:463



1    Officer Involved Shooting (OIS), each traffic accident on duty, each time the
2    employee arrests a person for allegedly committing the crime against the officer
3
     (typically resisting arrest, battery on a peace officer, challenging to fight). These
4
     compilations are the standard of modern law enforcement because they are
5
     supposed to provide “early warning” of problems to supervision when an employee
6
     racks up these kinds of events. The information within these reports is extremely
7
     relevant, not privileged and will undoubtedly become the evidence plaintiff will
8
     adduce at trial to support her claims against the individual defendants and the City,
9
     including punitive damages against Defendant McBride. Defendants’ objections
10
     are improper, inapplicable and fail on the grounds set forth above.
11
            The Ninth Circuit "has held that personnel files are discoverable in federal
12

13
     question cases . . . despite claims of privilege. Guerra v. Board of Trustees, 567

14
     F.2d 352 (9th Cir. 1977); Kerr, 511 F.2d at 197, aff’d, 426 U.S. 394, 48 L. Ed. 2d

15   725, 96 S. Ct. 2119 (1976)." Garrett v. City and County of San Francisco, 818
16   F.2d 1515, 1519 fn. 6 (9th Cir. 1987). The courts in general have long held that the
17   personnel files of individual defendant police officers are broadly discoverable.
18   Thus, "[i]n recent years, the courts have routinely ordered the production of
19   personnel files of third parties in employment discrimination and police brutality
20   cases." Ceramic Corp. of America v. Inka Maritime Corp., 163 F.R.D. 584, 589
21   (C.D. Cal. 1995). See Hampton, 147 F.R.D. at 229 (police hiring documents are
22   relevant to issues of credulity, notice to the employer, ratification by the employer,
23   and motive of the officer). See also Taylor v. Los Angeles Police Department, 1999
24
     WL 33101661 at *4 (C.D. Cal. 1999) ("Complaints against officers . . . may show,
25
     among other things, the character or proclivity of such officers toward violent
26
     behavior or possible bias."); Welsh v. City of San Francisco, 887 F. Supp. 1293,
27
     1299 (N.D. Cal. 1995) ("California statutes governing the release of police
28                                              74
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 75 of 141 Page ID #:464



1    personnel files . . . do not create privacy interests on the part of individual
2    witnesses or officers because they were not enacted to protect such interests");
3
     Martinez v Stockton, 132 F.R.D. 677, 682-84 (E.D. Cal. 1990); Segura v. Reno,
4
     116 F.R.D. 42 (D. Nev. 1987); Kelly v. San Jose, 114 F.R.D. 653, 655-56 (N.D.
5
     Cal. 1987); Soto v. Concord, 162 F.R.D. 603 (N.D. Cal. 1995); Hampton, at 229
6
     (S.D. Cal. 1993); Ramirez v. County of Los Angeles, slip op., C.D. Calif. NO. CV
7
     04-6102, Aug. 15, 2005. (citing Garrett, King v. Conde, Taylor and other cases in
8
     support of order requiring disclosure of police personnel files and reports of all
9
     complaints against involved officers); Skibo, 109 F.R.D. at 62 (E.D.N.Y. 1985)
10
     (plaintiffs, alleging false arrest and excessive force, were entitled to discovery of
11
     150 personnel files and citizen complaint files); King v. Conde, 121 F.R.D. 180,
12

13
     187 (E.D.N.Y. 1988); Frankenhauser v. Rizzo, 59 F.R.D. 339 (E.D. Pa. 1973);

14
     Howe v. Detroit Free Press, 440 Mich. 203, 223 (1992). "[T]here can be no

15   question of the relevancy of [police personnel files] to the allegations of the
16   complaint, particularly where [the complaint] specifically alleges the inadequacy
17   of the [municipality's] supervising and training of [defendant police officer]."
18   Scouler v. Craig, 116 F.R.D. 494, 496 (D.N.J. 1987). Judge Weinstein summarized
19   the issue of privacy with respect to police officers who are defendants in civil
20   rights suits: “Most information requested by civil rights plaintiffs in these lawsuits
21   deals with professional personnel records, such as prior involvement in disciplinary
22   proceedings or citizen complaints filed against the officers. The privacy interest in
23   this kind of professional record is not substantial, because it is not the kind of
24
     "highly personal" information warranting constitutional safeguard. The privacy
25
     interest in nondisclosure of professional records should be especially limited in
26
     view of the role played by the police officer as a public servant who must be
27
     accountable to public review. Some requests might touch on intuitively more
28                                              75
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 76 of 141 Page ID #:465



1    private domains, such as an officer's psychiatric history, but even disclosures
2    having "some effect on individual liberty or privacy" because of their personal
3
     nature are permissible when disclosure serves important public concerns.” King v.
4
     Conde, 121 F.R.D. 180, 191 (E.D.N.Y. 1988) (citations omitted).
5
           Plaintiff strongly urges this Court to adopt the procedures set forth in King,
6
     121 FRD at 180. In that very thoughtful and well written opinion, Judge Weinstein
7
     set forth a procedure for all discovery motions regarding police officers; personnel
8
     files to be followed within its district. First, since, as the court noted, the party
9
     seeking to invoke the privilege bears the burden of justifying its application, the
10
     court required a threshold showing from the Government that would explain
11
     reasons for non-disclosure with particularity. Second, the court required a
12

13
     declaration or affidavit, under oath and penalty of perjury, from some responsible

14
     official within the agency who has personal knowledge of the records, how they

15   had been generated or collected, what within those records have been kept
16   confidential, and what specific interests would be injured if disclosed. Thereafter,
17   the Court suggested that the parties themselves must attempt to agree on a
18   cooperative resolution of the matter. The Court further noted that: “Lawfulness of
19   police operations is a matter of great concern to citizens in a democracy and
20   protective orders must not be granted without that public interest in mind. The
21   parties in the court should consider carefully the benefits and costs of a properly
22   designed protective order. 'Routinely' issuing protective orders [citation omitted]
23   will not necessarily promote justice or the proper balance of interests; in particular
24
     cases, the court may find them an effective way to permit discovery without
25
     undermining law enforcement.” King, at 190. The Court further noted, for
26
     example, that home addresses and the like could easily be redacted from the
27
     materials that are provided. The Court went on to balance various factors
28                                               76
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 77 of 141 Page ID #:466



1    disfavoring disclosure against factors that favor disclosure. With regard to the
2    claim that discovery might "chill" the candor of police internal investigations, the
3
     Court noted that, “This argument is probably often overstated, and courts should be
4
     wary of relying on it in restricting discovery. First, the possibility of disclosure to
5
     civil rights plaintiffs is probably not of great import to the officers at the time they
6
     file their reports. *** An officers’ incentive to hide a friend's misconduct or to be
7
     scrupulously forthcoming less he be disciplined for having concealed information,
8
     are probably much more closely tied to the internal investigative machinery than
9
     the fear of civil rights litigation." King, at 192. The Court went on to note that not
10
     only is there no empirical evidence to support the claim that such disclosure would
11
     "chill" candor, but that if the fear of disclosure in civil rights lawsuits does have
12

13
     some real effect, "... [t]he stronger working hypothesis is that fear of disclosure is

14
     more likely to increase candor than to chill it." Id. With respect to information in

15   various records, the court suggested that, “Courts should not expend too much
16   effort trying to distinguish "factual" from 'evaluative' information in these
17   decisions. This distinction is likely to be quite elusive and often arbitrary. [citation
18   omitted]. Rather, court should examine specific objections to specific pieces of
19   information in each case, applying a balancing test.” Id. at 193. In balancing the
20   factors favoring disclosure, the court noted that relevance, the importance to the
21   plaintiff's case, and the strength of the plaintiff's case are factors worth noting.
22   However, because discovery is a broader scope than admissibility and may be on
23   inadmissible matters, and because material sought is in the possession of the
24
     defendant, the court should not require plaintiffs to prove relevance or that the
25
     information is unavailable elsewhere. Instead, the court should err "on the side of
26
     wider discovery". Id. at 195. In determining the various factors, the court noted
27
     that, “The great weight of the policy in favor of discovery in civil rights actions
28                                              77
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 78 of 141 Page ID #:467



1    supplements the normal presumption in favor of broad discovery, discussed above.
2    Together, these powerful public policies suggest that the defendants' case for
3
     restricted disclosure must be extremely persuasive.” Id. In Miller, 141 F.R.D. 292,
4
     plaintiff alleged a § 1983 claim for excessive force with various other claims
5
     alleging policy, pattern or practice liability under Monell. Plaintiff served a
6
     Demand for Production of Documents seeking a number of items including
7
     personnel and psychological records. As it related to personnel records, the court
8
     concluded (at 297-98) that the Ninth Circuit has required “discovery of personnel
9
     files, despite claims of state-created privileges”, citing Garrett; Youngblood v.
10
     Gates, 112 F.R.D. 342, 344 (C.D. Cal 1985); and Kerr v. United States Dist. Court
11
     for North. Dist., 511 F.2d 192, 197 (9th Cir. 1975). Even "[r]elevant psychological
12

13
     testing results pertaining to the incident at issue or relating to prior violent episode"

14
     are discoverable. Mueller v. Walker, 124 F.R.D. 654, 659 (D. Or. 1989). See also

15   Soto, 162 F.R.D. at 614-23 (ordering disclosure of not only all personnel records of
16   the officers involved but further ordering that psychiatric, psychological, and
17   physical health records of the officers be produced for in camera inspection). City
18   of Portland v. Rice, 308 Or. 118, 775 P.2d 1371 (1989) -- police disciplinary
19   records are not exempt from discovery. Haggerty Sept. 2003 decision on scope of
20   discovery in police excessive force case - Marbet v. City of Portland, 2004 WL
21   173773 (2004) -- no govt privilege ("official info") for "after reports" - Must
22   disclose independent review; internal affairs disclosable (limited) [employment
23   case - Brown v. State of Oregon, Dept. Corr., 173 F.R.D. 262, 264 (D. Or. 1997)
24
     (granting the plaintiff's motion to compel over objections raised by the government
25
     that the personnel information was protected by the official information privilege).
26
     The Brown court went on to acknowledge that there is a qualified privilege for
27
     official information in the federal common law. Id. at 264. Judge Frye determined
28                                              78
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 79 of 141 Page ID #:468



1    that this qualified privilege could be asserted regarding governmental personnel
2    files, but recognized that the privilege can only be maintained "if the potential
3
     disadvantages of disclosure outweigh the potential benefits of disclosure." Id. at
4
     264. In weighing the issue of disclosure and non-disclosure of the information
5
     sought by Brown, Judge Frye ultimately held, “Because the positions of sergeant
6
     are apparently filled from a pool of applicants within the Department of
7
     Corrections, information in the personnel file of an applicant is considered when
8
     making a promotion decision. Brown needs access to this information to
9
     reasonably prosecute his discrimination action. In addition, there is the public
10
     interest in halting discriminatory conduct, if any, within a public agency. The
11
     privacy concerns raised by the defendants are legitimate concerns, but they can be
12

13
     protected by a carefully crafted protective order. The court concludes that the

14
     benefits of disclosing the merit rating reports outweigh the disadvantages of

15   disclosure. The defendants must produce these reports, subject to a protective
16   order.” Id. at 264. Judge Frye also went on to grant plaintiff's request for personnel
17   files for successful applicants for the position of sergeant, subject to a protective
18   order, for the same reason that she granted the plaintiff's request regarding Merit
19   reviews. Id. at 264-265.
20         The Hun declaration fails to state the City would be massively burdened by
21   identifying or accessing these records. But even if it were so, it would not stand in
22   the way of discovery. “The defendant may not excuse itself from compliance with
23   Rule 34, Fed. R. Civ. P. by utilizing a system of record-keeping which conceals
24
     rather than discloses relevant records, or makes it unduly difficult to identify or
25
     locate them, thus rendering the production of documents an excessively
26
     burdensome and costly expedition.” Kozlowski v. Sears, Roebuck & Co., 73 F.R.D.
27
     73, 76, (D. Mass 1976), accord Fagan v. District of Columbia, 136 F.R.D 5, 7
28                                              79
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 80 of 141 Page ID #:469



1    (D.D.C. 1991) (“Plaintiffs should not suffer if the information is not easily
2    accessible because defendants have an inefficient filing system.”)
3
           In Soto v. City of Concord, 162 F.R.D. 603, in granting Plaintiff’s motion to
4
     compel personnel files, citizen complaints, and internal affairs investigations
5
     records and overruling similar objections by the defendants, the Court stated:
6
           Although in general the party seeking to compel discovery bears the burden
7
           of showing that his request satisfies the relevance requirement of Rule 26,
8
           the court in Kelly v. City of San Jose, 114 F.R.D. 653, 667–68
9
           (N.D.Cal.1987), concluded that in the context of civil rights excessive force
10
           cases against police departments, plaintiffs may suffer great difficulties if
11
           courts impose demanding relevancy standards on them. Because it is
12

13
           unlikely that such a plaintiff would know the contents of confidential police

14
           files, the court suggests that it should be “sufficient for a plaintiff to show

15         how information of the kind that is likely to be in the files could lead to
16         admissible evidence.” Id. at 667–68. The court reasons:
17         “It does not seem fair ... to demand that a plaintiff identify with particularity
18         the information that is in confidential police files and demonstrate
19         specifically how that information is relevant to his claims. [A] judge should
20         resolve doubts about relevance in favor of disclosure, in part because she is
21         not likely to understand the case as well as plaintiff's counsel, and thus is not
22         likely to be able to foresee all the ways he might be able to use the
23         information, and in part because the standard set forth in Rule 26 is so
24
           broad.” Id. at 668. See Soto v. City of Concord, 162 F.R.D. 603, italics
25
           added.
26
           Plaintiff has specified with clarity the records she seeks and invited defense
27
     counsel to discuss an informal resolution prior to filing of this stipulation and
28                                             80
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 81 of 141 Page ID #:470



1    attempted also to inform the magistrate of Plaintiff’s urgent needs for this
2    discovery at the IDC. Without these documents, Plaintiff’s legitimate discovery
3
     efforts are being impeded in her efforts to prove the claims. The personnel file
4
     records into the Defendants as well as prior arrest reports/use of force reports will
5
     furnish Plaintiff with witnesses to not only to prove Monell liability against the
6
     City, but also to prove that these Defendant’s expressed justification for the
7
     shooting of Hernandez is entirely false. Indeed, the official defense by the
8
     Department and McBride is that Hernandez constituted a threat to McBride when
9
     he got out of his damaged car and disoriented walked a few steps towards
10
     McBride. After McBride emptied 6 rounds at shirtless non-threatening
11
     Hernandez, the Department claims because Hernandez was holding a box cutter
12

13
     knife, he was a threat to McBride. Through prior victims of similar brutality

14
     sought in RFPs 33-34, Plaintiff intends to discredit this ‘version of the truth’ with

15   the modus operandi evidence the discovery identifies. Unless Plaintiff gets these
16   records, which are indisputably available and accessible to the City, Plaintiff will
17   be unable to effectively impeach the individual defendants and prove her claims.
18   Because McBride is 23 years old and has been hired in 2016, her record history
19   with the LAPD should not be burdensome for the City to legitimately complain
20   on overbreadth or burden grounds. Plaintiff’s counsel has got these records with
21   ease from the same LAPD in 15 years of her experience as a criminal
22   defense/civil rights attorney. The Department must have a record-keeping that
23   allows them to easily access these records. Declaration of Counsel.
24
           The over breath objection is invalid for yet another reason. California law
25
     (P.C. §832.5) demands that the police department preserve each and every
26
     personnel complaint investigation for not less than 5 years. Hence, the request
27
     can only apply to what the department is required to maintain by law. Despite
28                                            81
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 82 of 141 Page ID #:471



1    defense’s objection that it “seeks information which is beyond any reasonable
2    time frame,” the statutory five year retention period is presumptively reasonable.
3
     Because the records are required to be maintained, gathering the records cannot
4
     be “unreasonably burdensome and oppressive.” In fact, these records are retained
5
     in a manner that anticipates future access to department insiders. It does not
6
     become any more difficult to reach when the plaintiff requires them.
7
           Evidence bearing on witnesses’ credibility is relevant because the
8
     witnesses’ truthfulness and candor are at issue in the case. See United States v.
9
     Hankey, 203 F.3d 1160. 1171 (9th Cir. 2000) ; United States v. Jackson, 588 F.2d
10
     1046, 1055 (5th Cir. 1979) (“Where an accused takes the stand as a witness, he
11
     places his credibility in issue as does any other witness.”). Officers’ character trait
12

13
     for dishonesty is discoverable because it is admissible. United States v. Geston,

14
     299 F.3d 1130, 1137 (9th Cir. 2002) Specific bad act evidence is admissible under

15   Rule 608 (b) "for the purpose of attacking or supporting the witness credibility" if
16   it is probative of the "witness' character for truthfulness or untruthfulness" or
17   "challenges a witness's credibility." See United States v. Gay, 967 F.2d 322, 327-
18   28 (9th Cir. 1992).
19         The RFPs 33-34 objected to leads Plaintiff’s counsel to persons who will
20   be qualified to opine that individual defendants are not to be trusted in what they
21   say. FRE 608, FRE 405. Tallacus v. Sebelius, 2010 U.S. Dist. LEXIS 37649 *10.
22   RFP 33 relates only to a specific set of arrest reports by McBride when the officer
23   claimed herself a victim or witness to resisting police, battery/attempted murder
24
     on peace officer. RFP 34 relates to use of force investigative reports involving
25
     McBride. These documents are not identified on the City’s privilege log, despite
26
     the objections and claims of privilege, because they are not considered
27
     confidential. Neither arrest reports nor use of force reports are placed in the
28                                             82
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 83 of 141 Page ID #:472



1    personnel file jacket of the defendant, because they do not fall under Cal. PC
2    832.5 et seq. Declaration of Counsel. Unless victims of police abuse formally
3
     complain to the LAPD and the Internal Affairs takes and investigates their
4
     complaints, these reports are never placed into the Defendant’s personnel file.
5
     Importantly, LAPD can't declare them to be confidential peace officer personnel
6
     records by inserting them into a personnel investigation file any more than
7
     inserting a newspaper article would make the article confidential. See below, “We
8
     do not believe that the Legislature intended that a public agency be able to shield
9
     information from public disclosure simply by placing it in a file that contains the
10
     type of information specified in section 832.8.” POST v. S Ct. 42 Cal. 4th 278,
11
     290- 293 (2007). “Nor is there anything in the legislative history of sections 832.7
12

13
     and 832.8 to suggest that the Legislature intended to render confidential any and all

14
     records that might be filed along with those described in the statute. Section 832.7

15   is part of a statutory scheme that attempts to protect both “the defendant's right to a
16   fair trial and the officer's interest in privacy to the fullest extent possible.” (People
17   v. Mooc (2001) 26 Cal.4th 1216, 1227 [114 Cal. Rptr. 2d 482, 36 P.3d 21].)
18   Section 832.7 was included in Senate Bill No. 1436 (1977–1978 Reg. Sess.) and
19   enacted into law in 1978 in response to this court's decision in Pitchess v. Superior
20   Court (1974) 11 Cal.3d 531 [113 Cal. Rptr. 897, 522 P.2d 305] (Pitchess)”. Id.
21         See Zanone v. City of Whittier, 162 Cal. App. 4th 174 , 187-188 n14 (2008)
22   (held the plaintiff properly impeached the chief of police in trial with a memo
23   Chief wrote that Plaintiff came into possession of without a 1045 mx because the
24
     memo was not a peace officer personnel record by definition when placed in
25
     another cop’s file. The court held that the former officer’s failure to file a Pitchess
26
     motion seeking disclosure of the chief's memorandum did not preclude her use of
27
     the memorandum to impeach his testimony because the memorandum did not fall
28                                               83
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 84 of 141 Page ID #:473



1    within Pen. Code, § 832.8’s definition of “personnel records,” even if it could be
2    found in the other officer’s personnel file. That is, to be a personnel record the
3
     complaint or investigation of a complaint must both concern an event that involved
4
     [***27] the officer as a participant or witness and pertain to the officer's
5
     performance of his or her duties. (See 2. Melamed v. City of Long Beach (1993) 15
6
     Cal.App.4th 70, 79 [18 Cal. Rptr. 2d 729] [“[o]rdinarily, the word ‘and’ connotes a
7
     conjunctive meaning, while the word ‘or’ implies a disjunctive or alternative
8
     meaning”].) Zanone v. Whittier supra p. 189.
9
           There is evidence that the LAPD fails to properly follow the IA procedure
10
     in recording and investigating citizen complaints from arrest/use of force reports.
11
     But Plaintiff is entitled to these reports that are not placed in the personnel files to
12

13
     gather witnesses to discredit this officer’s assertion of propriety of the force

14
     against Hernandez. Thus, the City’s objections on confidentiality and privilege

15   grounds to these RFPs are patently frivolous.
16         FRE 405 concerns methods of proof for establishing a person's character. It
17   states, in relevant part: "In all cases in which evidence of character or a trait of
18   character of a person is admissible, proof may be made by testimony as to
19   reputation or by testimony in the form of an opinion.”
20         Witnesses derived from these records are qualified to render their lay
21   opinions in accordance with Rule 701 as to Defendants’ character for
22   untruthfulness. United States v. Cortez, 935 F.2d 135, 139 (8th Cir. 1991)
23   “Admissibility of opinion testimony by lay witnesses is further limited by Rule
24
     701, which requires that the testimony be based on first-hand knowledge and be
25
     helpful to resolving a fact in issue.” Plaintiff expects them to be direct victims of
26
     the defendant officer’s mendacity. United States v. Turning Bear, 357 F.3d 730,
27
     734 (8th Cir. 2004). “An adequate foundation must be laid in order for opinion
28                                              84
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 85 of 141 Page ID #:474



1    testimony concerning another witness's character for untruthfulness to be
2    admissible. Such a foundation is laid by demonstrating that the opinion witness
3
     knows the relevant witness well enough to have formed an opinion.”
4
           In United States v. McMurray, 20 F.3d 831, 834 (8th Cir. 1994), the court
5
     held it was proper to admit the opinion testimony of a witness who had but one
6
     contact with the defendant evincing untruthful character. These are the
7
     potential trial witnesses these demands seek access to.
8
           These over breadth objections are fatuous efforts to suppress proof essential
9
     to the successful adducing of Monell policy and practice evidence. On the one
10
     hand, the City presents the self-serving argument that the discovery of an officer’s
11
     citizen complaints is overbroad while at the same time will seek summary
12

13
     judgment with the argument that the plaintiff lacks evidence supporting the broad

14
     Monell claim. “[C]ourts have repeatedly required Section 1983 plaintiffs to support

15   their ‘custom’ allegations with multiple, similar past incidents– thereby
16   demonstrating official knowledge and tacit approval of an unconstitutional course
17   of conduct by municipal employees. See Thompson v. City of Los Angeles, 885
18   F.2d 1439, 1443 (9th Cir. 1989) (Dismissing Monell ‘custom’ allegation where
19   plaintiff fails to produce evidence of ‘widespread abuses and practices. . .[which]
20   are so pervasive as to have the force of law’); Bryant v. Maffucci, 923 F.2d 979,
21   986 (2d Cir. 1991) (‘In order to sustain [a section 1983 government ‘custom’]
22   claim, more must be shown than a single incident in which a plaintiff was denied a
23   constitutional right’); Rodriguez v. Avita, 871 F.2d 552, 554-555 (5th Cir. 1989)
24
     (‘[A] single shooting incident by a police officer [is] insufficient as a matter of law
25
     to establish the official policy requisite to municipal liability under Section
26
     1983.’(emphasis added); Williams v. City of Albany, 738 F.Supp. 499, 502 (M.D.
27
     Ga. 1900) (‘Municipal liability will not be found to exist under a theory of
28                                              85
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 86 of 141 Page ID #:475



1    respondeat superior in a Section 1983 action. Nor can official municipal policy be
2    established by proof of the occurrence of a single incident of unconstitutional
3
     activity.’) LAPD cannot on the one hand argue overbreadth objections to discovery
4
     in good faith and at the same time argue the Monell claim fails because Plaintiff
5
     lacks the proof. See also Burka v. New York City Transit Authority, 110 F.R.D.
6
     660, 667 (S.D.N.Y. 1986) and Skibo v. City of New York, 109 F.R.D. 58 (E.D.N.Y.
7
     1985), where the court overruled overbreadth objections and ordered disclosure of
8
     thousands of IA investigation files to the plaintiffs to prove their Monell claims.
9
     Discovery cannot be limited to the named individual officer defendants because of
10
     the demands of Monell proof. Generally, courts look to the number of incidents
11
     that make up the alleged pattern, and then compare it to the total number of
12

13
     encounters the incidents are drawn from. Oporto v. City of El Paso, No. 10-CV-

14
     110-KC, 2010 WL 3503457, *6 (W.D.Tex.2010).

15         The RFP 37 also seeks the complete Internal Affairs investigative file into
16   Plaintiff’s incident. As described above, the OIS is statutorily investigated
17   administratively by the Department, goes through multiple levels of review from
18   the Force Investigation to the Use of Force Review Board, from there to the Chief
19   of Police and finally to the Board of Commissioners, and if discipline is imposed
20   goes through an administrative investigation by the Internal Affairs. Occasionally,
21   if the Chief makes a disciplinary recommendation, the officer may appeal to the
22   Board of Rights. In this case, there has been a review process up through the
23   Board of Commissioners that determined the final two shots were out of policy as
24
     of December. See Exhibit J. But the City has neither identified those records on
25
     their Privilege Log, nor has expressed those records exist. This is willful
26
     suppression of vital evidence to Plaintiff who is entitled to these materials to
27
     investigate not only the adequacy and competence of the factual findings in the
28                                             86
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 87 of 141 Page ID #:476



1    force investigation by the Department, but also whether the Department’s
2    response in imposing or not imposing discipline is proper, justified and in
3
     accordance with policies. Thus far, Plaintiff is not aware of any discipline
4
     imposed on McBride by the Chief as the disciplinary authority despite the
5
     Board’s findings. This can be effectively used to prove the claims under Monell
6
     for failure to supervise and deliberate indifference to the rights of citizens.
7
     However, without these records Plaintiff is limited in her ability to effectively
8
     prove these claims. It appears from the Privilege Log that the only documents
9
     associated with the purported Internal Affairs investigation are identified and are
10
     withheld as Item No. 1. See Exhibit C, Privilege Log. Declaration of Counsel.
11
           In addition to McBride’s personnel files identified as Item 3, the City has
12

13
     identified other officers’ personnel files at scene of the incident as Items 4-8 on

14
     their Privilege Log and has refused to disclose them with the Protective Order.

15   Because Plaintiff has yet to receive the investigative reports into the incident, it
16   could not identify other officers at scene in the Complaint or her RFPs. Due to the
17   lengthy delays in discovery production, the request is to order production of all
18   records identified on the City’s privilege log at this time to expedite discovery
19   instead of Plaintiff making additional RFPs that will likely meet with similar
20   resistance as here.
21         RFP 18 sought policy manuals related to data management of body cam
22   footage of the officers. Because body cam footages of the incident are an essential
23   component of the case here, the downloading, preservation and data integrity of
24
     these files becomes a relevant area of inquiry. Demanding an exacting drafting or
25
     relevancy arguments from Plaintiff is not in the letter and spirit of the federal
26
     police misconduct case law identified in this motion. Plaintiff may not be able to
27
     articulate exactly with mathematical precision what type of documents exist
28                                             87
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 88 of 141 Page ID #:477



1    within the LAPD that are relevant, nor has to identify exact relevancy of those
2    records before she obtains and reviews them. That is why, Rule 26 permits broad
3
     discovery to provide Plaintiff with the ability to investigate and determine upon
4
     review of a broad variety of records, what can be relevant to claims before trial.
5
           For the reasons explored above, these records are essential to Plaintiff’s
6
     successful proof of claims not only against Defendant McBride individually but
7
     also against the City for Monell claims. Investigative files into personnel
8
     complaints/arrest/use of force reports by other victims/complainants would
9
     discredit McBride’s proffered justification for the shooting and prove
10
     unequivocally that the City has been systematically ignoring to take and properly
11
     investigate the citizen complaints, has failed to discipline involved officers,
12

13
     perpetuating a custom/policy/practice of lawlessness and impunity at the

14
     Department, that in combination resulted in deprivation of constitutional rights

15   and death of Plaintiff’s decedent.
16   DEFENDANT CITY’S CONTENTIONS WITH RESPECT TO
17   PLAINTIFF’S REQUESTS FOR PRODUCTION OF DOCUMENTS
18         Plaintiff’s lengthy motion is a waste of the Court’s time and resources, as the
19   majority of the issues raised in this motion were resolved in the informal discovery
20   conference with the Court. Plaintiff’s outstanding requests to the City are irrelevant,
21   overbroad, ambiguous, and burdensome, which Plaintiff’s Motion fails to address.
22         A.     Procedural History
23         Plaintiff ignores the fact that this particular dispute only arose in the last 30
24
     days and has now been largely resolved prior to Plaintiff serving Defendants with
25
     her discovery motion.
26
           As Plaintiff MLH admits, despite being in this case since September of 2020,
27
     the disputed discovery was served on Defendant City on February 12, 2021. There
28                                             88
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 89 of 141 Page ID #:478



1    was no agreement to email only service, thus, the standard rules concerning timing
2    of responses applies. The City’s responses were due on March 17th, not March 15th,
3
     and the City served their responses via email and mail on March 17th to Mr. Casillas’
4
     office. Ms. Mkrtchyan was inadvertently left of that email. However, when it came
5
     to defense counsel’s attention the next morning, the responses were then emailed to
6
     Ms. Mkrtchyan and an additional copy was sent out by mail. Defendant City has
7
     not at any time waived any of its objections, which are valid and should not be
8
     overruled.   In addition, it should be noted that Plaintiff MLH’s requests for
9
     production of documents are exactly the same as the requests for production that
10
     were served on the City on July 20, 2020, and which Plaintiff MLH obviously was
11
     provided a copy. Defendant City timely objected to those responses and asserted
12

13
     those same objections to Plaintiff MLH’s requests for production of documents.

14
     See declaration of Colleen R. Smith and Plaintiff’s Exhibit “A”.

15          On March 19, Plaintiff then sent a 19-page long, rambling meet and confer
16   letter that failed to clearly articulate the basis for her meet and confer or specifically
17   what documents she was seeking. Counsel for defendants were agreeable to
18   participating in a meet and confer on March 26. Plaintiff again demanded responses
19   to her discovery requests, but failed to specifically identify what she was seeking or
20   to narrow the scope of the overbroad and vague categories. Plaintiff’s counsel also
21   failed to provide any legal authority to demonstrate entitlement over Defendants’
22   valid objections. Plaintiff counsel also indicated that she did not want to participate
23   in an informal discovery conference (“IDC”) with the Court. After realizing that
24
     the Court requires an IDC, Plaintiff’s counsel contacted the Court to schedule an
25
     IDC. At the IDC, the Court agreed with Defendants that many of Plaintiff’s requests
26
     were vague, overbroad and irrelevant, specifically to the RFPs referenced in this
27
     Motion. See Dkt. 44 at 4 (“In discussing these requests with the parties at the
28                                               89
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 90 of 141 Page ID #:479



1    conference, the Court indicated that the requests identified above appear to be
2    overbroad on their face or seek information neither relevant to the claims and
3
     defenses at issue nor proportional to the needs of the case.”). To be clear, Defendant
4
     City has always been willing to provide the majority of the documents requested
5
     concerning the subject incident (as was also requested by co-Plaintiff Estate in July
6
     2020), but subject to a stipulated protective order. Plaintiffs did not circulate a draft
7
     protective order until March 23, 2021.          The proposed protective order was
8
     submitted to the Court following the IDC and entered by the Court on April 14,
9
     2021.
10
             As indicated during the IDC, Defendant City indicated that most of the
11
     requested documents would be produced subject to a protective order.                  In
12

13
     accordance with the Court’s order and comments at the IDC, Defendant City will

14
     produce those documents that are relevant and subject to the stipulated protective

15   order. See, Dkts. 44, 50. Because the materials are being produced, Defendant City
16   will not address the substance of the objections asserted by the City regarding these
17   requests unless the Court requires further briefing on these issues.
18           The remaining requests Plaintiff contends are disputed – Plaintiff’s RFPs 31,
19   33, 34 and 43 – are vague, overbroad, and irrelevant and disproportional in violation
20   of FRCP rule 26. The information sought also is privileged and violate privacy
21   laws. Consequently, Plaintiff’s Motion for the remaining requests is entirely
22   unwarranted and a waste of the Court’s time and resources.
23           B.    Plaintiff’s RFPs 1, 2, 6, 7, 20, 21, 22, 27, and 28
24
             These requests all concern the LAPD’s internal, administrative investigation
25
     into the subject incident. As indicated at the IDC, Defendant City will produce
26
     these materials subject to a protective order. The protective order was entered on
27
     April 14, 2021 and the Court gave Defendant City until April 23 rd to produce those
28                                              90
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 91 of 141 Page ID #:480



1    confidential documents that are responsive to these subject RFPs. Plaintiff’s
2    counsel’s impatience has caused this Court and defense to respond to a motion
3
     which raises issues that are no longer in dispute. Plaintiff has not even received the
4
     materials from Defendant and complains prematurely that Defendants are not
5
     responding.
6
           In addition, whether some portion of a video or a document was broadcast in
7
     some fashion on the internet does not render the entire video or document non-
8
     confidential. There is no evidence that the City has waived any of its objections,
9
     including those based on privilege and confidentiality. Indeed, Defendant City has
10
     not waived any of its objections. Moreover, Plaintiff admits that she recognizes the
11
     confidentiality of these City’s investigative materials and has agreed to a protective
12

13
     order. Thus, her arguments that the City’s objections are invalid and waived are

14
     without merit.

15         The above items are being produced subject to the protective order in
16   compliance with the deadlines ordered by the Court.
17         C.      Plaintiff’s RFPs 18, 29, 30, 32, 35, 36, and 37
18         With respect to RFP #18, the Court indicated at the IDC that the policies
19   concerning the use of Body Worn Videos (“BWV”) should be narrowed to those in
20   effect at the time of the incident. Defendant City is producing those policies
21   concerning the use of BWV that were in effect at the time of this incident.
22         With respect to RFPs #29, #30, #32, #35 and #36 are part of Officer
23   McBride’s personnel records which the Court requested be submitted to the Court
24
     for in camera review. The personnel records were submitted to the Court, and the
25
     Court has issued an order regarding those records. The pages identified by the Court
26
     are being produced along with the other materials that Defendant City agreed to
27
     produce subject to the protective order.
28                                              91
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 92 of 141 Page ID #:481



1          With respect to RFP #37 concerning the Internal Affairs investigation into
2    this incident, Defendant City indicated that it would inquire as to whether there is
3
     an Internal Affairs investigation, if it is completed and what documents exist in that
4
     investigation, if any. That inquiry has been made, and defense counsel is waiting
5
     for a response to counsel’s inquiry. If the Internal Affairs investigation is not
6
     completed, Defendant should not be compelled to produce that investigation. Early
7
     disclosure could compromise the integrity of the investigation, as the information
8
     could get leaked to witnesses or other persons who are not part of the investigative
9
     team. Defendant City does not have an objection to producing the face sheet of the
10
     Internal Affairs investigation, if one exists, or any statements given by Officer
11
     McBride in that investigation subject to the protective order. However, as stated
12

13
     during the IDC, in defense counsel’s experience, all of the statements by the

14
     involved officer are usually contained within the Force Investigation Division

15   materials. There usually are not additional statements within the Internal Affairs
16   investigation.
17         D.     Plaintiff’s RFPs 31 and 34
18         Plaintiff MLH’s RFP #31 and 34, are irrelevant, overbroad, violate FRCP 26,
19   and are barred by privilege and privacy laws.
20         Pursuant to Fed. R. Civ. Proc., Rule 26(b)(1), “Parties may obtain discovery
21   regarding any nonprivileged matter that is relevant to any party’s claim or defense
22   and proportional to the needs of the case . . . .” In determining proportionality, the
23   courts are to consider issues in the instant litigation, the importance of the discovery
24
     sought in resolving the issues in the instant litigation and whether the burden
25
     outweighs the likely benefit. Id. Courts should not grant discovery requests that
26
     amount to nothing more than a fishing expedition into other alleged wrongdoing
27

28                                              92
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 93 of 141 Page ID #:482



1    that is not reasonably related to the alleged claims or defenses. Collens v. City of
2    New York (S.D.N.Y. July 12, 2004), 222 FRD 249.
3
           Federal Rules of Evidence 402 states in pertinent part that, “. . . Evidence
4
     which is not relevant is not admissible.” “Relevant evidence” is “any evidence
5
     having any tendency to make the existence of any fact that is of consequence of the
6
     determination of the action more probable or less probable than it would be without
7
     the evidence.” Fed. R. Evid. 401. Although relevancy is broadly defined for the
8
     purposes of discovery, it does have “ultimate and necessary boundaries.” Gonzales
9
     v. Google, Inc., 234 F.R.D. 674, 680 (N.D. Cal. 2006).
10
           RFP #31 seeks all personnel complaints concerning Officer McBride. This
11
     request is vague, overbroad and disproportional to the needs of this case. Personnel
12

13
     complaints can encompass many types of subjects and not simply use of force.

14
     They can address traffic accidents and other subjects that have nothing to do with

15   the issues raised in this case. As Defendant has previously indicated, if a completed
16   Internal Affairs investigation concerning this incident exits, Defendant will produce
17   those materials subject to the protective order in this case. With respect to other
18   personnel complaints, Plaintiff’s request should be denied.
19                a.     California Law
20         While this case is venued in Federal Court, the cited state privileges are
21   important because it provides the context for these investigations, as well as the
22   foundation for the Official/Government Information Privilege, discussed in subpart
23   (b) infra. Indeed, “In the context of the discovery of police personnel files, federal
24
     courts should give some weight to privacy rights that are protected by state
25
     constitutions or statutes.” Soto v. City of Concord, 162 F.R.D. 603, 619 (N.D. Cal.
26
     1995)(internal citations omitted).     In California, peace officers are afforded
27
     considerable rights and protections under the law, pursuant to California Evidence
28                                             93
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 94 of 141 Page ID #:483



1    Code § 1040, et seq., Penal Code Sections 832.5, 832.7, 832.8, and California
2    Government Code Section 6254.
3
                  b.     Official/Government Information Privilege
4
           The principles of Federal Common Law apply and guide questions of
5
     evidentiary privilege that arise in the litigation of federal rights. United States v.
6
     Zolin, 491 U.S. 554, 562, 109 S.Ct. 2619, 2625, 105 L.Ed.2d 469 (1989); see also
7
     Fed. R. Evidence. 501. Specifically, federal common law applies to cases involving
8
     allegations of an individual's federal civil rights. Miller v. Pancucci, 141 F.R.D.
9
     292, 297-298 (C.D. Cal. 1992); see also Kerr v. United States District Court for the
10
     N. Dist. Of Cal., supra, 511 F.2d at 197. Accordingly, federal common law does
11
     in fact recognize a qualified privilege for official information. Kerr v. United States
12

13
     District Court for the N. Dist. Of Cal., supra, 511 F.2d at 198. For example,

14
     government personnel records, such as the involved officers', are considered official

15   information. Sanchez v. City of Santa Ana, 936 F.2d 1027, 1033 (9th Cir.), cert.
16   denied, 502 U.S. 957 (1991); see also Miller v. Pancucci, supra, 141 F.R.D. at 299.
17   "To determine whether the information sought is privileged, courts must weigh the
18   potential benefits of disclosure against the potential disadvantages. If the latter is
19   greater, the privilege bars discovery." Sanchez v. City of Santa Ana, supra, 936
20   F.2d at 1033-34; see also, Soto v. City of Concord, supra, 162 F.R.D. at 613. It
21   should also be noted that even when the subject evidence pertains to both Federal
22   and State law claims, Federal Courts should try to accommodate the State privilege
23   unless doing so would impair Federal policies. Leon v. County of San Diego, 202
24
     F.R.D. 631, 635 (S.D. Cal. 2001).
25
           Ultimately, a balancing test must be applied by determining the weight each
26
     relevant consideration is entitled to in the fact-specific situation before the Court on
27
     a case-by-case basis. Miller v. Pancucci, supra, 141 F.R.D. at 300; see also Kelly
28                                              94
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 95 of 141 Page ID #:484



1    v. City of San Jose, 114 F.R.D. 653, 663 (N.D. Cal. 1987). In order to require a
2    Court to entertain such a balancing approach, the party asserting the privilege (here
3
     the City of Los Angeles) must properly invoke the privilege by making a
4
     "substantial threshold showing." In order to fulfill the threshold requirement, the
5
     party asserting the privilege must submit a declaration or affidavit from a
6
     responsible official with personal knowledge of the matters to be attested to in the
7
     affidavit. The affidavit must include: "(1) an affirmation that the agency generated
8
     or collected the material in issue and has maintained its confidentiality; (2) a
9
     statement that the official has personally reviewed the material in question; (3) a
10
     specific identification of the governmental or privacy interests that would be
11
     threatened by disclosure of the material to plaintiff and/or his lawyer; (4) a
12

13
     description of how disclosure subject to a carefully crafted protected order would

14
     create a substantial risk of harm to significant governmental interests, and (5) a

15   projection of how much harm would be done if disclosure were made." Soto v. City
16   of Concord, supra, 162 F.R.D. at 613; see also Miller v. Pancucci, supra, 141 F.R.D.
17   at 300, Chism v. County of San Bernardino, 159 F.R.D. 531, 533 (C.D. Cal. 1994).
18         The Court will then conduct an in-camera review of the material and conduct
19   a balancing test concentrating on each party's interests. Miller v. Pancucci, supra,
20   141 F.R.D. at 301: see also, Chism v. County of San Bernardino, supra, 159 F.R.D.
21   at 533, Kelly v. City of San Jose, supra, 114 F.R.D. at 671; Soto v. City of Concord,
22   supra, 162 F.R.D. at 613.
23         In the case at bar, Defendant City has met this threshold burden. The
24
     appropriate privilege log and extensive declaration were provided to the Plaintiff.
25
     The Declaration of Det. Brian Hun was served on Plaintiff with Defendant's
26
     discovery responses, and comports with the requirements for such declarations.
27

28                                             95
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 96 of 141 Page ID #:485



1    This Declaration even covers the issues surrounding the concerns with disclosure
2    of such personnel investigations.
3
           There can be little question or disagreement that if Plaintiff, or any other party,
4
     were able to easily acquire confidential and privileged information contained in the
5
     personnel records of a law enforcement agency, that would have a chilling effect on
6
     the way departmental or internal investigations are conducted into personnel
7
     matters. It stands to reason that a law enforcement agency might possibly be less
8
     vigorous in conducting internal or personnel investigations if they realize that the
9
     notes and writings of such investigations would be open to the general public or
10
     subject to the whims of any legal counsel. Such a condition clearly is against public
11
     policy, since there might possibly be results counter to effective personnel
12

13
     management and less effective personnel investigations. Society ultimately pays

14
     the price.

15         Some factors worth pointing out are found in the process of such
16   investigations and the protections afforded to these types of documents. The
17   Department conducts internal administrative investigations of Citizen Complaints
18   & Department initiated Complaints (hereinafter referred to as "Complaint(s)") and
19   also maintains a personnel file on its officers.         Once an investigation of a
20   Complaint is completed, a formal Personnel Complaint Investigation is prepared.
21   Such investigations are reviewed by appropriate command officers in the
22   Department. This review has several purposes: (1) to determine whether the
23   involved officers violated any Department policies or procedures; (2) to determine
24
     whether administrative discipline and/or retrain in of the involved officers is
25
     necessary; (3) to ascertain if police policies and procedures in such areas as
26
     supervision, training, tactics, policies, etc. should be modified; (4) to determine if
27
     whether      an Officer was dishonest, ,untruthful, unethical or falsified
28                                              96
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 97 of 141 Page ID #:486



1    events/reports/testimony. In sum, Personnel Complaint Investigations are an
2    essential aid to providing critical evaluation of Department officers and policies,
3
     and to determine the most effective way to serve the citizens of Los Angeles. These
4
     are not always initiated by the complaining party, and are automatically generated
5
     by a Claim or the filing of a Civil Lawsuit.
6
                  Because these Personnel Complaint Investigation Reports contain
7
     compelled statements, these reports are deemed confidential by California statute
8
     and Federal case law. Penal Code §832.7; Sanchez v. Santa Ana Police Department,
9
     936 F. 2d 1027, 1033-34. Just as officers' personnel packages are maintained as
10
     confidential reports, so too are the Officers' Personnel Complaint Investigations.
11
     Personnel Complaint Investigations, like an Officer's Personnel Packages, include
12

13
     information which is both personal in nature and could potentially impact the liberty

14
     interests of the involved police officers and/or civilians named within.          The

15   information obtained from Personnel Packages and the Personnel Complaint
16   Investigations can and have been used to initiate disciplinary action against officers,
17   as well as evidence in disciplinary proceedings where the officer's conduct was
18   considered to be contrary to Department policy.
19         Unfettered release of Personnel Complaint reports and entire personnel files
20   has the potential for untold negative results ultimately creating a harmful effect on
21   the Department, as well as the officers and their families. For starters, disclosure
22   of this type of information would have a harmful effect on the privacy interest of
23   individual officers, as well as those individuals who brought the complaints, if any,
24
     against the officers.
25
           In addressing the Complaint Investigations, the officers' statements in these
26
     investigations are not voluntary, but rather compelled. It is important to note that
27
     the officers are forced to give these statements, because to refuse to do so, would
28                                             97
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 98 of 141 Page ID #:487



1    almost certainly result in termination from their employment from the Los Angeles
2    Police Department. In direct contrast, the Complainants, as well as any witnesses,
3
     are not compelled to give statements, but rather have the freedom to voluntarily
4
     decide whether or not they want to give a statement. This appears to be inherently
5
     unfair and prejudicial to the officers. Specifically, it affords the Plaintiff an unfair
6
     advantage of refusing to give a statement, but allows them access to statements that
7
     can later be used against the officers at trial. The end result is entirely inconsistent
8
     with the fundamental principles of fairness and justice.
9
           Finally, persons interviewed by Internal Affairs and/or Complaint
10
     Investigators are advised that their statements are being taken for the confidential
11
     use of the Department. These individuals' right to privacy will also be greatly
12

13
     affected because they are under the impression that there statements will remain

14
     confidential. Interestingly, experience has revealed that there are many witnesses

15   who are reluctant to give statements, but eventually decide to do so, after being
16   informed that these statements will remain confidential. Many witnesses have
17   expressed their concerns about retaliation by the Plaintiff. Personnel Complaint
18   Investigations are a useful and necessary tool for the Department to utilize in
19   monitoring their officers. Without some type of protection from the public, the
20   valuable, candid and beneficial information obtained from the Personnel Complaint
21   Investigations, would be adversely affected.
22         In terms of societal interests and governmental interests, it would inhibit the
23   Department’s ability to meaningfully engage in critical self-analysis. It is not
24
     unusual that statements made to Internal Affairs and Complaint Investigators are
25
     against the self-interest of the witnesses interviewed, often even the penal interests
26
     of those involved. The officers' provide these statements with the expectation that
27
     they will only be used for Department Administrative purposes only.                This
28                                              98
 Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 99 of 141 Page ID #:488



1    expectation allows for a more trusted and open environment in which the officers
2    are more candid in their statements. This ability to be forthcoming proves very
3
     useful to both the Department and society as a whole. Moreover, many Internal
4
     Affairs Personnel Complaint Investigations include embarrassing facts.             At a
5
     minimum, disclosure of all Personnel Complaint Investigations and Personnel
6
     Records would cause needless intrusion of privacy rights, as stated above, and
7
     would have a negative effect on our Department's effort to conduct these important
8
     investigations.
9
           Based upon the foregoing, it is quite possible that officers, who would
10
     otherwise be more open and candid during these investigations, would provide
11
     statements, but not statements that would be beneficial to the self-critical analysis
12

13
     process. It is not to say that the officers would not be forthcoming, but rather that

14
     these statements would be curtailed because of their belief that it may be used

15   against them in subsequent monetary civil proceedings.           Ultimately, the sole
16   purpose for which these types of investigations were created was to place a check
17   and balance on the Department's personnel and enable the citizens to have a voice.
18   In the event these investigations are not provided the expected privacy and
19   confidentiality interests, their significance and value will greatly depreciate.
20         It should also be understood that the Personnel Complaint Investigation
21   processes are distinct from the criminal investigations which often arise from the
22   same incident. Relevant information obtained in an Internal Affairs or Complaint
23   Investigation, particularly, but not limited to administrative interviews of potential
24
     or actual criminal defendants involved in a personnel complaint, is not a part of, and
25
     is not shared with detectives conducting the concurrent criminal investigation. This
26
     is done in order to avoid any intrusion into a defendant's rights under the Fifth and
27
     Sixth Amendments to the United States Constitution. Therefore, unprotected
28                                              99
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 100 of 141 Page ID
                                        #:489


1    disclosure of Personnel Complaint Investigations, particularly without prior judicial
2    scrutiny, could jeopardize an ongoing criminal investigation or prosecution.
3
           The materials and findings of a Personnel Complaint Investigation are
4
     continuously maintained in protected files in order to maintain their confidentiality.
5
     They are not routinely shown to other city departments. Even then, information
6
     which is not clearly relevant to the rationale governing the request is redacted to
7
     ensure the utmost regard for the privacy rights of all involved parties. The
8
     investigations are not available to the general public, except by court order. In all
9
     instances, the Department requests an in camera hearing to determine the relevancy
10
     for releasing all, or part, of a given investigation, again ensuring the constitutionally
11
     protected privacy rights of those named, or otherwise identified, within the written
12

13
     investigation.

14
           In each case involving court-ordered disclosure of information from a

15   Complaint Investigation sought in state or federal court, it is the Department's policy
16   to seek a protective order limiting use of the information to the case at trial, and
17   identifying those persons who may properly be granted access to the information.
18   Absent a protective order, it becomes unrealistic to conceive that the large numbers
19   of attorneys, secretaries, law clerks, paralegals and witnesses involved in many
20   cases will be able to maintain proper confidentiality of personal, private material,
21   absent an order which clearly delineates their responsibilities. Such orders further
22   request that said records be returned to the Department after the case has terminated,
23   either by final judgment or otherwise. This request serves to ensure that the
24
     intrusion into the privacy and employment rights of those involved is limited to the
25
     underlying case, in which the facts are relevant.
26
                  c.     Self-Critical Analysis Privilege
27

28                                              100
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 101 of 141 Page ID
                                        #:490


1          Contrary to Plaintiff’s contention, Defendants’ assertion of the self-critical
2    analysis privilege has never been out-right rejected by the Ninth Circuit. The Ninth
3
     Circuit addressed the privilege in Dowling v. American Haw. Cruises, 971 F.2d 423
4
     (1992), and specifically declined to address whether it was an accepted privilege in
5
     the Ninth Circuit. While refusing to recognize or reject such a privilege, Dowling
6
     completed an analysis of the issue at hand as if the privilege was recognized, finding
7
     that “…the difference between pre-accident safety reviews and post-accident
8
     investigations is an important one. The candid analysis of the causes of [incidents]
9
     is more likely to be stifled by a disclosure requirement than would the routine
10
     review of safety concerns.” Id. at 427. The Ninth Circuit again had the opportunity
11
     to specifically reject the existence of such a privilege in Union Pac R. R. v. Mower,
12

13
     219 F.3d 1069 (9th Cir. 2000), yet declined to do, instead simply noting in a

14
     footnote that it had not be recognized. Id., 1076 n.7. Additionally, several courts

15   throughout the country have specifically acknowledged such a privilege in some
16   fashion. See e.g. Walker v. County of Contra Costa, 227 F.R.D. 529 (N.D. Cal.
17   2005)(acknowledging that the privilege will not apply unless “the document at issue
18   was prepared with the expectation that it would be kept confidential and it was in
19   fact kept confidential); Weekotyv. Consolidated Edison, 30 F.Supp.2d 1343 (D.C.
20   Cir. 1998)(finding that documents related to morbidity and mortality review should
21   not be disclosed based on the self-critical analysis privilege); See also Sheppard v.
22   Consolidated Edison, 892 F.Supp. 6 (E.D.N.Y. 1995), Troupin v. Metropolitan Life
23   Ins. Co., 169 F.R.D. 546 (S.D.N.Y. 1996); Jamison v. Storer Broadcasting Co., 511
24
     F.Supp. 1286 (E.D. Mich. 1981); Johnson v. Southern Ry. Co., 1977 U.S. Dist.
25
     LEXIS 12167 (N.D. Ga. 1977); Bradley v. Melroe Co., 141 F.R.D. 1, 3 (D.C. Cir.
26
     1992); Granger v. National R.R. Passenger Corp., 116 F.R.D. 507 (E.D. Pa
27
     1987)(finding that production of certain documents “would tend to hamper honest,
28                                             101
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 102 of 141 Page ID
                                        #:491


1    candid, self-evaluation geared toward the prevention of future accidents.”); Kott v.
2    Perini, 283 F.Supp.1 (1968)(“The members of a police department must be able to
3
     rely upon their confidential records and notations being preserved for their internal
4
     use in all cases, for if it were otherwise, the knowledge that some of the confidential
5
     information recorded might be later exposed to outside parties would have a certain
6
     and chilling effect upon the internal use of such record making”).
7
           Furthermore, the Supreme Court has made it clear that the purpose of Federal
8
     Rule of Evidence 501 is to provide district courts with “the flexibility to develop
9
     rules of privilege on a case-by-case basis.” Trammel v. U.S., 445 U.S. 40, 47 (1980)
10
     (“In rejecting the proposed Rules and enacting Rule 501, Congress manifested an
11
     affirmative intention not to freeze the law of privilege. Its purpose rather was to
12

13
     provide the courts with the flexibility to develop rules of privilege on a case-by-

14
     case basis”). No binding authority exists which prevents this Court from finding

15   such a privilege is appropriate and applicable in this case regarding certain items,
16   particularly those involving the internal evaluation and analysis by the department.
17   As previously discussed, it is in the public’s best interest to have a police department
18   that has the ability to conduct thorough and honest evaluations of incidents and
19   personnel.    If such evaluations can be turned around and used against the
20   department, that would only serve to encourage less-than-thorough investigations
21   and could certainly have a chilling effect on all officers and investigators throughout
22   the Los Angeles Police Department.
23                d.     Right to Privacy
24
           Many of these requested documents would constitute an invasion of privacy
25
     to the individual officers, other officers named in the various documents which are
26
     not a party to this lawsuit, and civilians who have complained or given testimony
27

28                                              102
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 103 of 141 Page ID
                                        #:492


1    or information to the police department with the understanding that it would be
2    confidential.
3
                     Federal Courts ordinarily recognize a constitutionally-
4
                     based right of privacy that can be raised in response to
5
                     discovery requests. The party or person whose privacy is
6
                     affected may either object to the discovery request or seek
7
                     a protective order. Resolution of a privacy objection or
8
                     request for a protective order requires a balancing of the
9
                     need for the information sought against the privacy right
10
                     asserted.
11
     Soto v. City of Concord, supra, 162 F.R.D. at 616 (internal citations omitted)
12

13
           To the extent that RFP #31 seeks personnel complaints concerning uses of

14
     force, it is duplicative of RFP #34. Thus, the same arguments apply to both RFPs

15   #31 and #34. Plaintiff’s request for all use of force investigations is vague,
16   overbroad and disproportional to the needs of this case in violation of FRCP rule
17   26. There are many types of use of force, ranging from using a firm grip to using
18   deadly force. Any other use of force investigations that do not involve the use of
19   deadly force are irrelevant to the issues raised in this case. Whether Officer
20   McBride used a firm grip or bodyweight in another incident is wholly irrelevant to
21   the issues in this case. In addition, any use of force investigations that occurred
22   after this incident are irrelevant and production of such records would violate FRCP
23   rule 26. Plaintiff has not presented any arguments as to how such use of force
24
     investigations involving other types of force or that post-date this incident are even
25
     remotely relevant to the issues raised in this case, including any of Plaintiff MLH’s
26
     alleged Monell claims. Whether Officer McBride used a firm grip, bodyweight or
27
     some other lesser type of use of force on some occasion has no nexus as to whether
28                                               103
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 104 of 141 Page ID
                                        #:493


1    the Defendant City had a custom, practice or policy or failed to train Officer
2    McBride that led to her use of deadly force on this occasion. There is absolutely no
3
     logical connection between Plaintiff’s cited legal authorities and the relevancy of
4
     the information sought.
5
           In addition, as set forth above, use of force investigations are privileged and
6
     protected from public disclosure. In hopes of assuring law enforcement officers act
7
     appropriately, the California Legislature enacted section 832.5 of the Penal Code,
8
     which mandates law enforcement agencies to assure a procedure is undertaken to
9
     investigate citizens’ complaints against its officers. Pena v. Municipal Court, 96
10
     Cal.App.3d 77, 82 (1979). However, records and personnel files of an officer are
11
     generally protected from public disclosure. See Cal. Pen. Code § 832.7(a) (“the
12

13
     personnel records of peace officers and custodial officers and records maintained

14
     by any state or local agency pursuant to Section 832.5, or information obtained from

15   these records, are confidential and shall not be disclosed in any criminal or civil
16   proceeding. . . .”); see also Cal. Gov’t Code § 6254(f) (preventing dissemination of
17   police administrative and investigatory files). Thus, Plaintiff’s requests for every
18   disciplinary measure or complaint, if any, filed against Officer McBride are not only
19   irrelevant, but is generally privileged unless Plaintiff can articulate some ground or
20   basis for an exception. Plaintiff has failed to do so in this case.
21         Accordingly, if the Court orders that any other use of force investigations be
22   produced, if any exist, they should be limited to other uses of deadly force and those
23   that pre-date this incident. Everything else should be excluded. Before ordering
24
     that other use of force investigations, if any, be produced Defendant City would
25
     request an in camera review to determine if the Court believes that are responsive
26
     and warrant production.
27

28                                             104
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 105 of 141 Page ID
                                        #:494


1          E.     Plaintiff’s RFPs 33 and 43
2          As with Plaintiff MLH’s RFPs #31 and 34, RFPs #33 and 43 are irrelevant,
3
     overbroad, violate FRCP 26, and are barred by privilege and privacy laws. Thus,
4
     the same arguments set forth above apply equally herein.
5
           RFP #33 seeks all crime and/or arrest reports and other materials wherein
6
     Officer McBride is a victim or witness. This request is overbroad and seeks
7
     documents that are wholly irrelevant and disproportional to the needs of this case.
8
     Whether Officer McBride was a victim or witness to another incident has no bearing
9
     on any of the issues raised in this case. There simply is no relevance, and Plaintiff
10
     has not presented any valid arguments as to how this request is relevant to liability
11
     in this case. In addition, the materials sought concern third persons who have
12

13
     privacy rights. Production of such records would implicate unwarranted intrusion

14
     into third party privacy rights without any good cause. In addition, these materials

15   are privileged and confidential and should not be disclosed. Further, Plaintiff’s
16   request is burdensome and harassing. In order to locate documents responsive to
17   this request, Defendant City and its counsel would have to manually review every
18   crime and arrest report and digital media for a six-year period. Defendant City does
19   not have a “magic” button it can push to easily locate documents responsive to this
20   request. Plaintiff’s motion to compel a response to RFP #33 should be denied
21   entirely.
22         The same arguments apply with respect to RFP #43, which seeks all tort
23   claims identifying Officer McBride. As it is written, this request is vague and
24
     overbroad. To the extend this request seeks the Tort Claims at issue in this case,
25
     those tort claims are equally available to Plaintiff. To the extent this request seeks
26
     other tort claims, it violates FRCP 26. Citizens are free to file tort claims on
27
     anything. Even if a citizen files a tort claim alleging some wrongdoing, it is just an
28                                             105
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 106 of 141 Page ID
                                        #:495


1    allegation. Tort claims are not an investigation. Thus, production of tort claims
2    would not prove or disprove anything of consequence in this action. Plaintiff has
3
     not made any showing as to how an unsubstantiated tort claim alleging wrongdoing
4
     has any bearing on the issues in this case or why such documents should be
5
     produced. Accordingly, Plaintiff’s motion to compel RFP #43 should be denied.
6
           F.     Plaintiff’s Request For Monetary Sanctions Should Be Denied.
7
           As set forth more fully below following Officer McBride’s contentions
8
     concerning Plaintiff MLH’s discovery, Plaintiff’s request for monetary sanctions
9
     also should be denied. In addition to the arguments set forth below, Plaintiff has
10
     unnecessarily raised issues that were already addressed by the Court during the
11
     IDC and on categories that Defendants indicated they would produce subject to a
12

13
     protective order. Plaintiffs waited months to serve a proposed draft and now

14
     complain that Defendants are trying to thwart Plaintiffs’ efforts at discovery.

15   Defendants should not be subject to sanctions when there are genuine disputes over
16   the discovery requests, including the scope of those requests and their invasion of
17   privileges and privacy rights.
18

19   PLAINTIFF’S REQUESTS FOR PRODUCTION OF DOCUMENTS TO
20   DEFENDANT MCBRIDE AND RESPONSES
21   REQUEST FOR PRODUCTION NO. 18:
22         Any and all COMMUNICATION made between YOU and TARAN
23   TACTICAL INNOVATIONS from January 1, 2015 to present.
24
     RESPONSE TO REQUEST NO. 18:
25
           Defendant objects to this request to the extent it is harassing and does not
26
     seek information or evidence likely to lead to the discovery of admissible evidence.
27
     Furthermore, Defendant objects as the requested information violates Defendant’s
28                                            106
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 107 of 141 Page ID
                                        #:496


1    right to privacy. Plaintiff is invited to meet and confer as to the relevance of the
2    information requested as well as what specific information is sought.
3
     REQUEST FOR PRODUCTION NO. 20:
4
           Any and all videos which depict you training and/or shooting at any of the
5
     TARAN TACTICAL INNOVATIONS training facilities, from January 1, 2015 to
6
     present.
7
     RESPONSE TO REQUEST NO. 20:
8
           Defendant objects to this request to the extent it is harassing and does not
9
     seek information or evidence likely to lead to the discovery of admissible evidence.
10
     Furthermore, Defendant objects as the requested information violates Defendant’s
11
     right to privacy. Plaintiff is invited to meet and confer as to the relevance of the
12

13
     information requested as well as what specific information is sought.

14
     REQUEST FOR PRODUCTION NO. 21:

15         Any and all photographs which depict you training and/or shooting at any of
16   the TARAN TACTICAL INNOVATIONS training facilities, from January 1, 2015
17   to present.
18   RESPONSE TO REQUEST NO. 21:
19         Defendant objects to this request to the extent it is harassing and does not
20   seek information or evidence likely to lead to the discovery of admissible evidence.
21   Furthermore, Defendant objects as the requested information violates Defendant’s
22   right to privacy. Plaintiff is invited to meet and confer as to the relevance of the
23   information requested as well as what specific information is sought.
24
     REQUEST FOR PRODUCTION NO. 22:
25
           Any and all COMMUNICATION made between YOU and DILLON
26
     PRECISION from January 1, 2015 to present.
27
     RESPONSE TO REQUEST NO. 22:
28                                             107
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 108 of 141 Page ID
                                        #:497


1          Defendant objects to this request to the extent it is harassing and does not
2    seek information or evidence likely to lead to the discovery of admissible evidence.
3
     Furthermore, Defendant objects as the requested information violates Defendant’s
4
     right to privacy. Plaintiff is invited to meet and confer as to the relevance of the
5
     information requested as well as what specific information is sought.
6
     REQUEST FOR PRODUCTION NO. 24:
7
           Any and all COMMUNICATION made between YOU and TARAN
8
     TACTICAL INNOVATIONS from May 21, 2015 to present.
9
     RESPONSE TO REQUEST NO. 24:
10
           Defendant objects to this request to the extent it is harassing and does not
11
     seek information or evidence likely to lead to the discovery of admissible evidence.
12

13
     Furthermore, Defendant objects as the requested information violates Defendant’s

14
     right to privacy. Plaintiff is invited to meet and confer as to the relevance of the

15   information requested as well as what specific information is sought.
16   REQUEST FOR PRODUCTION NO. 25:
17         Any and all profiles, postings, or messages (including status updates, wall
18   comments, causes joined, groups joined, activity streams, blog entries) from any
19   and all Social Networking Service Applications (which shall mean and include
20   Facebook, Instagram, Twitter, Snapchat, WhatsApp and TikTok) for the relevant
21   time period that reveal, refer, or relate to any firearms training not provided to you
22   by the CITY. [Please note: Plaintiffs are aware that prior to this lawsuit Defendant
23   MCBRIDE held a rather large social media presence but has recently deleted all
24
     social media accounts. This request is made to apply to all deleted AND active
25
     accounts.]
26
     RESPONSE TO REQUEST NO. 25:
27

28                                             108
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 109 of 141 Page ID
                                        #:498


1          Defendant objects to this request to the extent it is harassing and does not
2    seek information or evidence likely to lead to the discovery of admissible evidence.
3
     Defendant also objects to this request to the extent it is vague and ambiguous as to
4
     the referenced “firearm training.” Defendant further objects as this request seeks
5
     information and materials in the care, custody and control of third parties as it is
6
     not limited to information, profiles postings, messages, etc. posted or promulgated
7
     by Defendant or on any account/platform/website that Defendant has access.
8
     Furthermore, Defendant objects as the requested information violates Defendant’s
9
     right to privacy. Finally, Defendant objects to this request to the extent it is
10
     overbroad as to time. Without waiving said objections, limiting the request to
11
     information posted by or on behalf of Defendant from January 1, 2020 to the
12

13
     current and interpreting said phrase as seeking information related to formal

14
     training programs, classes or the like, Defendant responds as follows: After a

15   diligent search, no documents responsive to this request are known to exist in
16   Defendant’s care, custody or control.
17   REQUEST FOR PRODUCTION NO. 26:
18         Any and all profiles, postings, or messages (including status updates, wall
19   comments, causes joined, groups joined, activity streams, blog entries) from any
20   and all Social Networking Service Applications (which shall mean and include
21   Facebook, Instagram, Twitter, Snapchat, WhatsApp and TikTok) for the relevant
22   time period that reveal, refer, or relate to any firearms shooting competitions in
23   which YOU participated in. [Please note: Plaintiffs are aware that prior to this
24
     lawsuit Defendant MCBRIDE held a rather large social media presence but has
25
     recently deleted all social media accounts. This request is made to apply to all
26
     deleted AND active accounts.]
27
     RESPONSE TO REQUEST NO. 26:
28                                              109
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 110 of 141 Page ID
                                        #:499


1          Defendant objects to this request to the extent it is harassing and does not
2    seek information or evidence likely to lead to the discovery of admissible evidence.
3
     Defendant also objects to this request to the extent it is vague and ambiguous as to
4
     the referenced firearms shooting competitions.” Defendant further objects as this
5
     request seeks information and materials in the care, custody and control of third
6
     parties as it is not limited to information, profiles postings, messages, etc. posted or
7
     promulgated by Defendant or on any account/platform/website that Defendant has
8
     access. Furthermore, Defendant objects as the requested information violates
9
     Defendant’s right to privacy. Finally, Defendant objects to this request to the
10
     extent it is overbroad as to time.
11
     REQUEST FOR PRODUCTION NO. 27:
12

13
           YOUR entire Facebook profile/website/webpage(s). In order to create the

14
     zip file that contains the profile, please sign on to your Facebook account and click

15   “settings” from the dropdown menu at the top right side of your Facebook page.
16   On this newly opened screen, select “Your Facebook Information” at the upper left
17   hand comer of the page. Once directed to the “Your Facebook Information” page,
18   select “View” next to “Download Your Information.” On the “Download Your
19   Information” page, you will be prompted to select a date range. Select “All of my
20   data.” Then select “Create File.” Facebook will then compile the zip file and will
21   let you know when it has created your file so that you can download it to a
22   preferred device. This process takes between thirty and ninety (30-90) minutes,
23   depending on the size of YOUR profile. Please save YOUR Facebook profile to a
24
     CD or USB flash drive and provide it as YOUR response. Reasonable expenses for
25
     this disc or drive will be paid.
26
     RESPONSE TO REQUEST NO. 27:
27

28                                             110
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 111 of 141 Page ID
                                        #:500


1          Defendant objects to this request to the extent it is harassing and does not
2    seek information or evidence likely to lead to the discovery of admissible evidence.
3
     Defendant further objects as this request seeks information and materials in the
4
     care, custody and control of third parties as it is not limited to information, profiles
5
     postings, messages, etc. posted or promulgated by Defendant or on any
6
     account/platform/website that Defendant has access. Furthermore, Defendant
7
     objects as the requested information violates Defendant’s right to privacy. Finally,
8
     Defendant objects to this request to the extent it is overbroad as to time.
9
     REQUEST FOR PRODUCTION NO. 28:
10
           YOUR entire Twitter archive, as applicable. To get YOUR archive, go to the
11
     Settings area and look for the “Your Twitter archive” feature. A link will be
12

13
     emailed to YOU that leads to a page within Twitter where YOU can complete the

14
     download. After clicking download, a zip file will be downloaded. When YOU

15   open that file, YOU will see a readme file with instructions. Please provide the zip
16   file containing your Twitter archive on a CD or USB flash-drive and provide it as
17   YOUR response. Reasonable expenses for this disc or drive will be paid.
18   RESPONSE TO REQUEST NO. 28:
19         Defendant objects to this request to the extent it is harassing and does not
20   seek information or evidence likely to lead to the discovery of admissible evidence.
21   Defendant further objects as this request seeks information and materials in the
22   care, custody and control of third parties as it is not limited to information, profiles
23   postings, messages, etc. posted or promulgated by Defendant or on any
24
     account/platform/website that Defendant has access. Furthermore, Defendant
25
     objects as the requested information violates Defendant’s right to privacy. Finally,
26
     Defendant objects to this request to the extent it is overbroad as to time.
27
     REQUEST FOR PRODUCTION NO. 29:
28                                             111
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 112 of 141 Page ID
                                        #:501


1          A copy of YOUR Instagram account, as applicable. To do so, please login to
2    YOUR Instagram account. Go to YOUR profile page and select the menu icon at
3
     the upper right hand comer. Once on the menu page, select “Settings” at the
4
     bottom of the page. On the next page, select “Data Download.” YOU will then be
5
     directed to enter the email address associated with your account. After entering
6
     YOUR email address, select “Request Download.” YOU will then be directed to
7
     enter your password. A file will be created and a link will be emailed to you within
8
     forty-eight (48) hours of your request. Please save this entire file to a CD or USB
9
     flashdrive. Reasonable expenses for this disc or drive will be paid.
10
     RESPONSE TO REQUEST NO. 29:
11
           Defendant objects to this request to the extent it is harassing and does not
12

13
     seek information or evidence likely to lead to the discovery of admissible evidence.

14
     Defendant further objects as this request seeks information and materials in the

15   care, custody and control of third parties as it is not limited to information, profiles
16   postings, messages, etc. posted or promulgated by Defendant or on any
17   account/platform/website that Defendant has access. Furthermore, Defendant
18   objects as the requested information violates Defendant’s right to privacy. Finally,
19   Defendant objects to this request to the extent it is overbroad as to time
20   REQUEST FOR PRODUCTION NO. 30:
21         A copy of YOUR Tik Tok account, as applicable. To do so, please login to
22   YOUR account. Go to YOUR profile page and select the menu icon at the upper
23   right hand comer. Once on the menu page, select “Setting” at the bottom of the
24
     page. On the next page, select “Data Download.” YOU will then be directed to
25
     enter the email address associated with your account. After entering YOUR email
26
     address, select “Request Download.” YOU will then be directed to enter your
27
     password. A file will be created and a link will be emailed to you within forty-
28                                             112
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 113 of 141 Page ID
                                        #:502


1    eight (48) hours of your request. Please save this entire file to a CD or USB
2    flashdrive. Reasonable expenses for this disc or drive will be paid.
3
     RESPONSE TO REQUEST NO. 30:
4
           Defendant objects to this request to the extent it is harassing and does not
5
     seek information or evidence likely to lead to the discovery of admissible evidence.
6
     Defendant further objects as this request seeks information and materials in the
7
     care, custody and control of third parties as it is not limited to information, profiles
8
     postings, messages, etc. posted or promulgated by Defendant or on any
9
     account/platform/website that Defendant has access. Furthermore, Defendant
10
     objects as the requested information violates Defendant’s right to privacy. Finally,
11
     Defendant objects to this request to the extent it is overbroad as to time.
12

13
     PLAINTIFF’S CONTENTIONS WITH RESPECT TO REQUESTS FOR

14
     PRODUCTION OF DOCUMENTS TO MCBRIDE

15

16         Defendant 23-year old Toni McBride is the key defendant in this case.
17   Among other officers at scene, she was the only one who pulled the trigger
18   multiple times at disabled Hernandez killing him. Her credibility is a central
19   aspect of this case. She is an attractive media star, cop influencer, a gun carrying
20   model, a modern-day sharpshooter a la Anne Oakley, voraciously competing at
21   shooting ranges and openly boasting about it on social media and in the public
22   forum. By all accounts, she is a public figure and cannot hide behind privacy in
23   her responses to RFPs or ROGs. See Exhibit I for social media images and
24
     clippings of McBride. She is marketing and modeling for firearms and
25
     ammunition dealers/sellers and competes at shooting ranges such as Taran
26
     Tactical Innovations and Dillon Precision Enterprises, openly publicized on her
27
     various social media pages. Significantly, immediately after this incident,
28                                             113
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 114 of 141 Page ID
                                        #:503


1    McBride deleted her social media accounts as an effort to destroy material
2    evidence relevant to this lawsuit. UPDATE: Company Selling L.A. Cop-Influencer Gear Removes
3
     Item After Cease and Desist From City ~ L.A. TACO All    her videos at shooting ranges on
4
     Facebook were deleted. Declaration of Counsel. After this was exposed by the
5
     public and in this lawsuit by Plaintiffs here who demanded preservation of any
6
     such evidence, she came back on her social media pages on Facebook, Twitter,
7
     Instagram and Tik-Tok and continues boasting about her role as a cop and her
8
     shooting capabilities. She also makes offensive comments that display a very
9
     immature attitude unbecoming of a peace officer about the shooting of Daniel and
10
     police in general. Taran Tactical Innovations on Instagram: “Here we gooo😝🔫💫 . @megants
11
     @_missy_lynn_ @87elevenaction @toni_mcbride @lapdhq @trijicon @streamlightinc @techwearusa
12
     @511tactical…”; Taran Tactical Innovations - Posts | Facebook;
13           Plaintiff is not sure what more was deleted/removed prior to McBride’s
14   coming back on her public pages and that is why Plaintiff requests her entire
15
     social media accounts to determine what exactly McBride destroyed/deleted.
16
     Defendants’ entire social media accounts are subject to disclosure upon a showing
17
     of relevancy. Especially a public figure of notoriety and a public official as
18
     McBride may not seek to hide behind her privacy rights to conceal evidence
19
     about her true motivations behind the shooting, the extent she understands her
20
     role as a peace officer as opposed to that of a competitive shooter and her
21
     consciousness of guilt if any related to the death of Daniel. Identical discovery
22
     requests were ordered to be produced in their entirety in the Central District and
23
     Plaintiff was charged with spoliation for deleting his Facebook account. Holloway
24

25
     v. County of Orange, et al. 8:19-cv-01514-DOC-DFM, Doc. 147. See also Reid v.

26
     Ingerman Smith LLP, 2012 WL 6720752, at *1 (E.D.N.Y. 2012); Glazer v.

27   Fireman's Fund Ins. Co., 2012 WL 1197167, at *3 (S.D.N.Y. 2012); Bass ex rel.
28                                                         114
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 115 of 141 Page ID
                                        #:504


1    Bass v. Miss Porter's Sch., 2009 WL 3724968, at *1 (D. Conn. 2009); Holter v.
2    Wells Fargo & Co., 281 F.R.D. 340 (D.Minn. May 4, 2011); Farley v. Callais &
3
     Sons LLC, 2015 U.S. Dist. LEXIS 104533, 2015 WL 4730729.
4
           The same arguments applicable to disclosure of McBride’s personnel files
5
     apply with the same force to her social media accounts and any objections should
6
     be overruled in favor of broad disclosure. As a peace officer she should expect her
7
     social media accounts be subject to more scrutiny than an ordinary citizen. Any
8
     review of her public social media pages displays no intent whatsoever to keep her
9
     photos, relationships or friends private. She has posted public photos/videos of
10
     her with family or friends, her wedding, videos at hospital, videos at shooting
11
     ranges. She is acting by all means as a celebrity and cannot shield herself in this
12

13
     lawsuit behind the disingenuous claims of privacy. See Exhibit I. In light of

14
     McBride’s public persona and her maintenance of her social media accounts

15   generally public, the public versus private distinction does not apply here to limit
16   Plaintiff’s access to her accounts:
17         Where … a party maintains only a private Facebook profile and his public
18         page posts nothing other than information about the user’s identity, … a
19         court can infer from the social networking purpose of Facebook, and the
20         applications it offers to users such as the posting of photographs, that users
21         intend to take advantage of Facebook’s applications to make personal
22         information available to others. From the general information about
23         Facebook filed on this motion it is clear that Facebook is not used as a
24
           means by which account holders carry on monologues with themselves; it is
25
           a device by which users share with others information about who they are,
26
           what they like, what they do, and where they go, in varying degrees of
27
           detail. Facebook profiles are not designed to function as diaries; they enable
28                                            115
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 116 of 141 Page ID
                                        #:505


1          users to construct personal networks or communities of “friends” with whom
2          they can share information about themselves, and on which “friends” can
3
           post information about the user. A party who maintains a private, or limited
4
           access, Facebook profile stands in no different position than one who sets up
5
           a publicly-available profile. Both are obliged to identify and
6
           produce any postings that relate to any matter in issue in an action.
7
           Leduc v. Roman 2009 Carswell Ont 843 (Feb. 20, 2009)
8
           If McBride has not destroyed any relevant evidence, she should be ordered
9
     to produce it. If she has destroyed evidence, Plaintiff is entitled to sanctions
10
     against McBride for spoliation of evidence under FRCP 37(e) for deleting her
11
     page immediately after the shooting. John v. Cty. of Lake, No. 18-CV-06935-
12

13
     WHA (SK), 2020 WL 3630391, at *5–6 (N.D. Cal. July 3, 2020). “Spoliation

14
     refers to the destruction or material alteration of evidence or to the failure to

15   preserve property for another’s use as evidence in pending or reasonably
16   foreseeable litigation.” Mercado Cordova v. Walmart Puerto Rico, Inc., 2019 WL
17   3226893, *3 (D.P.R. July 16, 2019). “The party that puts forth the spoliation
18   argument “must proffer evidence sufficient to permit the trier to find that the target
19   knew of (a) the claim (that is, the litigation or the potential for litigation), and (b)
20   the [evidence’s] potential relevance to that claim.” Testa v. Wal-Mart Stores, Inc.,
21   144 F.3d 173, 177 (1st Cir. 1998). The proponent of a spoliation claim “need not
22   offer direct evidence of a coverup to set the stage for the adverse inference.
23   Circumstantial evidence will suffice.” Mercado, 2019 WL 3226893 at *3.
24
           In Mercado, the court held that Mercado’s deletion of her Facebook account
25
     amounted to spoliation because “she undoubtedly knew of the claim and of the
26
     evidence’s potential relevance, especially after the order issued by the Magistrate
27
     Judge at a mediation conference.” Id. “Even if Mercado deemed to have complied
28                                              116
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 117 of 141 Page ID
                                        #:506


1    with Walmart’s Facebook-related discovery requests by the time she deleted the
2    account, such deletion was improper when according to Walmart, Mercado’s
3
     disclosure of Facebook evidence was incomplete.” Id. “In that respect, Mercado’s
4
     deletion of her Facebook account may have caused prejudice to Walmart insofar as
5
     it precluded the latter from obtaining relevant metadata that would have been
6
     contained in the deleted Facebook page.” Id. As a sanction, the court imposed an
7
     adverse-inference jury instruction. Id. See also Gatto v. United Airlines, Inc. 2013
8
     U.S. Dist. Lexis 41909 (D.N.J. March 25, 2013); Allied Concrete Co. v. Lester,
9
     736 S.E.2d 699 (2013)
10
           Courts in the Ninth Circuit apply a three-element test when a party seeks an
11
     adverse inference instruction on grounds of spoliation: (1) the person in control of
12

13
     the evidence had the obligation to preserve relevant evidence at the time of

14
     destruction, (2) the evidence was destroyed with a culpable state of mind, and (3)

15   the evidence was relevant. Nutrition Distribution LLC v. PEP Research, LLC, No.
16   16CV2328-WQH-BLM, 2018 WL 6323082, at *4 (2018). For the second element,
17   a “culpable state of mind” requires a showing of at least negligence. For the third
18   element, “relevance” requires a showing that the evidence was destroyed in bad
19   faith, or that the evidence would have helped the innocent party prove its claim or
20   defense. “Bad faith is not a prerequisite showing for evidentiary sanctions, but the
21   spoliating party's mental state is relevant to determining the appropriate harshness
22   of the sanctions.” Id. A party's destruction of potentially relevant digital evidence
23   out of an intent to protect their privacy is insufficient to stop a recommendation for
24
     spoliation instruction to the jury so long as the files destroyed were not entirely
25
     private and were potentially relevant to the ongoing litigation. Leon v. IDX
26
     Systems Corp., 464 F.3d 951, 959 (9th Cir. 2006)
27

28                                             117
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 118 of 141 Page ID
                                        #:507


1            A trial court also has the broad discretionary power to permit a jury to draw
2    an adverse inference from the destruction or spoliation against the party or witness
3
     responsible for that behavior. Akiona v. United States,938 F.2d 158 (9th Cir. 1991).
4
     As Unigard correctly notes, however, a finding of "bad faith" is not a prerequisite
5
     to this corrective procedure. 982 F.2d at 368-70 n. 2. Surely a finding of bad faith
6
     will suffice, but so will simple notice of "potential relevance to the
7
     litigation."Akiona, 938 F.2d at 161. Glover v. Bic Corp., 6 F.3d 1318, 1329 (9th
8
     Cir. 1993)
9

10
              Clearly, McBride has a large public presence and her social media
11
     accounts where she posts about her shooting competitions, her role as a peace
12
     officer, and statements (direct or indirect) about this incident are relevant to this
13
     lawsuit to attack her credibility and unexpressed motives behind the shooting
14
     and/or consciousness of guilt. At the time immediately after the shooting she
15
     became aware that her glorified and highly publicized shooting competitions on
16
     social media would become relevant in this case and closed her accounts, by
17
     deleting her videos at shooting ranges on Facebook and other pages. This was
18
     done with intent to destroy material relevant evidence to this lawsuit.
19

20
             Her shooting range arrangements/contracts/communications with Taran
21
     Tactical or Dillon Precision Enterprise are relevant to this lawsuit to demonstrate
22
     her propensity in engaging in shooting and how she overreacted on the day of the
23
     incident by pulling the trigger multiple times at non-threatening and instantly
24
     disabled Daniel Hernandez instead of utilizing non-lethal force and engaging in
25
     team efforts with other officers at scene who did not resort to lethal force. As the
26

27
     Police Commission ruled in December, the final two shots were out of policy.
     Police Commission: LAPD Shooting of Daniel Hernandez Partially Out Of Policy: LAist ; L.A. Police Commission
28                                                     118
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 119 of 141 Page ID
                                        #:508


1    rules officer broke policy with final two shots in Hernandez killing - Los Angeles Times (latimes.com); LAPD
     officer broke policy with final two shots that killed 38-year-old, Police Commission rules | KTLA; Police
2
     Commission: Toni McBride Violated Policy | Los Angeleno. Plaintiff’s        claim is that all shots were
3

4
     unnecessary and her immature hunger for guns and her training not within the

5
     LAPD but at shooting ranges, were directly responsible for the death of

6    Hernandez. Her social media accounts are relevant and admissible to this lawsuit
7    and she has expressly waived her privacy rights by posing herself as a media star
8    and by all definition, is a public figure of notoriety who has openly discussed not
9    only her love for guns and superior shooting skills at shooting facilities, but has
10   also defended herself on social media accounts about this lawsuit. For RFPs 18,
11   20-22, 24 the Court may narrow the relevant time frame for disclosure of these
12   records, within a year before and after the shooting up to the production date. Had
13   McBride’s attorney in good faith met and conferred with Plaintiff’s counsel at the
14   Rule 37 conference, Plaintiff would be amenable to narrow the scope and time
15
     frame of these RFPs. Declaration of Counsel.
16
             Therefore, McBride’s objections to Plaintiff’s RFPs seeking records related
17
     to her arrangements or communications with the shooting dealers are frivolous
18
     and the claim that such records are not in her immediate possession, lacks
19
     credence. If a party has reasonable control and access to records, that party cannot
20
     be said to be not in possession of records. McBride can access the records sought
21
     by Plaintiff by a request to those firearms dealers to produce those records
22
     necessary to Plaintiff, who has no equal access to them.
23

24

25
     PLAINTIFF’S INTERROGATORIES TO DEFENDANT MCBRIDE

26
     INTERROGATORY NO. 7:

27

28                                                           119
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 120 of 141 Page ID
                                        #:509


1          If you have ever been the subject of any personnel complaint made by a
2    civilian or arising from within the Los Angeles Police Department, or any other
3
     police department by whom you have been employed, state the date the complaint
4
     was made, the complainant's name, and nature of the complaint.
5
     RESPONSE TO INTERROGATORY NO. 7:
6
           Defendant objects to Plaintiff’s request as it is vague, ambiguous and
7
     overbroad as well as to the extent this request impermissibly suggests that
8
     Defendant engaged in any inappropriate conduct. Defendant also objects on the
9
     grounds that this request seeks the information that is confidential, privileged and
10
     protected from discovery pursuant to California Evidence Code section 1043,
11
     California Penal Code sections 832.5, 832.7 and 832.8 and the privilege of self-
12

13
     critical analysis. In addition, Defendant objects on the grounds that this request

14
     seeks information which is privileged pursuant to California Evidence Code

15   sections 1040, et seq. and California Government Code section 6254. Defendant
16   further objects on the ground that disclosure of the requested materials would
17   violate her privacy rights under the Constitution, “official information” or
18   “governmental privilege” accorded under state and federal law. Some information
19   is not subject to disclosure absent prior in-camera judicial review to determine
20   whether the need for continued confidentiality is outweighed by the litigant’s needs
21   for the information sought. Kerr v. United States District Court, 511 F.2d 192 (9th
22   Cir. 1975), aff. 426 U.S. 394, 96 S. Ct. 2119 (1976); Martinez v. City of Stockton,
23   132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653
24
     (N.D.Cal. 1987); Cal. Constitution, Article I, Sec. I; Cal. Pen. Code §§ 832.5,
25
     832.7 and 832.8; Cal. Evid. Code §§ 915, 944, 1012, 1040, et seq. and 1043, et
26
     seq.; Cal. Gov. Code § 6254. The information requested is protected by the
27

28                                            120
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 121 of 141 Page ID
                                        #:510


1    privilege and doctrine of self-critical analysis. See Dowling v. American Hawaii
2    Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).
3
     INTERROGATORY NO. 9:
4
           If any agency or person other than the plaintiffs have ever accused you of
5
     physical abuse, state that person's name, date of the accusation and nature of the
6
     abuse alleged.
7
     RESPONSE TO INTERROGATORY NO. 9:
8
           Defendant objects to Plaintiff’s request as it is vague, ambiguous and
9
     overbroad especially as to the term “physical abuse” as well as to the extent this
10
     request impermissibly suggests that Defendant engaged in any inappropriate
11
     conduct. Defendant also objects on the grounds that this request seeks the
12

13
     information that is confidential, privileged and protected from discovery pursuant

14
     to California Evidence Code section 1043, California Penal Code sections 832.5,

15   832.7 and 832.8 and the privilege of self-critical analysis. In addition, Defendant
16   objects on the grounds that this request seeks information which is privileged
17   pursuant to California Evidence Code sections 1040, et seq. and California
18   Government Code section 6254. Defendant further objects on the ground that
19   disclosure of the requested materials would violate her privacy rights under the
20   Constitution, “official information” or “governmental privilege” accorded under
21   state and federal law. Some information is not subject to disclosure absent prior in-
22   camera judicial review to determine whether the need for continued confidentiality
23   is outweighed by the litigant’s needs for the information sought. Kerr v. United
24
     States District Court, 511 F.2d 192 (9th Cir. 1975), aff. 426 U.S. 394, 96 S .Ct.
25
     2119 (1976); Martinez v. City of Stockton, 132 F.R.D. 677 (E.D. Cal. 1990); Kelly
26
     v. City of San Jose, 114 F.R.D. 653 (N.D.Cal. 1987); Cal. Constitution, Article I,
27
     Sec. I; Cal. Pen. Code §§ 832.5, 832.7 and 832.8; Cal. Evid. Code §§ 915, 944,
28                                            121
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 122 of 141 Page ID
                                        #:511


1    1012, 1040, et seq. and 1043, et seq.; Cal. Gov. Code § 6254. The information
2    requested is protected by the privilege and doctrine of self-critical analysis. See
3
     Dowling v. American Hawaii Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).
4
     INTERROGATORY NO. 11:
5
           If you have, either as a peace officer, or as a civilian, claimed to be a victim
6
     of a crime of battery (California Penal Code § 242), or assault (Penal Code § 240),
7
     or resisting peace officer (Penal Code § 148), or battery (Penal Code § 243),_or
8
     resisting peace officer (Penal Code § 69), assault (Penal Code § 245), please
9
     identify each such event by date, suspect name, suspect address, suspect date of
10
     birth, and report number. You may answer this interrogatory by providing a copy
11
     of the writings in accordance with FRCP 33(d).
12

13
     RESPONSE TO INTERROGATORY NO. 11:

14
           Defendant objects to Plaintiff’s request as it is vague, ambiguous and

15   overbroad as well as to the extent this request impermissibly suggests that
16   Defendant engaged in any inappropriate conduct. Defendant also objects on the
17   grounds that this request seeks the information that is confidential, privileged and
18   protected from discovery pursuant to California Evidence Code section 1043,
19   California Penal Code sections 832.5, 832.7 and 832.8 and the privilege of self-
20   critical analysis. In addition, Defendant objects on the grounds that this request
21   seeks information which is privileged pursuant to California Evidence Code
22   sections 1040, et seq. and California Government Code section 6254. Defendant
23   further objects on the ground that disclosure of the requested materials would
24
     violate her privacy rights under the Constitution, “official information” or
25
     “governmental privilege” accorded under state and federal law. Some information
26
     is not subject to disclosure absent prior in-camera judicial review to determine
27
     whether the need for continued confidentiality is outweighed by the litigant’s needs
28                                             122
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 123 of 141 Page ID
                                        #:512


1    for the information sought. Kerr v. United States District Court, 511 F.2d 192 (9th
2    Cir. 1975), aff. 426 U.S. 394, 96 S. Ct. 2119 (1976); Martinez v. City of Stockton,
3
     132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653
4
     (N.D.Cal. 1987); Cal. Constitution, Article I, Sec. I; Cal. Pen. Code §§ 832.5,
5
     832.7 and 832.8; Cal. Evid. Code §§ 915, 944, 1012, 1040, et seq. and 1043, et
6
     seq.; Cal. Gov. Code § 6254. The information requested is protected by the
7
     privilege and doctrine of self-critical analysis. See Dowling v. American Hawaii
8
     Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).
9
     INTERROGATORY NO. 12:
10
           If you have ever served as a peace officer, police cadet, police reserve or in a
11
     civilian capacity for any law enforcement or correctional agency prior to your
12

13
     employment by the Los Angeles Police Department, identify the agency, your title

14
     and the inclusive periods.

15   RESPONSE TO INTERROGATORY NO. 12:
16         Defendant objects to Plaintiff’s request as it is vague, ambiguous and
17   overbroad as well as to the extent this request impermissibly suggests that
18   Defendant engaged in any inappropriate conduct. Defendant also objects on the
19   grounds that this request seeks the information that is confidential, privileged and
20   protected from discovery pursuant to California Evidence Code section 1043,
21   California Penal Code sections 832.5, 832.7 and 832.8 and the privilege of self-
22   critical analysis. In addition, Defendant objects on the grounds that this request
23   seeks information which is privileged pursuant to California Evidence Code
24
     sections 1040, et seq. and California Government Code section 6254. Defendant
25
     further objects on the ground that disclosure of the requested materials would
26
     violate her privacy rights under the Constitution, “official information” or
27
     “governmental privilege” accorded under state and federal law. Some information
28                                            123
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 124 of 141 Page ID
                                        #:513


1    is not subject to disclosure absent prior in-camera judicial review to determine
2    whether the need for continued confidentiality is outweighed by the litigant’s needs
3
     for the information sought. Kerr v. United States District Court, 511 F.2d 192 (9th
4
     Cir. 1975), aff. 426 U.S. 394, 96 S. Ct. 2119 (1976); Martinez v. City of Stockton,
5
     132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653
6
     (N.D.Cal. 1987); Cal. Constitution, Article I, Sec. I; Cal. Pen. Code §§ 832.5,
7
     832.7 and 832.8; Cal. Evid. Code §§ 915, 944, 1012, 1040, et seq. and 1043, et
8
     seq.; Cal. Gov. Code § 6254. The information requested is protected by the
9
     privilege and doctrine of self-critical analysis. See Dowling v. American Hawaii
10
     Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).
11
     INTERROGATORY NO. 13:
12

13
           If you have ever been demoted, reduced in rank, transferred, disciplined, or

14
     terminated, state the circumstances, including dates, file number and identities of

15   your accuser(s). [Identity means the person's name, date of birth, home address and
16   phone, and business address and phone]
17   RESPONSE TO INTERROGATORY NO. 13:
18         Defendant objects to Plaintiff’s request as it is vague, ambiguous and
19   overbroad as well as to the extent this request impermissibly suggests that
20   Defendant engaged in any inappropriate conduct. Defendant also objects on the
21   grounds that this request seeks the information that is confidential, privileged and
22   protected from discovery pursuant to California Evidence Code section 1043,
23   California Penal Code sections 832.5, 832.7 and 832.8 and the privilege of self-
24
     critical analysis. In addition, Defendant objects on the grounds that this request
25
     seeks information which is privileged pursuant to California Evidence Code
26
     sections 1040, et seq. and California Government Code section 6254. Defendant
27
     further objects on the ground that disclosure of the requested materials would
28                                            124
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 125 of 141 Page ID
                                        #:514


1    violate her privacy rights under the Constitution, “official information” or
2    “governmental privilege” accorded under state and federal law. Some information
3
     is not subject to disclosure absent prior in-camera judicial review to determine
4
     whether the need for continued confidentiality is outweighed by the litigant’s needs
5
     for the information sought. Kerr v. United States District Court, 511 F.2d 192 (9th
6
     Cir. 1975), aff. 426 U.S. 394, 96 S. Ct. 2119 (1976); Martinez v. City of Stockton,
7
     132 F.R.D. 677 (E.D. Cal. 1990); Kelly v. City of San Jose, 114 F.R.D. 653
8
     (N.D.Cal. 1987); Cal. Constitution, Article I, Sec. I; Cal. Pen. Code §§ 832.5,
9
     832.7 and 832.8; Cal. Evid. Code §§ 915, 944, 1012, 1040, et seq. and 1043, et
10
     seq.; Cal. Gov. Code § 6254. The information requested is protected by the
11
     privilege and doctrine of self-critical analysis. See Dowling v. American Hawaii
12

13
     Cruises, Inc., 971 F.2d 423 (9th Cir. 1992).

14
     INTERROGATORY NO. 15:

15         Identify all firearms shooting ranges, or shooting competitions, shooting
16   training facilities by name, address and approximate dates, that you have attended
17   within the 5 years from the date of the incident up to the date of production.
18   RESPONSE TO INTERROGATORY NO. 15:
19         Defendant objects to this request to the extent it is harassing and does not
20   seek information or evidence likely to lead to the discovery of admissible evidence.
21   Defendant also objects to this request to the extent it is vague and ambiguous.
22   Furthermore, Defendant objects as the requested information violates Defendant’s
23   right to privacy.
24
     PLAINTIFF’S CONTENTIONS WITH RESPECT TO
25
     INTERROGATORIES TO MCBRIDE
26
           The Interrogatories posed to McBride in large part cover the same issues
27
     referenced by Plaintiff in inspection demands propounded to City and McBride.
28                                            125
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 126 of 141 Page ID
                                        #:515


1    But they are a necessary component of Plaintiff’s discovery requests because they
2    are verified by the Defendant under penalty of perjury, are relevant to her
3
     credibility. For the same reasons explored above, the objections are meritless and
4
     should have been withdrawn at the Rule 37 conference. Plaintiff has explored
5
     above in Plaintiff’s Contentions related to RFPs to City, how the objections posed
6
     by McBride should be overruled and these Interrogatories should be ordered.
7

8          Officer credibility is the fulcrum of winning and losing the case and for
9    that reason the courts don’t view the character trait as one that turns on 404(b)
10   admissibility grounds. Evidence bearing on a witness’s credibility is usually
11
     relevant because the witnesses’ truthfulness and candor are at issue in the case. See
12
     United States v. Hankey 203 F.3d 1160, 1171 (9th Cir. 2000); United States v.
13
     Jackson, 588 F.2d 1046, 1055 (5 Cir. 1979)(witnesses who take the stand put
14
     their character for truthfulness in issue; Crowe v. Bolduc 334 F.3d 124, 132 (1st
15
     Cir. 2003). The character traits made inadmissible by Rule 404(a) relates to
16
     character traits other than dishonesty. “The courts have long recognized that
17
     testimony regarding the reputation for truth and veracity in a community of a witness
18
     is relevant and, therefore, admissible. Osborne v. United States, 542 F.2d 1015 (8th
19
     Cir. 1976). See also Fed.R.Evid. 608; Neb.Rev.Stat. s 27-608 (Reissue 1975);
20
     McCormick, Evidence s 44 (2d Ed. 1972). The trial court erred in excluding the
21

22
     proffered testimony and the error was highly prejudicial.” Steinmark v. Parratt

23   427 F.Supp. 931, 936 -940 (D.C.Neb. 1977).
24         The Ninth Circuit has held that a specific past instance of a witness having
25   lied to a governmental agency is admissible. U.S. v. Reid, 634 F.2d 469, 473 (9th
26   Cir. 1980), cert. denied 102 S. Ct. 123, 454 U.S. 829, 70 L.Ed.2d 105. In Reid, a
27   mail fraud case, the Court held it was proper to allow the prosecution to question
28                                            126
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 127 of 141 Page ID
                                        #:516


1    the defendant about false statements he had made in a letter to a governmental
2    agency eight years earlier. The Court stated, "[a]ppellant placed his credibility in
3
     issue when he took the witness stand. Cross examination concerning the false
4
     statements in the letter was entirely proper to impeach appellant's general
5
     credibility.
6
            FRE 608(b)(1) gives the trial court discretion to permit cross-examination
7
     of a witness regarding specific instances of conduct concerning that witness's
8
     character for truthfulness or untruthfulness." Id. See also Lyda v. United States,
9
     321 F.2d 788 (9th Cir. 1963). The fact that the other victims’ arrests did not result
10
     in the defendant’s criminal conviction is irrelevant to the admissibility of the
11
     extrinsic dishonest event that bears on the witness' credibility. U.S. v. Bararic, 706
12

13
     F.2d 42, 66 (2d Cir. 1983)

14
            As stated above, an officer’s track records, if any, is admissible evidence

15   against the City of Los Angeles. See, Beck v. City of Pittsburgh, 89 F.3d 966 (3rd
16   Cit. 1996) (10 prior and subsequent misconduct complaints against defendant
17   officer admissible to show institutional indifference); Fletcher v. O’Donnell, 867
18   F.2d 791, 793-794, (3rd Cit. 1989) (error to exclude other complaints against the
19   defendant to prove Monell claim against employing police agency); Lewis v.
20   Hyland, 554 F.2d 93 (3rd Cir. 1977); Parrish v. Luckie, 963 F.2d 201 (8th Cir.
21   1992). Prior and subsequent misconduct, including misconduct by non-defendant
22   employees is relevant and admissible to the Monell cause of action. Larez v. City of
23   Los Angeles, 946 F.2d 630 (9th Cir. 1991); Foley v. City of Lowell, 948 F.2d 10
24
     (1st Cir. 1991); Bordanardo v. McLeod, 871 F.2d 1151 (1st Cir. 1989); Grandstaff
25
     v. City of Borger, 767 F.2d 161 (5th Cir. 1985); Webster v. City of Houston, 735
26
     F.2d 838 (5th Cir. 1984).
27

28                                             127
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 128 of 141 Page ID
                                        #:517


1          Her background history prior to hire is relevant to prove her unfitness to be a
2    peace officer and to attack her credibility and also prove the City failed to do
3
     proper background evaluation for hire under Gov. C. Sec. 1031(d), actionable
4
     under Monell claims.
5
           Furthermore, the greater the number of any complaints or use of force
6
     incidents by her, the more probative the evidence. As discussed more above, courts
7
     have repeatedly required Section 1983 plaintiffs to support their ‘custom’
8
     allegations with multiple, similar past incidents thereby demonstrating official
9
     knowledge and tacit approval of an unconstitutional course of conduct by
10
     municipal employees. See, Thompson v. City of Los Angeles, 885 F.2d 1439, 1443
11
     (9th Cir. 1989). (Dismissing Monnell ‘custom’ allegation where plaintiff fails to
12

13
     produce evidence of widespread abuses and practices... [which] are so pervasive as

14
     to have the force of law’); Bryant v. Maffucci 923 F.2d 979, 986 (2d Cir. 1991) (‘In

15   order to sustain [a section 1983 government ‘custom’] claim, more must be shown
16   than a single incident in which a plaintiff was denied a constitutional right’);
17   Rodriguez v. Avita, 871 F.2d 552 (5th Cir. 1989)(‘[A] single shooting incident by a
18   police officer [is] insufficient as a matter to law to establish the official policy
19   requisite to municipal liability under Section 1983.’ (emphasis added); Williams v.
20   City of Albany, 738 F.Supp. 499, 502 (M.D. Ga. 1900)(‘Municipal liability will not
21   be found to exist under a theory of respondeat superior in a Section 1983 action.
22   Nor can official municipal policy be established by proof of the occurrence of a
23   single incident of unconstitutional activity.’)
24
           It is this voluminous proof burden imposed on the 1983 plaintiffs that
25
     requires the information some of these Interrogatories seek. Defendant’s privilege,
26
     privacy and other objections are groundless for the same reasons they are
27
     groundless with respect to RFPs to the City above.
28                                              128
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 129 of 141 Page ID
                                        #:518


1          The fact that personnel complaints are part of the officer’s personnel
2    package also does not provide the defendant a privilege against answering these
3
     interrogatories under federal law. The answers are verified by the defendant herself
4
     and it should conform to the disclosures in response to the RFPs, her TEAMS
5
     report and the other items sought from the City by plaintiff’s RFPs. Any
6
     discrepancy would provide Plaintiff with impeachment grounds of McBride at
7
     trial. The blunderbuss “objection” is a repetition of the boilerplate applied to the
8
     Plaintiff’s RFPs and have as little worth as against this question as they do to the
9
     individual inspection demands. The “objections” asserted against these
10
     interrogatories are not tailored to the direct answer or this question, but lifted
11
     directly from the same pasted litany employed in opposition to the plaintiff’s
12

13
     inspection demands. The objections fail for all the reasons they fail against the

14
     inspection demands.

15         The individual defendant police officer’s track record is relevant evidence
16   against him individually. Ismail v. Cohen, 899 F.2d 183 (2nd Cir. 1990). Such
17   evidence is always admissible against his City on the issue of notice. In Sec. 1983
18   trials, federal courts have specifically upheld the admission of prior and
19   subsequent uncharged misconduct against peace officer defendants in accordance
20   with Rule 404 (b) in situations similar to the case at hand. Carson v. Polley, 689
21   F.2d 562, 572 (5th Cir. 1982) (reversing judgment for sheriff and deputies who
22   used excessive force, finding performance evaluation report of deputy, stating he
23   got into arguments with inmates and lost his temper quickly with consequent
24
     hostility towards other inmates, should have been admitted to show intent to harm
25
     and to impeach witness); Commonwealth of Pennsylvania v. Baranyal, 659 F.2d
26
     306, 320 (3rd Cir. 1981) (evidence, inter alia, of defendant police officer’s brutal
27
     conduct, including events two (2) years old, was admissible under either Rule
28                                              129
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 130 of 141 Page ID
                                        #:519


1    404(b) or Rule 406 (pattern and practice); accord O’Neill v. Krezemiski, 839 F.2d
2    9, 10-11 (2nd Cir. 1988) (split decision) (admission of judgment of excessive force
3
     against police officer obtained one month prior). See also: Hirst v. Gertsen, 675
4
     F.2d 1251 (9th Cir. 1982) (Rule 404 (b) applied to identify injuring officer
5
     defendant based on prior similar misconduct); Doty v. Sewall, 908 F.2d 1053 (1st
6
     Cir. 1990), Leonard v. Argento, 699 F.2d 874, 896 (7th Cir. 1983). Furthermore,
7
     the question does not necessarily implicate “official information” as this is an
8
     interrogatory probing the party’s knowledge. There will be responses to this
9
     question of which none of the foundation factors for the official information
10
     privilege could possibly apply. To the extent the response would accurately fall
11
     within the official information or privacy privilege areas, those yield to the
12

13
     plaintiff’s need to know and prove these facts.

14
     PLAINTIFF’S CONTENTIONS REGARDING MONETARY SANCTIONS

15

16         Fed. R. Civ. P. Rule 37(a)(4) provides that the party who prevails on a
17   motion to compel is entitled to his or her expenses, including reasonable attorney’s
18   fees, unless the losing party was substantially justified in making or opposing the
19   motion. Defendants’ “objections” are thoughtless and boilerplate, without any
20   genuine consideration for whether any objection buried in the cut and paste tone
21   reasonably applied to the discovery requests. Not a single one of the defense
22   objections presented in this motion was justified, let alone substantially justified.
23   These identical discovery objections have been rejected so many times in the past,
24
     there can be no valid excuse for forcing the court’s intervention and wasting
25
     plaintiff’s counsel’s time and energy. Plaintiff agreed to accept this discovery
26
     under an agreed protective order from the outset to expedite the discovery process.
27

28                                             130
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 131 of 141 Page ID
                                        #:520


1          From the beginning, the Defendants’ goal in this case has been to stall and
2    delay discovery. As of July 2020 the Defendants received almost identical
3
     discovery requests propounded by co-Plaintiffs in the case. They responded by
4
     providing merely Initial Disclosures and did not even serve them on Plaintiff
5
     M.L.H. who patiently was waiting for discovery since the cases have been
6
     consolidated as of August. When Plaintiff M.L.H. made her own discovery
7
     requests subject of this motion in February, 2021 the City and McBride displayed a
8
     completely dismissive attitude, failed to respond timely, failed to fulfill Rule 37
9
     requirement to meet and confer meaningfully to narrow down the issues of this
10
     motion, making it cumbersome and lengthy. The privilege log and the custodian’s
11
     declaration display this dismissive attitude because they reflect an utter failure to
12

13
     search and identify records sought by Plaintiffs collectively as of July, 2020. At the

14
     meet and confer the defense counsel refused to productively discuss any of their

15   objections and how they are invalid under the federal law of privileges especially
16   when Plaintiff agreed to get records with a Protective Order. They further dragged
17   feet in providing with their approval for Plaintiff’s proposed Protective Order and
18   refused to provide with a timely response to email communications.
19         Plaintiff’s counsel acted diligently at every step, urging defense counsel to
20   respond timely. However, the delays in this process were entirely caused by the
21   Defendants and their counsel. In light of the Court’s Scheduling Order of
22   Discovery Cut-off dates, the Plaintiff’s counsel was placed in an extremely
23   precarious position by these delays due to being unable to schedule depositions of
24
     Defendants without these documents and being unable to conduct investigation
25
     into prior incidents of misconduct. In an effort to resolve these issues without a
26
     motion, Plaintiff’s counsel took all efforts and agreed to all offers to meet and
27

28                                             131
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 132 of 141 Page ID
                                        #:521


1    confer along with engaging in consistent written communication regarding
2    discovery issues before serving the Defendants with this Rule 37 stipulation.
3
           The Defendants’ only objective has been to burn time, delay production and
4
     obstruct Plaintiff’s discovery efforts. The refusal to withdraw is an open invitation
5
     to sanctions. The Court should respond accordingly.
6
           Plaintiff is seeking monetary sanctions against defense counsel for this feet-
7
     dragging, slow response, and for not withdrawing their objections despite all
8
     efforts by Plaintiff’s counsel to the contrary. Defense counsel is responsible for the
9
     procrastination and unnecessary expenditure of time and effort to combat the
10
     unjustified refusal to comply with legitimate discovery. "For the purposes of this
11
     subdivision an evasive or incomplete disclosure, answer, or response is to be
12

13
     treated as a failure to disclose, answer or respond." Fed. R. Civ. P Rule 37(a)(3).

14
           Subdivision 4(A) of Rule 37 provides the authorization to the court to

15   impose sanctions for the behaviors exhibited by the defense:
16         "If the motion [to compel] is granted or if the disclosure or requested
17         discovery is provided after the motion was filed, the court shall, after
18         affording an opportunity to be heard, require the party of deponent whose
19         conduct necessitated the motion or the party or attorney advising such
20         conduct or both of them to pay to the moving party the reasonable expenses
21         incurred in making the motion, including attorney’s fees, unless the court
22         finds that the motion was filed without the movant's first making a good
23         faith effort to obtain the disclosure of discovery without court action, or that
24
           the opposing party's nondisclosure, response, or objection was substantially
25
           justified, or that other circumstances make an award of expense unjust."
26

27

28                                            132
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 133 of 141 Page ID
                                        #:522


1    DEFENDANT MCBRIDE’S CONTENTIONS WITH RESPECT TO
2    PLAINTIFF’S REQUESTS FOR PRODUCTION OF DOCUMENTS,
3
     ANSWERS TO INTERROGATORIES, AND DEMAND FOR SANCTIONS
4
           Notwithstanding the utterly false narrative regarding Plaintiff’s attempts to
5
     meet and confer with counsel for the City and McBride (where the truth is clearly
6
     revealed as documented in the emails attached to Plaintiff’s declaration), this entire
7
     Motion is a waste of the Court’s time and resources, especially as much of
8
     Plaintiff’s requests were resolved in the informal discovery conferences.
9
     Plaintiff’s outstanding requests to Officer McBride are entirely irrelevant,
10
     overbroad, ambiguous, and constitute an unnecessary invasion into her rights to
11
     privacy and other privileges, which Plaintiff’s Motion fails to address.
12

13
           Instead, Plaintiff’s simple impatience to have voluminous documents

14
     produced, over validly stated objections, prior to the placement of a stipulated

15   protective order – is just that – childish impatience. Plaintiff’s remaining demands
16   for completely irrelevant social media and personal communications with third-
17   parties are overbroad, irrelevant and harassing, as previously objected and as noted
18   by this Court. Plaintiff’s Motion fails to make any argument, let alone a legally
19   valid justification entitling her to these irrelevant documents or responses.
20   Plaintiff’s Motion amounts to nothing more than emotional tantrum without legal
21   merit and should be denied in its entirety.
22         A.     Procedural History
23         While Plaintiff submits an emotional plea, deriding defense counsel and this
24
     Court’s orders and procedures, Defendants’ valid objections to the mostly
25
     overbroad, irrelevant, and harassing discovery requests – Plaintiff is quick to avoid
26
     the fact that this dispute only transpired in the last 30 days and has now been
27
     largely resolved.
28                                             133
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 134 of 141 Page ID
                                        #:523


1             As stated above, Plaintiff only submitted discovery to Defendants on
2    February 12, 2021, despite being in this case since September of 2020. Plaintiff’s
3
     discovery largely duplicated co-Plaintiff Estate’s discovery propounded in July of
4
     2020 to which the City and Office McBride responded – and which Plaintiff, here,
5
     was provided a copy. Notwithstanding the duplicative requests, Officer McBride
6
     timely responded again to the February requests, with valid objections.
7
              Not satisfied with the responses, late Friday, March 19, Plaintiff then sent a
8
     19-page long, rambling meet and confer letter that failed to clearly articulate the
9
     basis for her meet and confer. As counsel for McBride was actively preparing for
10
     and in trial, he was unable to respond until Wednesday, March 24, but agreed to
11
     participate in a joint telephone conference. At the telephone conference on March
12

13
     26, Plaintiff again demanded responses to her discovery requests, but failed to

14
     provide any legal authority to demonstrate entitlement over Defendants’ valid

15   objections.
16            Notwithstanding Plaintiff’s attempts to avoid the Court’s pre-trial discovery
17   procedures, the Court held informal discovery conferences on April 6 and April 12.
18   The Court agreed with Defendants that Plaintiff’s requests were overbroad and
19   irrelevant, specifically to the RPDs and Interrogatories referenced in this Motion.
20   See Dkt. 44 at 4 (“In discussing these requests with the parties at the conference,
21   the Court indicated that the requests identified above appear to be overbroad on
22   their face or seek information neither relevant to the claims and defenses at issue
23   nor proportional to the needs of the case.”). To be clear, Defendants have always
24
     been willing to provide the majority of the documents and responses requested (as
25
     was also requested by co-Plaintiff Estate), but subject to a stipulated protective
26
     order.
27

28                                               134
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 135 of 141 Page ID
                                        #:524


1          Now that the Parties have agreed on the form of protective order and in
2    accordance with the Court’s discovery orders, Defendants have produced and will
3
     produce those relevant documents subject to the stipulated protective order. See,
4
     Dkts. 44, 50. Consequently, Plaintiff’s Motion for the remaining requests is
5
     entirely unwarranted and a waste of the Court’s time and resources.
6
           B.     Plaintiff’s Remaining Requests are Irrelevant, Overbroad, Not
7
                  Reasonably Calculated to Lead to the Discovery of Admissible
8
                  Evidence, Barred by Privilege or Privacy Laws
9
           Pursuant to Fed. R. Civ. Proc., Rule 26(b)(1), “Parties may obtain discovery
10
     regarding any nonprivileged matter that is relevant to any party’s claim or defense
11
     and proportional to the needs of the case . . . .” In determining proportionality, the
12

13
     courts are to consider issues in the instant litigation, the importance of the

14
     discovery sought in resolving the issues in the instant litigation and whether the

15   burden outweighs the likely benefit. Id. Courts should not grant discovery
16   requests that amount to nothing more than a fishing expedition into other alleged
17   wrongdoing that is not reasonably related to the alleged claims or defenses.
18   Collens v. City of New York (S.D.N.Y. July 12, 2004), 222 FRD 249.
19         As noted in Officer McBride’s responses to Plaintiff’s interrogatories and
20   requests for documents, Plaintiff’s RPDs 18, 20-30 and Interrogatories 7, 9, 11-13,
21   and 15 are irrelevant, overbroad, ambiguous, not reasonably calculated to the lead
22   to the discovery of admissible evidence, and invade McBride’s privacy rights,
23   among other privileges. Although Plaintiff makes arguments citing to general
24
     standards of law, including the impeachment of witnesses and spoiliation of
25
     evidence, Plaintiff makes no argument to explain why these documents and
26
     answers have any relevancy to the matter at issue. There is absolutely no logical
27

28                                             135
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 136 of 141 Page ID
                                        #:525


1    connection between Plaintiff’s cited legal authorities and the relevancy of the
2    information sought.
3
           Federal Rules of Evidence 402 states in pertinent part that, “. . . Evidence
4
     which is not relevant is not admissible.” “Relevant evidence” is “any evidence
5
     having any tendency to make the existence of any fact that is of consequence of the
6
     determination of the action more probable or less probable than it would be
7
     without the evidence.” Fed. R. Evid. 401.
8
           Specifically, Plaintiff never explains how Officer McBride’s personal
9
     interests, family outings, or other life events as depicted in her social media
10
     accounts have any bearing whatsoever on the subject incident giving rise to this
11
     case. See, RPDs 25-30. Similarly, Plaintiff does not explain how Officer
12

13
     McBride’s communications or videos and photos depicting her experiences with

14
     other third-party tactical companies has any relevancy to an issue in this case. See,

15   RPDs 18, 20-24.
16         While Plaintiff has cited several standards regarding the right to privacy and
17   argued the right is not absolute, Plaintiff has failed to explain why her requests
18   present a compelling interest to warrant the invasion in this case. Simply because
19   Officer McBride had public social media postings does not mean there is no
20   privacy interest to be protected. There can be “degrees and nuances to societal
21   recognition of our expectations of privacy: the fact that the privacy one expects in
22   a given setting is not complete or absolute does not render the expectation
23   unreasonable as a matter of law.” Sanders v. American Broadcasting Companies,
24
     Inc., 20 Cal. 4th 907, 915 (1999); see also Opperman v. Path, Inc., 84 F. Supp. 3d
25
     962, 991-93 (N.D. Cal. 2015).
26
           Plaintiff’s interrogatories are also irrelevant and grossly overbroad. For
27
     example, Plaintiff’s Interrogatory No. 11 seeks information about if or when
28                                             136
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 137 of 141 Page ID
                                        #:526


1    Officer McBride may have ever in her life been the victim of a battery. See, also
2    Interrogatories 7, 9, 12, 13, and 15 (seeking various employment information
3
     regardless of its relevance to this case). None of these interrogatories would illicit
4
     information having any bearing on this case. Indeed, Plaintiff never makes any
5
     connection between the information she seeks and how it is at all relevant to this
6
     matter.
7
           Furthermore, the vast portion of Officer McBride’s personnel file is
8
     protected from public disclosure. In hopes of assuring law enforcement officers
9
     act appropriately, the California Legislature enacted section 832.5 of the Penal
10
     Code, which mandates law enforcement agencies to assure a procedure is
11
     undertaken to investigate citizens’ complaints against its officers. Pena v.
12

13
     Municipal Court, 96 Cal.App.3d 77, 82 (1979). However, records and personnel

14
     files of an officer are generally protected from public disclosure. See Cal. Pen.

15   Code § 832.7(a) (“the personnel records of peace officers and custodial officers
16   and records maintained by any state or local agency pursuant to Section 832.5, or
17   information obtained from these records, are confidential and shall not be disclosed
18   in any criminal or civil proceeding. . . .”); see also Cal. Gov’t Code § 6254(f)
19   (preventing dissemination of police administrative and investigatory files). Thus,
20   Plaintiff’s requests for every disciplinary measure or complaint, if any, filed
21   against Officer McBride are not only irrelevant, but is generally privileged unless
22   Plaintiff can articulate some ground or basis for an exception. Plaintiff has failed
23   to do so in this case.
24
           Additionally, the requests are also grossly overbroad. For example, even if
25
     Plaintiff could identify some basis of loose relevancy for Officer McBride’s social
26
     media postings, Plaintiff has asked for the entirety of Officer McBride’s Facebook,
27
     Twitter, Instagram and TikTok accounts. Similarly, seeking every fact in Officer
28                                             137
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 138 of 141 Page ID
                                        #:527


1    McBride’s personnel file, regardless of its relevance, is simply overbroad. Rule 26
2    requires that the requests be “proportional to the needs of the case.” A copy of the
3
     entirety of Officer McBride’s social media accounts or her entire employment file
4
     is not at all “proportional” to the needs of this case.
5
           In sum, although the rules of discovery are generally broad, they are not
6
     unlimited. As stated in the Rule 26, “Parties may obtain discovery regarding any
7
     nonprivileged matter that is relevant to any party’s claim . . . and proportional to
8
     the needs of the case, considering the importance of the issues at stake in the
9
     action . . . the importance of the discovery in resolving the issues, and whether
10
     the burden or expense of the proposed discovery outweighs its likely benefit.”
11
     Fed. R. Civ. P. 26(b)(1) (emphasis added). It is difficult to see how Officer
12

13
     McBride’s personal information has any bearing on this case at all. Officer

14
     McBride should not be forced to bear the burden and intrusion into her personal

15   life without some explanation as to how such information will benefit this case.
16   Given Plaintiff’s failure to provide any justification for her irrelevant and
17   overbroad discovery requests, especially in light of the privacy and other privileges
18   at stake, dictates that Plaintiff’s Motion be denied.
19         C.     Plaintiff’s Demand For Sanctions is Unwarranted
20         Plaintiff’s request for monetary sanctions also should be denied. Although
21   Plaintiff is quick to accuse Defendants of causing unnecessary delay, Plaintiff had
22   months to request discovery in this case, but waited until just two months ago to
23   propound any discovery. It can hardly be argued that Defendants caused
24
     unnecessary delay when this dispute has only existed for less than a month.
25
     Moreover, despite Plaintiff’s accusations to the contrary, Defendants timely and
26
     validly responded and objected to the discovery requests. Furthermore, since co-
27
     Plaintiff Estate propounded its identical discovery in July of 2020, Defendants had
28                                              138
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 139 of 141 Page ID
                                        #:528


1    agreed to produce a majority of the documents and information, subject to a
2    protective order. Plaintiffs, including Plaintiff Estate simply never followed up to
3
     agree on a form of order. Instead, Plaintiff M.L.H. waited until February to
4
     demand these discovery requests, rather than follow up or discuss the issue months
5
     earlier.
6
            Sanctions are not warranted against Defendants in this case. In fact, given
7
     Plaintiff’s abusive and threatening tactics throughout this process, arguably
8
     Plaintiff’s counsel should be sanctioned. In any event, Plaintiff has not offered any
9
     evidentiary or legal support for her arbitrary request for sanctions.
10
            Defendants have not failed to cooperate in producing the items at issue in
11
     this Motion. In fact, as stated above, almost all of the documents have been
12

13
     produced, if they existed at all. As noted above, Defendants also validly objected

14
     to the outstanding discovery requests as they are grossly overbroad and entirely

15   irrelevant. There is no evidence that Defendants willfully withheld any documents
16   or other items warranting sanctions.
17          Plaintiff’s request for monetary sanctions also should be denied as the
18   imposition of sanctions is not mandatory and is a matter of judicial discretion.
19   Such discretion is analyzed in the context of the facts of that specific case. Official
20   Airline Guides, Inc. v. Goss, 6 F.3d 1385, 1396 (9th Cir.1993).
21          The Court’s imposition of sanctions under Fed. R. Civ. Proc., Rule
22   37(b)(2)(C) is limited by fairness and the particular harm being alleged. Wyle v.
23   R.J. Reynolds Industries, Inc., 709 F.2d 585, 591 (9th Cir. 1983). Under these
24
     standards, monetary sanctions should not be imposed, as the imposition of
25
     monetary sanctions would be unjust and a legitimate dispute exists between the
26
     parties.
27

28                                             139
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 140 of 141 Page ID
                                        #:529


1           Moreover, the Ninth Circuit affords trial courts broad discretion in
2    determining the reasonableness of fees, including those in the form of monetary
3
     sanctions. Gates v. Deukmejian, 987 F.2d 1392, 1398 (9th Cir. 1992). However,
4
     the request must be supported by documentation. Hensley v. Eckerhart, 461 U.S.
5
     424, 434, (1983); Gates, 987 F.2d 1392. Plaintiff has not submitted any
6
     documentation in support of her request for monetary sanctions. Thus, her request
7
     should be denied.
8
            Plaintiff’s request for monetary sanctions also is unreasonable. There are
9
     several factors that the courts consider in determining reasonableness: (1) the time
10
     and labor required, (2) the novelty and difficulty of the questions involved, (3) the
11
     skill requisite to perform the legal service properly, (4) the preclusion of other
12

13
     employment by the attorney due to acceptance of the case, (5) the customary fee,

14
     (6) whether the fee is fixed or contingent, (7) time limitations imposed by the client

15   or the circumstances, (8) the amount involved and results obtained, (9) the
16   experience, reputation, and ability of the attorney, (10) the undesirability of the
17   case,(11) the nature and length of the professional relationship with the client, and
18   (12) awards in similar cases. Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 69-70
19   (9th Cir. 1975), cert. denied, 425 U.S. 951 (1976); see also Hensley, 461 U.S. at
20   434.
21          The questions at issue here are not novel or difficult, and they do not require
22   a higher level of skill to analyze and prepare these papers. Indeed, had Plaintiff’s
23   counsel merely followed up on the stipulated protective order months ago, the
24
     documents and information she sought could have been produced much earlier.
25
     Plaintiff’s counsel’s utter unprofessionalism and unwillingness to provide a basis
26
     for her demands protracted and prolonged any meet and confer efforts,
27
     necessitating the informal discovery conferences. Accordingly, Plaintiff’s request
28                                             140
     Case 2:20-cv-04477-SB-KS Document 52-1 Filed 04/23/21 Page 141 of 141 Page ID
                                        #:530


1    for monetary sanctions is wholly unreasonable and unsupported by any facts or
2    legal authority.
3

4
     DATED: April 15, 2021
5
                                          MKRTCHYAN LAW
6

7
                                     By: __________/s/Narine Mkrtchyan_________
8                                        NARINE MKRTCHYAN
9                                         Attorney for Plaintiff
10
     Dated: April 22, 2021          MICHAEL N. FEUER, City Attorney
11                                  KATHLEEN A. KENEALY, Chief Asst. City Atty
                                    CORY M. BRENTE, Senior Assist. City Attorney
12
                                    COLLEEN R. SMITH, Deputy City Attorney
13

14
                                    By:   /s/ Colleen R. Smith
                                          Colleen R. Smith, Deputy City Attorney
15                                        Attorneys for Defendants
16                                        CITY OF LOS ANGELES and LOS
                                          ANGELES POLICE DEPARTMENT
17

18   Dated: April 22, 2021          ORBACH HUFF SUAREZ + HENDERSON LLP
19
                                    By:   /s/ Kevin E. Gilbert
20                                        Kevin E. Gilbert
21
                                          Attorney for Defendant
                                          TONI MCBRIDE
22

23

24

25

26

27

28                                          141
